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12:27:34    1                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
            2                           MARSHALL DIVISION

            3
                IMPLICIT, LLC                     )(
            4
                                                  )(    CIVIL ACTION NO.
            5
                VS.                               )(    2:18-CV-53-JRG
            6
                                                  )(    MARSHALL, TEXAS
            7                                           DECEMBER 11, 2019
                NETSCOUT SYSTEMS, INC.            )(    12:39 P.M.
            8

            9                       TRANSCRIPT OF JURY TRIAL

           10                           AFTERNOON SESSION

           11         BEFORE THE HONORABLE CHIEF JUDGE RODNEY GILSTRAP,

           12                     UNITED STATES DISTRICT JUDGE

           13

           14   APPEARANCES:

           15
                FOR THE PLAINTIFF:
           16

           17
                SPENCER HOSIE
           18   BRANDON C. MARTIN
                FRANCESCA M. S. GERMINARIO
           19   HOSIE RICE, LLP
                600 Montgomery Street, 34th Floor
           20   San Francisco, CA 94111

           21

           22   WILLIAM E. DAVIS, III
                CHRISTIAN J. HURT
           23   TY WILLIAM WILSON
                THE DAVIS FIRM, PC
           24   213 N. Fredonia Street, Suite 230
                Longview, Texas 75601
           25
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       1   FOR THE DEFENDANT:

       2
           ABRAN KEAN
       3   ERIC BURESH
           MARK LANG
       4   ERISE, IP
           7015 College Boulevard, Suite 700
       5   Overland Park, KS 66211

       6

       7   GIL GILLAM
           GILLAM & SMITH, LLP
       8   303 South Washington Avenue
           Marshall, TX 75670
       9

      10

      11

      12
           COURT REPORTER:       Shelly Holmes, CSR, TCRR
      13                         Official Court Reporter
                                 United States District Court
      14                         Eastern District of Texas
                                 Marshall Division
      15                         100 E. Houston
                                 Marshall, Texas 75670
      16                         (903) 923-7464

      17

      18

      19   (Proceedings recorded by mechanical stenography, transcript
           produced on a CAT system.)
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12:39:10    1                       P R O C E E D I N G S

12:39:10    2            (Jury out.)

12:39:10    3            COURT SECURITY OFFICER:       All rise.

12:39:11    4            THE COURT:    Be seated, please.

12:39:18    5            Mr. Buresh, are you prepared to continue with your

12:39:31    6   direct examination?

12:39:32    7            MR. BURESH: I am, Your Honor.

12:39:32    8            THE COURT:    All right.     You may go to the podium.

12:39:35    9            While he's doing that, Mr. Elliott, please bring

12:39:38   10   in the jury.

12:39:39   11            COURT SECURITY OFFICER:       All rise.

12:39:40   12            (Jury in.)

12:40:10   13            THE COURT:    Welcome back from lunch, ladies and

12:40:12   14   gentlemen.     Please have a seat.

12:40:13   15            When we broke for lunch, the Defendant was

12:40:17   16   undertaking its direct examination of Mr. Curtin.

12:40:20   17            And we'll continue with the Defendant's direct

12:40:22   18   examination of this witness at this time.

12:40:25   19            Counsel, you may proceed.

12:40:26   20            MR. BURESH:    Thank you, Your Honor.

12:40:26   21        JOHN CURTIN, DEFENDANT'S WITNESS, PREVIOUSLY SWORN

12:40:26   22                     DIRECT EXAMINATION CONTINUED

12:40:27   23   BY MR. BURESH:

12:40:27   24   Q.   Mr. Curtin, welcome back.

12:40:31   25   A.   Thank you.
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12:40:33    1               MR. BURESH:   Mr. Palisoul, could you please pull

12:40:35    2   up Slide 14?

12:40:38    3   Q.   (By Mr. Buresh)      Are you familiar with flow tables in

12:40:41    4   the GeoProbe products?

12:40:42    5   A.   Yes, I am.

12:40:44    6   Q.   And can you describe for us the flow table in the

12:40:49    7   GeoProbe products?

12:40:49    8   A.   The GeoProbe products maintain a flow table in memory,

12:40:53    9   which tracks and maintains statistics for each flow that we

12:40:59   10   see in that probe.

12:41:03   11   Q.   So what is the flow table in the GeoProbe products used

12:41:04   12   for?

12:41:04   13   A.   At the end of a flow, a record is cut and sent to the

12:41:09   14   next layer from the cabin to the Traffic Processor

12:41:14   15   containing a summary of that user plane flow.

12:41:18   16   Q.   Does creation of a flow entry create a processing path?

12:41:21   17   A.   No.

12:41:22   18   Q.   What is the relationship between the processing path in

12:41:25   19   GeoProbes and the flow entry?

12:41:27   20   A.   As packets are going through the processing paths of

12:41:32   21   the GeoProbe, the flow table is updated with attributes and

12:41:39   22   counts from those packets.

12:41:40   23   Q.   Is that after processing along the path is already

12:41:43   24   occurring?

12:41:44   25   A.   Yes.
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 6 of 180 PageID #: 12167
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12:41:44    1              MR. HURT:     Objection, Your Honor.     Leading.

12:41:46    2              THE COURT:     Sustained.

12:41:56    3   Q.   (By Mr. Buresh)      When along the processing path is the

12:41:59    4   flow table updated?

12:42:00    5   A.   The flow table is updated at many points during the

12:42:05    6   processing paths that we've coded.

12:42:07    7              MR. BURESH:     Will you go to Slide 15, please?

12:42:10    8   Q.   (By Mr. Buresh)      Do you recognize this as the run time

12:42:20    9   system we discussed earlier?

12:42:21   10   A.   Yes, I do.

12:42:22   11   Q.   And we're receiving this packet into the system in

12:42:27   12   operation.    Do you see that on the lower right-hand corner?

12:42:31   13   A.   Yes, I do see the packet.

12:42:32   14   Q.   What happens in the GeoProbe products to the packet

12:42:36   15   when it is received into the system?

12:42:38   16   A.   So in this depiction, the packet is -- is shown

12:42:42   17   arriving from the EZ Chip into the Cavium.          At that point

12:42:48   18   it is copied into memory on the Cavium.          All of the

12:42:51   19   routines on the Cavium will then use the descriptor to

12:42:55   20   access that packet whenever they need.

12:42:56   21   Q.   What type of packets are received into the GeoProbe

12:42:59   22   products?

12:42:59   23   A.   All packets in the GeoProbe products are ethernet

12:43:06   24   packets.

12:43:06   25   Q.   What is the outermost header on the packet depicted on
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 7 of 180 PageID #: 12168
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12:43:08    1   Slide 15?

12:43:09    2   A.   The packet on Slide 15 starts with an ethernet header

12:43:14    3   as the outermost header followed by an IP header, a TCP

12:43:20    4   header and the control plane data.

12:43:21    5   Q.   How much of this packet is stored in memory?

12:43:25    6   A.   All of this packet is stored in memory on the Cavium.

12:43:27    7   Q.   How long is the packet stored in memory during

12:43:29    8   processing?

12:43:30    9   A.   So packets are stored in memory for the duration of its

12:43:33   10   processing through the paths that we've coded on the

12:43:37   11   Cavium.     When it's done going through whatever path it was

12:43:41   12   assigned, it will be removed from memory and stored on

12:43:45   13   disks.

12:43:45   14   Q.   Are the headers on this packet stored in memory ever

12:43:57   15   changed during processing by the GeoProbe?

12:43:58   16   A.   No.   We don't change the headers in memory.         We need

12:44:02   17   those headers to access fields in those headers.            We need

12:44:07   18   those headers to get into the payload of the packet, and

12:44:11   19   ultimately our call trace application needs those headers

12:44:14   20   to allow network troubleshooting.

12:44:16   21   Q.   Please describe for us the importance of keeping

12:44:19   22   headers on the packets during processing.

12:44:22   23   A.   So all -- all routines on our Cavium access the packet

12:44:28   24   through what we described earlier as the descriptor.

12:44:31   25   That -- the descriptor describes the beginning of the
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 8 of 180 PageID #: 12169
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12:44:34    1   packet and also offsets into the different layers within

12:44:38    2   that ethernet packet.

12:44:39    3              So if the headers were not there, the offsets

12:44:45    4   would not be valid.

12:44:46    5              In addition to that, our call trace application

12:44:49    6   relies on having all headers present.

12:44:51    7   Q.   After processing is complete on a given packet going

12:44:57    8   through the GeoProbe system, what happens to that packet?

12:44:59    9   A.   When we are done with the -- taking the packet through

12:45:05   10   the processing paths we've created, it is removed from

12:45:09   11   memory and stored to disk.

12:45:10   12   Q.   How much of the packet is stored to disk?

12:45:12   13   A.   For control plane packets, all of the packet is stored

12:45:16   14   to disk.    For user plane packets, all of the headers are

12:45:20   15   stored to disk.    And the payload is an optional stored to

12:45:24   16   disk.

12:45:26   17   Q.   How do the processing routines in the GeoProbe access

12:45:30   18   information within the packet that's stored in memory?

12:45:34   19   A.   All routines on the Cavium start their processing using

12:45:40   20   the packet descriptor we described earlier.           That packet

12:45:44   21   descriptor contains an address to the beginning of the

12:45:47   22   ethernet frame.    It also contains offsets to the different

12:45:50   23   layers within the packet.

12:45:52   24   Q.   Where does the packet descriptor come from?

12:45:55   25   A.   The packet descriptor originated on the EZ Chip, which
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 9 of 180 PageID #: 12170
                                                                                        8



12:45:59    1   did all of our grunt work and initial parsing of every

12:46:02    2   packet that we see.

12:46:04    3               MR. BURESH:   If you could pull up Slide 16,

12:46:07    4   please?

12:46:07    5   Q.   (By Mr. Buresh)      Mr. Curtin, is this a depiction of the

12:46:17    6   packet descriptor you've been discussing?

12:46:18    7   A.   Yes, it is.

12:46:19    8   Q.   Is it an accurate depiction?

12:46:21    9   A.   Yes.

12:46:21   10   Q.   How do processing routines that process the packets in

12:46:26   11   the GeoProbe, how do they use this descriptor to access

12:46:34   12   information from the packet?

12:46:34   13   A.   So every processing routine on the Cavium which --

12:46:41   14   start with this descriptor that's shown in the upper left

12:46:45   15   and the address at the beginning of the ethernet frame,

12:46:49   16   which is the beginning of the ethernet header on the left

12:46:51   17   of the packet.

12:46:51   18               If a routine wanted to access, for example, the

12:46:56   19   TCP header within this ethernet frame, it would take the

12:47:01   20   beginning of the ethernet frame address, beginning of the

12:47:04   21   ethernet header, and add to that value the L4 offset value

12:47:09   22   from the descriptor.       That would allow the routine to begin

12:47:16   23   accessing the TCP header.

12:47:17   24   Q.   Where are offsets measured from in this packet

12:47:21   25   descriptor in the GeoProbe?
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 10 of 180 PageID #: 12171
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12:47:23    1   A.   Our offsets are measured from the beginning of the

12:47:27    2   ethernet frame.

12:47:28    3   Q.   If offsets are measured from the beginning, what would

12:47:33    4   happen in the GeoProbe if the ethernet header, for example,

12:47:38    5   was removed?

12:47:40    6   A.   If the ethernet header was removed, then any routine

12:47:46    7   trying to access a subsequent layer of that packet using

12:47:48    8   the offsets we've created would fail to find the layer it

12:47:52    9   was looking for; would likely crash the software.

12:47:55   10   Q.   How would routines be able to find the information they

12:47:59   11   were looking for if a header had been removed?

12:48:01   12   A.   As written in our code, they would not be able to find

12:48:07   13   anything.

12:48:08   14   Q.   How important is it in the GeoProbe to keep the headers

12:48:11   15   on the packet at all times?

12:48:13   16   A.   We need to keep the headers of all packets at all times

12:48:18   17   in order for our routines to be able to access those

12:48:21   18   headers, as needed, during our processing paths.            It's also

12:48:25   19   vital for our call trace application to be able to rebuild

12:48:29   20   the subscriber activity from all layers of the network for

12:48:34   21   troubleshooting.

12:48:35   22   Q.   Is this packet descriptor passed to the processing

12:48:38   23   routines on the path -- processing path?

12:48:40   24   A.   Yes, it is.

12:48:45   25   Q.   Could you show us in the source code an example of
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 11 of 180 PageID #: 12172
                                                                                         10



12:48:45    1   where that happens?

12:48:45    2   A.   Yes, I can.

12:48:47    3               MR. BURESH:   Mr. Palisoul, can you do the split

12:48:49    4   screen and pull up DX-454 at 745 and 747?

12:49:03    5   Q.   (By Mr. Buresh)      What are we seeing in this source

12:49:04    6   code, Mr. Curtin?

12:49:05    7   A.   This source code is the structure definition of our

12:49:09    8   packet descriptor, and the zoomed-in portions show the

12:49:14    9   offset values from that packet descriptor.           Highlighted are

12:49:17   10   the L3Offset, the L4Offset and the appDataOffset.

12:49:27   11   Q.   Can you show me in the source code where this packet

12:49:29   12   descriptor would be provided to one of the processing

12:49:31   13   routines?

12:49:31   14   A.   Yes, I can.

12:49:33   15               MR. BURESH:   Mr. Palisoul, can you pull up in this

12:49:37   16   same split screen format the DX-453 at 523.

12:49:45   17   Q.   (By Mr. Buresh)      And Mr. Curtin, can you describe for

12:49:47   18   us what we're seeing in this source code?

12:49:53   19   A.   Yes.    This shows the routine definition of the TCP

12:49:59   20   state machine processing routine, and that's highlighted in

12:50:01   21   yellow.     And highlighted in green is a pointer to the

12:50:05   22   packet descriptor as an input to that routine.

12:50:08   23   Q.   So which routine is receiving the packet descriptor

12:50:17   24   here?

12:50:17   25   A.   So the TcpSm_processPacket routine is receiving a
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 12 of 180 PageID #: 12173
                                                                                         11



12:50:27    1   pointer to the packet descriptor as an input.

12:50:27    2   Q.    Would each routine in a processing path similarly

12:50:30    3   receive the packet descriptor?

12:50:31    4   A.    Yes.

12:50:33    5   Q.    How does each routine use the packet descriptor to

12:50:37    6   access information within this example packet we're looking

12:50:41    7   at?

12:50:41    8   A.    So in this example, the TcpSm_processPacket routine

12:50:53    9   would use the packet descriptor to find the beginning of

12:50:56   10   the frame in memory, and then it would use the L4Offset

12:51:02   11   from the descriptor to then access the TCP header within

12:51:05   12   that ethernet frame.

12:51:06   13   Q.    How does the use of offsets impact the headers on the

12:51:09   14   packet and memory?

12:51:11   15   A.    The -- we don't change the headers by use of the offset

12:51:18   16   values.

12:51:20   17   Q.    What is the outermost header of packets stored in

12:51:26   18   memory in the GeoProbe products?

12:51:28   19   A.    Ethernet.

12:51:29   20   Q.    How do you know that?

12:51:31   21   A.    We only accept ethernet packets into our products, and

12:51:36   22   we don't change any of them once they come in.            So the --

12:51:39   23   the outermost header of all of the packets has to be

12:51:42   24   ethernet.

12:51:43   25   Q.    Do the GeoProbe products convert packets from one
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 13 of 180 PageID #: 12174
                                                                                         12



12:52:00    1   format to another?

12:52:01    2   A.   No.

12:52:03    3   Q.   I'd like to show you a few slides now, and I know you

12:52:11    4   haven't seen these before.

12:52:12    5              MR. BURESH:   But if we could bring up Slide 118

12:52:15    6   from Dr. Almeroth's testimony.        And just focus on the

12:52:25    7   source code on the right-hand side, please.

12:52:26    8   Q.   (By Mr. Buresh)     Do you recognize this source code,

12:52:32    9   Mr. Curtin?

12:52:34   10   A.   Yes, I do.

12:52:35   11   Q.   And what does this code do?

12:52:37   12   A.   This is the TCP state machine process packet routine.

12:52:45   13   It received as input arguments, among other things, the

12:52:50   14   pointer to the packet descriptor, and then in the

12:52:53   15   highlighted red portion at the bottom, it is -- is creating

12:53:00   16   a pointer to the TCP header within the ethernet packet

12:53:05   17   represented by that packet descriptor.

12:53:08   18   Q.   What impact does creating a pointer to a TCP header

12:53:13   19   have on the packet that's stored in memory?

12:53:18   20   A.   A pointer to a layer within the ethernet packet does

12:53:23   21   not affect the headers of the packet in memory.

12:53:33   22              MR. BURESH:   If you go to Slide 119.

12:53:35   23   Q.   (By Mr. Buresh)     And, again, do you recognize the lines

12:53:46   24   of code at the upper portion of this screen?

12:53:51   25   A.   I do.   There's not much context around them.
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 14 of 180 PageID #: 12175
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12:53:56    1   Q.   Do you recognize the routines that would be indicated

12:54:00    2   here?

12:54:00    3   A.   I do know the set application ID routine.

12:54:06    4   Q.   And what does that do?

12:54:08    5   A.   It sets the application ID field within the packet

12:54:12    6   descriptor.

12:54:13    7   Q.   What impact does that processing routine have on the

12:54:21    8   packets stored in memory?

12:54:23    9   A.   The packets stored in memory is not changed by this

12:54:29   10   routine.

12:54:41   11              MR. BURESH:   If we can go to Slide 120.         Slide

12:54:59   12   120.    Thank you.

12:55:00   13   Q.   (By Mr. Buresh)     And, again, we have some code on the

12:55:02   14   center portion of the screen here that's being blown up to

12:55:07   15   where it was before.

12:55:09   16              MR. BURESH:   My apologies.

12:55:10   17   Q.   (By Mr. Buresh)     Do you recognize the code on this

12:55:13   18   screen, Mr. Curtin?

12:55:14   19   A.   Yes, I do.

12:55:17   20   Q.   And what is this code doing?

12:55:26   21   A.   Well, the highlighted portion is just declaring a

12:55:30   22   pointer to the application layer of the ethernet frame.

12:55:37   23   Q.   Does this code convert a packet?

12:55:39   24   A.   No.

12:55:40   25   Q.   What impact does this code have on the packet that's
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 15 of 180 PageID #: 12176
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12:55:42    1   being processed in the GeoProbe?

12:55:45    2   A.   No impact on the packet in memory.

12:55:53    3               MR. BURESH:   If we could go back to our slides

12:55:55    4   now.

12:55:57    5   Q.   (By Mr. Buresh)      Are you familiar with the concept of

12:56:02    6   reassembly?

12:56:03    7   A.   Yes.

12:56:03    8   Q.   In the GeoProbe products?

12:56:05    9   A.   Yes.

12:56:05   10   Q.   And could you describe for the jury how reassembly

12:56:23   11   operates in the GeoProbe products?

12:56:25   12   A.   Yes.    So in this example, we have three ethernet

12:56:31   13   packets that were received into the GeoProbe.            Each has the

12:56:35   14   same header structure, the headers being ethernet, IP, and

12:56:40   15   TCP, and each carrying SIP payload data.

12:56:47   16               As part of our reassembly, we can create a new

12:56:51   17   synthetic ethernet packet that joins those SIP data pieces

12:56:56   18   into a single SIP message.       We do that by first copying the

12:57:01   19   headers and the payload of the first packet in the

12:57:05   20   sequence.

12:57:05   21               In this example, it's the third packet received on

12:57:07   22   the far right.     A complete copy is made of that packet.

12:57:15   23               Then on the second packet in the sequence, since

12:57:17   24   the headers are the same, the header structures are the

12:57:20   25   same, we will take the payload data and add that to the end
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 16 of 180 PageID #: 12177
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12:57:23    1   of the synthetic ethernet packet we were -- we had made a

12:57:28    2   copy of.

12:57:29    3              And then the same happens on the third packet in

12:57:32    4   the sequence.    The header structures are the same.           We will

12:57:36    5   take the SIP payload data and add it on to the end of our

12:57:43    6   new synthetic ethernet packet.

12:57:48    7   Q.   What's happening to the packets that were received in

12:57:50    8   the GeoProbe?

12:57:50    9   A.   So the three packets at the bottom are not changed in

12:57:54   10   memory.

12:57:54   11   Q.   What's the relationship between the headers on the

12:57:57   12   three packets that were received?

12:58:00   13   A.   All three packets would have the same header structure,

12:58:04   14   being ethernet, IP, and TCP, in this case.

12:58:09   15   Q.   Does the synthetic packet have the same header

12:58:12   16   structure as the other three?

12:58:14   17   A.   Yes, it does have the same header structure.           The

12:58:16   18   headers are a copy of the headers from the first packet in

12:58:19   19   the sequence.

12:58:19   20   Q.   What is the outermost header on each of the packets

12:58:22   21   that are received by the GeoProbe in this example?

12:58:24   22   A.   The outermost header on all three of the packets

12:58:29   23   received is the ethernet header.

12:58:31   24   Q.   What is the outermost header on the synthetic packet

12:58:35   25   that's created as a result of this reassembly?
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 17 of 180 PageID #: 12178
                                                                                         16



12:58:38    1   A.   The outermost header on the synthetic packet is also an

12:58:45    2   ethernet header.

12:58:45    3   Q.   Does this process result in a conversion of any packets

12:58:46    4   at all?

12:58:47    5   A.   No.

12:59:00    6              MR. BURESH:     Your Honor, I pass the witness.

12:59:01    7              THE COURT:     All right.   Cross-examination by the

12:59:02    8   Plaintiff.

12:59:16    9              MR. HURT:     Your Honor, may I approach the witness?

12:59:20   10              THE COURT:     You may.

12:59:34   11              All right.     Mr. Hurt, you may proceed with

12:59:37   12   cross-examination.

12:59:37   13                             CROSS-EXAMINATION

12:59:38   14   BY MR. HURT:

12:59:38   15   Q.   Good afternoon, Mr. Curtin.

12:59:42   16   A.   Good afternoon.

12:59:43   17   Q.   You're not an expert witness for -- for NetScout; is

12:59:46   18   that right?

12:59:46   19   A.   No.

12:59:47   20   Q.   And so you're not telling the jury one way or the other

12:59:52   21   about whether NetScout infringes Implicit's patents, are

12:59:55   22   you?

12:59:55   23   A.   No.   I'm just here to explain our product.

12:59:58   24   Q.   And you didn't take the claim terms in the patent and

01:00:04   25   compare them up to NetScout's product to determine any
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01:00:07    1   issue of infringement, did you?

01:00:08    2   A.   No.

01:00:09    3   Q.   Okay.     And whether NetScout infringes, that's an issue

01:00:14    4   ultimately for the experts in this case, isn't it?

01:00:16    5   A.   Yes.

01:00:18    6   Q.   And NetScout has its expert, Dr. Jeffay, right?

01:00:21    7   A.   I -- I believe that's the case.

01:00:24    8   Q.   And you mentioned on direct that the GeoProbe products

01:00:29    9   are all written in the C programming language; is that

01:00:32   10   correct?

01:00:32   11   A.   That's correct.

01:00:34   12   Q.   And that's a standard programming language that -- that

01:00:38   13   a lot of computer programmers know, right?

01:00:41   14   A.   Yes.

01:00:41   15   Q.   It's not something you need to work at NetScout, to

01:00:44   16   understand how C code operates, right?

01:00:47   17   A.   No.     C is not a proprietary language.

01:00:51   18   Q.   And that's true for how pointers work?

01:00:54   19   A.   Yes.

01:00:54   20   Q.   And data structures?

01:00:56   21   A.   Yes.

01:00:56   22   Q.   And functions and routines, right?

01:00:58   23   A.   Yes.

01:01:20   24               MR. HURT:   Mr. Diaz, if you could pull up

01:01:23   25   Slide 10.2 of Mr. Curtin's direct demonstratives.
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01:01:27    1   Q.   (By Mr. Hurt)    Do you remember, Mr. Curtin, discussing

01:01:31    2   this series of -- of pipes during your direct examination?

01:01:35    3   A.   Yes, I do.

01:01:35    4   Q.   And in this situation on the screen, is it showing

01:01:41    5   those pipes for a control protocol packet?

01:01:48    6   A.   It -- it does show that processing path, yes.

01:01:50    7   Q.   And just so I understand this, this series of slides,

01:01:54    8   this isn't an internal engineering presentation that y'all

01:01:58    9   had at NetScout, is it?

01:01:59   10   A.   No, it is not.

01:02:01   11   Q.   It's something you guys did for this case?

01:02:04   12   A.   Yes.

01:02:04   13   Q.   And its intent was to teach the jury and give, I guess,

01:02:10   14   a simplified version of how the GeoProbe works; is that

01:02:10   15   fair?

01:02:13   16   A.   It is a bit simplified.

01:02:15   17   Q.   And the control protocols over HTTP module, one of

01:02:21   18   those control product -- protocols would be something like

01:02:26   19   SIP, right?

01:02:26   20   A.   SIP would usually fall in the normal control protocols

01:02:33   21   module.     There is one case, I think, one customer that does

01:02:36   22   do SIP over HTTP.

01:02:38   23   Q.   Well, what about something like XCAP over HTTP?

01:02:42   24   A.   XCAP is always over HTTP.

01:02:45   25   Q.   Or -- and then another example of a Layer 7 control
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                                                                                         19



01:02:50    1   protocol you mentioned was Diameter, right?

01:02:51    2   A.   Yes.

01:02:52    3   Q.   And those protocols, SIP, Diameter -- I believe the

01:02:56    4   third one, you mentioned GTPC, those are all Layer 7

01:03:00    5   protocols, true?

01:03:00    6   A.   Yes.

01:03:00    7   Q.   And being able to identify and process those protocols

01:03:04    8   is why companies like AT&T buy y'all's products, right?

01:03:07    9   A.   One of the reasons.

01:03:10   10   Q.   In fact, isn't -- if you were unable to identify those

01:03:14   11   protocols, isn't it true, sir, that they wouldn't buy those

01:03:17   12   products?

01:03:18   13   A.   If we could not identify control plane protocols, then

01:03:22   14   we would not able to -- yeah, we wouldn't be able to

01:03:26   15   process them and do any of our metrics.

01:03:28   16   Q.   And the metrics you mentioned -- you mentioned some

01:03:30   17   statistics and something called call trace.           Do you

01:03:34   18   remember that?

01:03:35   19   A.   Yes.

01:03:35   20   Q.   And all of your customers use call trace, right?

01:03:38   21   A.   Yes, they do.

01:03:39   22   Q.   And that includes all the service providers; AT&T,

01:03:42   23   Verizon, T-Mobile?

01:03:43   24   A.   That's correct.

01:03:44   25   Q.   And to be able to see those statistics in call trace,
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                                                                                         20



01:03:49    1   you've got to be able to identify things like SIP,

01:03:53    2   Diameter, GTPC, don't you?

01:03:56    3   A.    That's correct.

01:03:57    4   Q.    And you mentioned SIP may or may not be over HTTP;            is

01:04:02    5   that right?

01:04:02    6   A.    That's correct.

01:04:03    7   Q.    And it's one of those Layer 7 control protocols?

01:04:06    8   A.    SIP is a control protocol, yes.

01:04:08    9   Q.    And here you have one pipe for a control protocol -- I

01:04:15   10   guess I'll just call it a pipe; is that right?

01:04:17   11   A.    Could you --

01:04:18   12   Q.    Sure.   In this diagram, there's just one pipe for all

01:04:21   13   the control protocols over HTTP, right?

01:04:23   14   A.    It's depicted as a simplification.        If there needs to

01:04:31   15   be specific paths within that pipe for SIP versus Diameter,

01:04:35   16   we, of course, have different paths within there.

01:04:38   17   Q.    Okay.

01:04:40   18             MR. HURT:     And, Mr. Diaz, if you could pull up

01:04:44   19   Defendant -- or, I'm sorry, PTX Exhibit 5, and the page is

01:04:53   20   41.

01:04:55   21   Q.    (By Mr. Hurt)     And this document, Mr. Curtin, is from

01:05:00   22   the internal GeoProbe engineering document, right?

01:05:04   23   A.    Yes, it is.

01:05:05   24   Q.    And it shows an overview of how the GeoProbe works,

01:05:09   25   doesn't it?
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 22 of 180 PageID #: 12183
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01:05:11    1   A.   This slide describes the SIP protocol and how we

01:05:16    2   identify and distribute SIP packets.

01:05:20    3   Q.   And for SIP, on this slide alone, there's four flavors

01:05:24    4   of SIP, right?

01:05:26    5   A.   Yes.

01:05:26    6   Q.   There's SIP, SIP/IPsec, SIP/TLS, and WebSocket.            Do you

01:05:38    7   see those?

01:05:38    8   A.   I do see those.

01:05:38    9   Q.   That's not just one pipe per SIP, right?

01:05:38   10   A.   No.

01:05:38   11   Q.   And then each of those application protocols run on

01:05:42   12   something called a stack.       You see that on the next column?

01:05:45   13   A.   Yes.

01:05:45   14   Q.   And for SIP by itself, it can go on UDP, TCP, and SCTP.

01:05:53   15   Do you see that?

01:05:54   16   A.   Yes, I do.

01:05:54   17   Q.   And SIP/IPsec can go over four different stacks, right?

01:05:59   18   A.   That's how it's shown.

01:06:00   19   Q.   And SIP/TLS is the TLS/TCP stack, right?

01:06:13   20   A.   That's correct.

01:06:14   21   Q.   And WebSocket is SIP/HTTP/TLS/TCP, true?

01:06:14   22   A.   That's true.

01:06:14   23   Q.   And those three on top, SIP, HTTP, and TLS, those are

01:06:19   24   all in the application layer, aren't they?

01:06:21   25   A.   They're all in the TCP payload, so from a TCP
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01:06:27    1   perspective, they're all in the application payload of TCP.

01:06:30    2   Q.   So we've got four SIP protocols, and we've got six

01:06:37    3   different stacks.     And then in addition to that, we have to

01:06:41    4   do reassembly, which is two columns over.           Do you see that?

01:06:45    5   A.   I do see the reassembly column.

01:06:48    6   Q.   And so for each of these protocols, we've got to do

01:06:51    7   something called IP defrag?       Do you see that?

01:06:55    8   A.   Yes.

01:06:55    9   Q.   And TCP reassembly?     Do you see that?

01:06:58   10   A.   Yes, I do.

01:06:59   11   Q.   And in addition for the SIP/TLS, does that refer to

01:07:04   12   encrypted traffic, sir?

01:07:06   13   A.   Yes, it does.

01:07:06   14   Q.   And in that case, we've got to do TCP reassembly on

01:07:11   15   that encrypted traffic, right?

01:07:12   16   A.   We have to do TCP reassembly for all of the SIP cases

01:07:16   17   over TCP.

01:07:17   18   Q.   So when you showed one pipe for those control

01:07:21   19   protocols, it's really not one pipe, right?

01:07:23   20   A.   It's a simplification to show going down a pipe or a

01:07:29   21   path for a control plane.       Once processing those control

01:07:33   22   plane paths, there are more and more paths for each of the

01:07:36   23   specific control plane protocols.

01:07:38   24   Q.   But that one -- when you showed it as one pipe for

01:07:42   25   these control plane protocols, it is not one pipe; is that
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 24 of 180 PageID #: 12185
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01:07:47    1   fair?

01:07:47    2   A.   I don't believe I agree with that statement.           There is

01:07:52    3   a point in the code where there's a path taking down a -- a

01:07:56    4   control plane path that further goes into other paths for

01:08:02    5   each of the different control plane protocols.

01:08:07    6              MR. HURT:    I'm going to object.      Non-responsive,

01:08:09    7   Your Honor.

01:08:09    8              THE COURT:    The portion of the answer that says,

01:08:27    9   "I don't believe I agree with that statement," is

01:08:28   10   responsive.    The remainder is non-responsive.          So I will

01:08:32   11   strike the remainder of the witness's answer after he said,

01:08:35   12   "I don't believe I agree with that statement."

01:08:37   13              Let's proceed.

01:08:39   14   Q.   (By Mr. Hurt)      So for SIP, there's four different types

01:08:42   15   of protocols shown here just for SIP, right?

01:08:45   16   A.   I didn't quite understand that question.

01:08:46   17   Q.   For the SIP protocol, the internal slides y'all have

01:08:49   18   shows there's four different varieties of SIP; is that

01:08:54   19   correct?

01:08:54   20   A.   Okay.   I understand your question.        There are four

01:09:00   21   different ways the SIP can be carried, yes.

01:09:00   22   Q.   And that's not -- that's not just a single pipe, as you

01:09:04   23   showed it in your demonstrative, true?

01:09:06   24   A.   There is not a single processing path for all SIP

01:09:12   25   traffic.
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01:09:13    1   Q.   And, in fact, you don't know which one of these four

01:09:19    2   SIP protocols it is until the GeoProbe actually looks at

01:09:23    3   the packet, right?

01:09:28    4   A.   Could you repeat that question?

01:09:31    5   Q.   Sure.

01:09:31    6   A.   Yeah.

01:09:31    7   Q.   So if there's a packet that comes into the GeoProbe,

01:09:34    8   GeoProbe doesn't know if it's SIP or SIP/IPsec or SIP/TLS

01:09:41    9   or WebSocket until you've actually looked at it, right?

01:09:44   10   A.   Well, right.     The packet will come into our probe, and

01:09:47   11   we will have to parse that packet to understand it.

01:09:49   12   Q.   And you've got to figure out is it getting carried on

01:09:54   13   UDP, TCP, or SCTP as part of that, don't you?

01:09:58   14   A.   Correct.     Part of our EZ Chip processing identifies the

01:10:03   15   layers of the packet.

01:10:04   16   Q.   And you don't do that until you've actually received

01:10:06   17   the packet, right?

01:10:07   18   A.   We can't parse a packet we haven't received.

01:10:11   19   Q.   And in addition to the EZ Chip processing, you've got

01:10:14   20   to do TCP reassembly to figure out if it's SIP, true?

01:10:19   21   A.   No.     We'll know it's SIP through either the Layer 4

01:10:27   22   port or from a tech scan we have on the EZ Chip.

01:10:31   23   Q.   But reassembly is done for SIP; is that right?

01:10:35   24   A.   We do reassembly for SIP.

01:10:36   25   Q.   And you don't know if you're going to do reassembly or
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01:10:39    1   not until the packet has already got there, true?

01:10:42    2   A.   The EZ Chip will identify the packet as a SIP packet

01:10:46    3   based on either the L4 port or a tech scan in the EZ Chip.

01:10:51    4   From that point, we know we will eventually do reassembly

01:10:58    5   on that packet.

01:10:58    6   Q.   Before the packet comes to the GeoProbe, the GeoProbe

01:11:00    7   does not know if it's going to have to do reassembly or not

01:11:03    8   on that packet; is that true?

01:11:06    9   A.   We don't know what we're going to do with a packet we

01:11:11   10   haven't received.

01:11:12   11            THE COURT:     Counsel, approach the bench, please.

01:11:15   12            (Bench conference.)

01:11:24   13            THE COURT:     Mr. Buresh, during this

01:11:27   14   cross-examination, you may not be aware of it, but you are

01:11:31   15   making a lot of facial expressions.         You are rolling your

01:11:35   16   eyes, your eyebrows, you're dipping your head.            I assume

01:11:39   17   you're not intentionally trying to communicate with the

01:11:41   18   witness or the jury, but you need to sit there and be still

01:11:45   19   and not engage in any non-verbal communications --

01:11:50   20            MR. BURESH:     Yes, Your Honor.

01:11:51   21            THE COURT:     -- intentional or otherwise.

01:11:51   22            MR. BURESH:     I didn't --

01:11:55   23            THE COURT:     It's time to -- it's time to put your

01:11:56   24   poker face on.

01:11:57   25            MR. BURESH:     Thank you, Your Honor.
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01:11:58    1               THE COURT:    Let's continue.

01:11:59    2               (Bench conference concluded.)

01:12:09    3               THE COURT:    Let's proceed.

01:12:14    4               MR. HURT:    Mr. Diaz, can you go to the GeoProbe

01:12:17    5   flow table demonstrative from Mr. Curtin's slides?

01:12:26    6   Q.   (By Mr. Hurt)       Do you recall, Mr. Curtin, describing

01:12:34    7   the GeoProbe flow table on your -- during your direct

01:12:37    8   testimony?

01:12:37    9   A.   Yes, I do.

01:12:38   10   Q.   And you mentioned that it contains a number of

01:12:40   11   statistics about the flow, right?

01:12:41   12   A.   Yes.

01:12:43   13   Q.   But in addition to that, it also identifies the

01:12:46   14   protocol as shown here in the protocol ID, right?

01:12:48   15   A.   That's correct.

01:12:49   16   Q.   And it also shows what application you have, true?

01:12:53   17   A.   Yes.

01:12:55   18   Q.   And isn't it correct that the GeoProbe uses that

01:12:58   19   information as part of processing the packets?

01:13:01   20   A.   The protocol ID does determine which processing path we

01:13:06   21   take through our system, yes.

01:13:07   22   Q.   And so that's just not some statistic y'all track?

01:13:10   23   A.   That's correct.

01:13:11   24   Q.   Okay.    And for these flow entries, there's a key, and

01:13:16   25   that's referring to the tuple key, right?
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 28 of 180 PageID #: 12189
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01:13:19    1   A.    The key to the flow table is a 5-tuple, plus a couple

01:13:25    2   of other items.

01:13:27    3   Q.    And you get that from the first packet that comes into

01:13:31    4   the GeoProbe, don't you?

01:13:32    5   A.    We look up the key for every packet that comes in.

01:13:34    6   Q.    Sure.   Let me ask it this way:      The first packet of a

01:13:37    7   flow has yet to arrive to the GeoProbe.          Is there an entry

01:13:41    8   for that flow in the flow table?

01:13:42    9   A.    If we have not received that key value, then, no, there

01:13:46   10   would be nothing in that flow table for that key table --

01:13:49   11   Q.    So then the packet comes in, and from that packet you

01:13:53   12   obtain the key value, right?

01:13:55   13   A.    For each packet that comes in, we will extract the

01:14:01   14   fields from that packet that make up the key.

01:14:05   15   Q.    That's TCP source port, TCP destination port, IP

01:14:08   16   address source, IP destination, right?

01:14:09   17   A.    That's not entirely correct.      Would you mind if I

01:14:11   18   corrected it specifically?

01:14:13   19   Q.    Well, are those four included?

01:14:14   20   A.    Those four are included if it's a TCP packet within the

01:14:19   21   ethernet frame.

01:14:19   22   Q.    Understood.   And at that point in time, after -- after

01:14:24   23   that first packet is received and the tuple is -- is

01:14:30   24   extracted, the GeoProbe then creates a flow entry, doesn't

01:14:34   25   it?
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01:14:34    1   A.   That's correct.

01:14:35    2   Q.   And as it processes that flow, the GeoProbe fills in

01:14:40    3   the protocol ID, right?

01:14:43    4   A.   The -- every packet will have a protocol ID from the

01:14:48    5   EZ Chip, and then when we create the entry in the flow

01:14:53    6   table, we will populate that protocol based on what the

01:14:57    7   EZ Chip gave us.

01:14:58    8   Q.   And with the application ID, once the GeoProbe finds

01:15:02    9   out the application ID, it then populates the flow table

01:15:05   10   entry with that value, right?

01:15:07   11   A.   That's correct.

01:15:08   12   Q.   Okay.    And that information isn't in the flow table for

01:15:13   13   the first packet when the flow arrives, true?

01:15:17   14   A.   Yes, that's true, if we did not receive the packet,

01:15:23   15   there'd be nothing in the flow table.

01:15:44   16               MR. HURT:   Ms. Lockhart, may I have the ELMO?

01:16:07   17   Q.   (By Mr. Hurt)      Do you recall, Mr. Curtin, on direct

01:16:09   18   being asked a series of questions about some case

01:16:12   19   statements from a function called

01:16:17   20   imon_Reassembly_processPacket?

01:16:18   21   A.   I don't remember seeing which function they were in.

01:16:22   22   Q.   Okay.    But do you remember seeing case statements that

01:16:24   23   looked like these on the screen?

01:16:25   24   A.   Yes.

01:16:28   25   Q.   And these case statements tell you as you're going
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 30 of 180 PageID #: 12191
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01:16:32    1   along which path to take, right?

01:16:34    2   A.   Yes, the protocol ID indicates which of the paths we

01:16:49    3   will go down.

01:16:49    4   Q.   So if you -- if you have, let's say for case SIP, you

01:16:53    5   see that here on Line 2763?

01:16:57    6   A.   Okay.

01:16:58    7   Q.   You got to this point -- and let me ask this first.

01:17:00    8   Fsb.c, FSB stands for flow state block, right?

01:17:04    9   A.   FSB stands for flow state block.

01:17:08   10   Q.   And that's the series of code that's responsible for

01:17:12   11   the flow state processing that uses the flows table, right?

01:17:15   12   A.   Yes.

01:17:15   13   Q.   Because the flow table is called the flow state block

01:17:19   14   table, true?

01:17:20   15   A.   Yes.

01:17:20   16   Q.   So as the packet is being processed, at this point in

01:17:23   17   time, it may not have determined if it's SIP, right?

01:17:27   18   A.   No, we would know the packet was SIP before this point.

01:17:30   19   Q.   And then at this point, if it has determined it's SIP,

01:17:35   20   the code then does something, right?

01:17:36   21   A.   At this point, based on the fact that we know this

01:17:40   22   packet is SIP, there are instructions to follow the next

01:17:45   23   path.

01:17:46   24   Q.   But you don't actually go down that path until you hit

01:17:52   25   this case statement, right?
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01:17:53    1   A.    Well, as part of writing our code, we order all of our

01:18:00    2   routines, or case statements, or "if" statements.             And so

01:18:05    3   we determine when we go down this path of code.

01:18:09    4   Q.    When we're at this point in code -- in the code and

01:18:12    5   there's a series of case statements, those are all

01:18:16    6   potential options; is that fair?

01:18:21    7   A.    Those are all potential paths within our code, yes.

01:18:24    8   Q.    Okay.   And then at this point in the code is where you

01:19:05    9   figure out which one of those potential paths you're going

01:19:08   10   to go down; is that fair?

01:19:11   11   A.    We've written the code to define all of these paths.

01:19:14   12   So as the packet comes in and goes through this code, it's

01:19:18   13   going to take the path we designed for it.

01:19:21   14             MR. HURT:    I'm going to object.       Non-responsive,

01:19:24   15   Your Honor.

01:19:24   16             THE COURT:     After the answer, okay, the remainder

01:19:36   17   of that answer I find is non-responsive, and I'll strike

01:19:40   18   it.

01:19:41   19             Mr. Curtin, you need to limit your answers to the

01:19:41   20   questions asked.      Mr. Buresh is going to get a chance to

01:19:41   21   follow up and ask you questions he thinks need to be asked

01:19:48   22   after this cross-examination.

01:19:48   23             THE WITNESS:     All right.     Yeah.

01:19:50   24             THE COURT:     Just a minute.     All right?

01:19:56   25             THE WITNESS:     Yes, sir.
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01:19:57    1               THE COURT:     "Yeah" is not really a great response

01:20:01    2   to a United States District Court.

01:20:02    3               THE WITNESS:     Yes, sir.

01:20:03    4               THE COURT:     Thank you.    Let's continue.

01:20:04    5               MR. HURT:    Thank you, Your Honor.

01:20:05    6   Q.   (By Mr. Hurt)       At this point in the code, Mr. Curtin,

01:20:08    7   the GeoProbe is picking one of those possible paths that it

01:20:11    8   will actually process the packet on; is that fair?

01:20:20    9   A.   Yes.

01:20:22   10   Q.   Okay.

01:20:29   11               MR. HURT:    I want to go, if you can, Mr. Diaz, to

01:20:32   12   the last slide in Mr. Curtin's direct, the one that

01:20:41   13   depicts -- thank you.

01:20:43   14   Q.   (By Mr. Hurt)       Do you remember discussing this slide in

01:20:46   15   your direct testimony, Mr. Curtin?

01:20:49   16   A.   Yes, I do.

01:20:50   17   Q.   And this is showing how TCP reassembly for control

01:20:53   18   plane packets operates in GeoProbe, right?

01:20:56   19   A.   Yes.

01:20:57   20   Q.   And we have this first received packet on the bottom

01:21:00   21   left that says TCP sequence No. 3, right?

01:21:05   22   A.   That's correct.

01:21:05   23   Q.   And in this demonstrative, you have sequence No. 3

01:21:11   24   means we got this one first, but in the ultimate message,

01:21:15   25   it should have been third; is that right?
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01:21:17    1   A.   That's correct.

01:21:18    2   Q.   And as part of this process -- well, let me ask, this

01:21:22    3   first received packet has something called SIP data in it.

01:21:27    4   Do you see that?

01:21:28    5   A.   Yes.

01:21:29    6   Q.   And that's the TCP segment, right?

01:21:36    7   A.   Oh, yes, the SIP data makes up the TCP segment.

01:21:42    8   Q.   Otherwise known as the payload?

01:21:44    9   A.   Yes, the payload of the TCP packet, that's correct.

01:21:47   10   Q.   And that -- that payload of the TCP packet when it's

01:21:50   11   SIP, it could have a SIP protocol header on it, true?

01:21:54   12   A.   Could you state that one again?

01:22:01   13   Q.   Sure.   So SIP is a protocol, isn't it?

01:22:04   14   A.   Yes, it is.

01:22:05   15   Q.   It's an application layer protocol; is that true?

01:22:10   16   A.   Yes, that's true.

01:22:11   17   Q.   And part of the SIP standard is that there is something

01:22:14   18   called a SIP header, correct?

01:22:15   19   A.   That's correct.

01:22:16   20   Q.   And the SIP header is going to be reflected inside the

01:22:21   21   SIP data portion shown on your demonstrative, right?

01:22:23   22   A.   Yes, that's correct.

01:22:24   23   Q.   And in this third reassembly step we have highlighted

01:22:32   24   on the screen, that SIP data moves over from the packet,

01:22:39   25   the first received packet on the bottom, over here to the
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01:22:43    1   far right, doesn't it?

01:22:46    2   A.   No.     We don't move it.   We make a copy of that SIP

01:22:49    3   data.

01:22:49    4   Q.   Okay.     Well, let me say it that way then.

01:22:52    5              The SIP data in this third reassembly step is

01:22:59    6   copied from the first received packet over here to the top

01:23:03    7   right in your demonstrative, true?

01:23:06    8   A.   That is true.

01:23:06    9   Q.   And it's copied over without the TCP header, right?

01:23:12   10   A.   That's true.

01:23:13   11   Q.   And it's copied over without the IP header?

01:23:16   12   A.   That's correct.

01:23:17   13   Q.   And it's copied over without the ethernet header?

01:23:20   14   A.   That's correct.

01:23:21   15   Q.   And so at that point in time, as it moves over, it's

01:23:24   16   just the SIP data itself?

01:23:28   17   A.   We don't move the data.

01:23:29   18   Q.   I'm sorry.

01:23:30   19   A.   Yeah.

01:23:30   20   Q.   At the time it's -- I didn't mean to cut you off.

01:23:33   21   A.   We -- we are copying the SIP data from that -- what's

01:23:37   22   marked as the first received packet to our new synthetic

01:23:41   23   ethernet frame.

01:23:42   24   Q.   So at the time it's copied over, it's just that SIP

01:23:44   25   data?
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01:23:45    1   A.   We copy only that SIP data.

01:23:49    2   Q.   And before the reassembly happens, you testified on

01:24:01    3   direct about something called a TCP state machine.             Do you

01:24:04    4   remember that?

01:24:05    5   A.   Yes.

01:24:05    6   Q.   And the TCP state machine is what's in the GeoProbe

01:24:12    7   products that processes TCP, fair?

01:24:13    8   A.   That's not entirely accurate.       Would you like me to

01:24:18    9   give a better description?

01:24:19   10   Q.   Well, does it execute a TCP state machine?

01:24:22   11   A.   It executes our implementation of a TCP state machine.

01:24:26   12   Q.   Okay.    And there was some source code you were shown --

01:24:33   13               MR. HURT:    May I have the ELMO again,

01:24:35   14   Ms. Lockhart, please?

01:24:37   15   Q.   (By Mr. Hurt)       There was some source code you were

01:24:58   16   shown, Mr. Curtin, on direct, about TcpSm_processPacket

01:25:19   17   function.     Do you see this on the screen?

01:25:20   18   A.   Yes, I do.

01:25:21   19   Q.   That's the function of the GeoProbe TCP state machine

01:25:24   20   that processes packets, right?

01:25:26   21   A.   This function processes ethernet packets that have a

01:25:31   22   TCP header.

01:25:34   23               MR. HURT:    Your Honor, objection.     Non-responsive.

01:25:36   24               THE COURT:    Restate your question, counsel.

01:25:47   25   Q.   (By Mr. Hurt)       This routine, Mr. Curtin, TcpSm, it
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01:25:55    1   processes packets, right?

01:25:57    2   A.   It does process packets.

01:25:59    3   Q.   And as you testified on direct, one of the things that

01:26:05    4   happens in this routine is it creates a pointer to the TCP

01:26:10    5   header, right?

01:26:10    6   A.   That's correct.

01:26:11    7   Q.   And that's at Line 1450 where it says *pTcpHdr?

01:26:18    8   A.   Yes.

01:26:19    9   Q.   And TcpHdr means TCP header, true?

01:26:24   10   A.   Yes, it does.

01:26:25   11   Q.   And the first byte that that pointer points to is the

01:26:31   12   TCP header; isn't that right?

01:26:34   13   A.   Yes.

01:26:35   14   Q.   NetScout has data sheets that it provides to its

01:27:13   15   service provider customers; is that right?

01:27:17   16   A.   Yes.

01:27:17   17   Q.   And they explain how -- the parts of the GeoProbe

01:27:23   18   product, is that -- is that right?

01:27:25   19   A.   Yes.

01:27:29   20   Q.   And those data sheets describe the GeoBlade as a

01:28:35   21   powerful platform that maximizes capacity and flexibility,

01:28:41   22   don't they?

01:28:41   23   A.   Yes.

01:28:42   24   Q.   Okay.   And capacity means speed, I assume, right?

01:28:50   25   A.   Capacity means packets per second, not exactly speed,
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01:28:55    1   but similar.

01:28:55    2               THE COURT:     You need to speak up, Mr. Hurt.

01:29:00    3               THE WITNESS:     Yes, sir.

01:29:01    4               THE COURT:     Not you, Mr. Curtin, but it won't hurt

01:29:03    5   if you speak up.

01:29:04    6               THE WITNESS:     Okay.   I'll do that.    Thank you.

01:29:10    7   Q.   (By Mr. Hurt)       And the GeoProbe data sheets also list

01:29:13    8   as a platform highlight the ability to do real-time packet

01:29:19    9   processing and dynamic classification, don't they?

01:29:22   10   A.   I don't recall seeing that statement.           Could you show

01:29:26   11   it to me?

01:29:27   12   Q.   Yes.    It's on PTX-69 in your witness binder.         The third

01:29:34   13   page down on the right-hand side, there should be something

01:29:38   14   that says Platform Highlights.           Do you see this?

01:29:59   15   A.   Yes, I do see that.       Thank you.

01:30:00   16   Q.   And that fourth bullet down on Platform Highlights

01:30:05   17   says:      Real-time packet processing and dynamic

01:30:08   18   classification.

01:30:10   19               Is that true?

01:30:16   20   A.   Yes.

01:30:16   21   Q.   Has NetScout -- has there been any effort by NetScout

01:30:20   22   to change the design of any of the GeoProbe products in

01:30:24   23   response to this case, Mr. Curtin?

01:30:25   24   A.   No.

01:30:25   25   Q.   And are there any plans to change the design of the
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01:30:28    1   GeoProbe products in response to this case?

01:30:31    2   A.   No.

01:30:34    3              MR. HURT:     Thank you, Your Honor.     No further

01:30:35    4   questions.    Pass the witness.

01:30:36    5              THE COURT:     All right.   Redirect, Mr. Buresh?

01:30:48    6              MR. BURESH:     Your Honor, we have nothing further.

01:30:50    7              THE COURT:     Then you may step down, Mr. Curtin.

01:30:59    8              MR. BURESH:     Your Honor --

01:31:00    9              THE COURT:     Yes.

01:31:01   10              MR. BURESH:     -- may Mr. Curtin be excused as a

01:31:03   11   witness?

01:31:03   12              THE COURT:     Any objection from Plaintiff?

01:31:04   13              MR. HURT:     No, Your Honor.

01:31:06   14              THE COURT:     Mr. Curtin, you are excused.       You're

01:31:08   15   free to stay with us.       You're also free to leave, sir.

01:31:12   16              THE WITNESS:     Thank you, sir.

01:31:13   17              THE COURT:     Defendant, call your next witness.

01:31:15   18              MR. BURESH:     Your Honor, we call Dr. Scott Dawson.

01:31:22   19              THE COURT:     All right.   If you'll come forward,

01:31:26   20   sir, the courtroom deputy will administer the oath to you.

01:31:49   21              (Witness sworn.)

01:31:50   22              THE COURT:     Please have a seat at the witness

01:31:55   23   stand.

01:31:55   24            SCOTT DAWSON, PH.D., DEFENDANT'S WITNESS, SWORN

01:31:55   25                             DIRECT EXAMINATION
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01:31:55    1   BY MR. BURESH:

01:32:04    2   Q.   Good afternoon, Dr. Dawson.

01:32:05    3   A.   Good afternoon.

01:32:05    4   Q.   Could you state your full name for the record, please?

01:32:09    5   A.   Yes, Scott David Dawson.

01:32:10    6   Q.   And please introduce yourself to the jury and give us a

01:32:13    7   little background information on yourself.

01:32:15    8   A.   Sure.   So my name is Scott Dawson.        I grew up in

01:32:18    9   Dearborn, Michigan, home of Ford -- Ford Motor Company

01:32:24   10   World Headquarters.

01:32:24   11              My dad was an automotive engineer, and so he got

01:32:27   12   me interested in engineering and technology early on.

01:32:30   13              My mom was an elementary school teacher and later

01:32:33   14   reading specialist, helping kids that were struggling with

01:32:37   15   reading.

01:32:37   16              I now live in Ann Arbor, Michigan, which was about

01:32:40   17   45 minutes from where I grew up, with my wife of almost 25

01:32:44   18   years and my daughter who's 13.

01:32:45   19   Q.   Okay.   And I'm going to ask you to slow down just a

01:32:48   20   little bit, please.

01:32:49   21   A.   All right.

01:32:49   22   Q.   And can you describe your educational background

01:32:51   23   leading up to your Ph.D.?

01:32:52   24   A.   Sure.   So I went to the University of Michigan from

01:32:58   25   1988 to 1998.     While there, I received a Bachelor's in
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01:33:04    1   engineering for computer science and computer engineering,

01:33:07    2   also a Master's in computer engineering, and ultimately a

01:33:10    3   Ph.D. in computer science.

01:33:11    4   Q.   And what was your area of focus in your doctoral

01:33:16    5   program?

01:33:16    6   A.   Right.   So my dissertation dealt with testing

01:33:21    7   distributed systems.      These are computer systems that

01:33:24    8   operate on networks and that exchange packets as part of

01:33:30    9   their operation.

01:33:30   10              What we were doing was manipulating the packets as

01:33:34   11   they were exchanged, in order to test whether the protocol

01:33:37   12   or the system was working.       In some cases, we could find

01:33:41   13   out how it worked or didn't.

01:33:43   14   Q.   And when did you get your Ph.D.?

01:33:48   15   A.   That was in 1998.

01:33:48   16   Q.   And what is your title at NetScout?

01:33:49   17   A.   I am the vice president of engineering.

01:33:51   18   Q.   Can you describe for us what that role entails?

01:33:54   19   A.   Right.   So I'm responsible for the Arbor products at

01:33:58   20   NetScout, and that entails -- I have a team of about 140

01:34:04   21   people.    And we do everything from design, architect, write

01:34:11   22   the software, check it for quality, and distribute it to

01:34:15   23   the marketplace.

01:34:15   24   Q.   Are you familiar with the Arbor products, then, that

01:34:18   25   are at issue in this case?
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01:34:18    1   A.   I am.

01:34:19    2   Q.   Could you tell the jury a little bit about what the

01:34:25    3   Arbor products do at a high level, please?

01:34:27    4   A.   Sure.   So what the Arbor products are doing is they

01:34:31    5   protect our customers and customers of them from something

01:34:36    6   called distributed denial of service attacks.

01:34:39    7   Q.   What is a distributed denial of service attack?

01:34:43    8   A.   So in one of these attacks, what the attacker is

01:34:46    9   attempting to do is to take whatever it is they're

01:34:49   10   attacking, offline.

01:34:51   11            So whether that be a bank website or a company or

01:34:55   12   another government or something like that, what they're

01:34:57   13   trying to do is take that site down so that nobody can

01:35:02   14   access it.

01:35:02   15            THE COURT:     Dr. Dawson, pull the microphone a

01:35:04   16   little closer to you, please.

01:35:06   17            THE WITNESS:     Sure.

01:35:06   18            THE COURT:     And as Mr. Buresh asked, please try to

01:35:09   19   slow down.

01:35:10   20            THE WITNESS:     All right.

01:35:10   21            THE COURT:     All right.     Let's continue.

01:35:11   22   Q.   (By Mr. Buresh)    How would one of these attackers shut

01:35:18   23   down a server at like a bank?

01:35:19   24   A.   Sure.   So servers have a finite set of resources.           So

01:35:26   25   they might have a finite pool of connections that could be
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01:35:29    1   made to them.     And what the attacker does is they try to

01:35:32    2   occupy all of those connections so that legitimate users

01:35:36    3   cannot get in and make a connection.

01:35:40    4   Q.   If you were to be at a party with some of your friends

01:35:47    5   and they ask what do your products do, could you think of

01:35:50    6   an example of how to describe that to them?

01:35:52    7   A.   Yeah.   So to take it out into the real world, one

01:35:56    8   example I like to use is that of a phone bank.            So maybe a

01:36:01    9   college is trying to get some donations and they open a

01:36:06   10   phone bank and they've got a whole bunch of people manning

01:36:10   11   the lines and people are calling in and making donations.

01:36:13   12              Let's say that's my rival college, and I don't

01:36:16   13   want them to get donations.       So what I do instead is I -- I

01:36:19   14   get a whole bunch of my friends, and we just continuously

01:36:24   15   call the phone line and tie up the line so that nobody can

01:36:28   16   get through.     Everybody that's trying to make donations

01:36:31   17   just gets a busy signal.      That's essentially what a denial

01:36:37   18   of service attack is.

01:36:38   19   Q.   What type of people do these attacks on the -- on the

01:36:40   20   Internet?

01:36:41   21   A.   So when we started, it was relatively unsophisticated,

01:36:46   22   might be a kid in their basement or, you know, maybe just

01:36:49   23   some bad guy trying to play games.

01:36:51   24              Over the -- over the years since 2001, it's really

01:36:55   25   evolved.     Right now it's anything from governments, nation
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01:37:04    1   states, organized crime, could be corporate competition

01:37:07    2   trying to take one of their competitors offline.

01:37:10    3   Q.   What do you mean by nation states?

01:37:12    4   A.   So we know, for example, that countries like Iran,

01:37:17    5   North Korea, China, and Russia all have pretty

01:37:23    6   sophisticated cyber -- cyber operations, and we know that

01:37:26    7   there are cases where they'll be doing an invasion.

01:37:31    8            For example, in 2008, Russia invaded the country

01:37:35    9   of Georgia, which was next door to them.          While they were

01:37:39   10   doing this physical invasion, they were also doing a denial

01:37:43   11   of service attack to bring down all of Georgia's

01:37:45   12   governmental computers.

01:37:45   13   Q.   Can the Arbor products protect against attacks like

01:37:49   14   that?

01:37:49   15   A.   That's exactly what we do.

01:37:51   16   Q.   Do the Arbor products protect any other sorts of

01:37:54   17   critical infrastructure?

01:37:55   18   A.   The Arbor products are primarily sold to service

01:38:04   19   providers, so think like an AT&T or British Telecom.             And

01:38:08   20   those providers use -- use the products to keep their

01:38:11   21   networks up so that you'd be able to use them.            And also

01:38:15   22   they use them to provide manned services to some of their

01:38:20   23   customers like banks and others to keep them up.

01:38:23   24            MR. BURESH:     If we could go to Slide No. 1.

01:38:26   25   Q.   (By Mr. Buresh)    Dr. Dawson, did you have an
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01:38:28    1   opportunity to assist me in preparing some demonstratives

01:38:31    2   for your testimony?

01:38:31    3   A.   I did.

01:38:32    4   Q.   And is this the first slide of your demonstratives?

01:38:36    5   A.   It is.

01:38:38    6   Q.   Can you please describe to the jury at a high level how

01:38:47    7   the Arbor products prevent a denial of service attack?

01:38:50    8   A.   Right.   So you can see in this example we've got a bank

01:38:53    9   who we're protecting using one of the Arbor products, Arbor

01:38:58   10   APS or Arbor AED.

01:39:03   11            Out on the other side of our device is basically

01:39:03   12   the Internet, and there's some green computers there.

01:39:06   13   Those are regular users just trying to get to the bank

01:39:09   14   website, maybe pay their bills.        And then there's a couple

01:39:12   15   of red computers with skulls on them.          Those are the bad

01:39:15   16   guys.   And they're trying to take the bank offline.

01:39:19   17            What our device does is it sits inline for all of

01:39:24   18   that traffic and it inspects that traffic and it determines

01:39:26   19   on each and every connection that it sees, does this look

01:39:30   20   good or does it look bad.       If it's bad, that traffic would

01:39:33   21   be dropped.    And if it's good, it would be passed through

01:39:37   22   to the bank.

01:39:38   23            By doing this inspection and doing this dropping

01:39:40   24   of bad traffic, we allow the legitimate users access to the

01:39:44   25   bank while the attackers basically are ineffective at
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01:39:48    1   attacking the bank.

01:39:49    2   Q.   And Dr. Dawson, the -- the green traffic that's going

01:39:52    3   through to the bank; do you see that?

01:39:53    4   A.   Yes.

01:39:55    5   Q.   What would happen to that green good traffic if the

01:40:00    6   Arbor products changed the headers of the packets or

01:40:05    7   converted the packets?

01:40:06    8   A.   Right.   So the header of the packet is basically like

01:40:09    9   the address on an envelope.       If we were to change the

01:40:12   10   packets as they're flowing through our device, they would

01:40:15   11   never make it to the bank.

01:40:19   12   Q.   I understand there are three products that fall under

01:40:23   13   the Arbor umbrella; is that correct?

01:40:25   14   A.   That's correct.

01:40:26   15   Q.   What are those products?

01:40:27   16   A.   They are Arbor APS, Arbor AED, and Arbor TMS.

01:40:34   17   Q.   Did you work on any products in the denial of service

01:40:38   18   space before those products?

01:40:39   19   A.   I did.   Around 2001 I worked on a product at Arbor

01:40:44   20   called Peakflow DoS, which was our initial denial of

01:40:47   21   service detection product.

01:40:47   22   Q.   What was the business environment like in 2001?

01:40:50   23   A.   Well, we had started in late 2000, and so we were in

01:40:55   24   the process of building the technology, building a product,

01:40:59   25   proving it would work, trying to acquire customers, and
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01:41:02    1   trying to make sure that the things that we were building

01:41:05    2   would work for them.      So it was very much a scramble.

01:41:09    3   Q.   So how did the dot-com bust impact that scramble, if

01:41:13    4   you will?

01:41:14    5   A.   I would say it didn't.      Because we were providing

01:41:18    6   infrastructure, availability, and our target customers were

01:41:22    7   things like big Internet providers, there was a big need

01:41:26    8   for DDoS detection at that time, so I think the dot-com

01:41:31    9   situation didn't really affect us.

01:41:32   10   Q.   What about the 9/11 terrorist attacks and the recession

01:41:38   11   that followed thereafter, what impact did that have on your

01:41:41   12   business?

01:41:41   13   A.   Right.   So I would say again little to no impact.           I

01:41:47   14   think, if anything, the 9/11 attacks kind of highlighted

01:41:50   15   for everybody the experience of infrastructure,

01:41:53   16   availability, security, and things like that.            So I think,

01:41:59   17   you know, it was neutral to positive for us.

01:42:02   18   Q.   When did you start working on developing the Arbor

01:42:06   19   products that are at issue here in this case?

01:42:09   20   A.   Right.   So we began TMS development around 2005.

01:42:15   21   Q.   Is that development ongoing today?

01:42:20   22   A.   It is.

01:42:21   23   Q.   Focussing in on that original 2005 time frame, what was

01:42:29   24   your role in the project?

01:42:34   25   A.   So shortly after the project started, I became the
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01:42:34    1   manager for the team that was developing the TMS product.

01:42:38    2   Q.   And did your team write software for the Arbor

01:42:42    3   products?

01:42:42    4   A.   We did.    We used some software that we already had on

01:42:47    5   other products, in terms of operating systems and

01:42:50    6   base-level functionality.

01:42:51    7               But in terms of the packet processing, that

01:42:54    8   determines right from wrong, sort of in this case, on the

01:42:58    9   screen, that was all developed in-house.

01:43:01   10   Q.   Was that from scratch?

01:43:02   11   A.   Yes.

01:43:03   12   Q.   How long did that take?

01:43:04   13   A.   About a year and a half before we got the first version

01:43:07   14   to market.

01:43:10   15   Q.   How many people were involved?

01:43:13   16   A.   10.

01:43:20   17   Q.   Prior to this litigation, had you ever heard of

01:43:24   18   Mr. Edward Balassanian?

01:43:25   19   A.   I had not.

01:43:27   20   Q.   What about a company named Implicit?

01:43:30   21   A.   No.

01:43:30   22   Q.   A company named BeComm?

01:43:33   23   A.   No.

01:43:33   24   Q.   Prior to this litigation, did you have any awareness of

01:43:39   25   the patents at issue in this case?
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01:43:40    1   A.    I did not.

01:43:44    2   Q.    Besides blocking the malicious or bad traffic like

01:43:49    3   we're seeing on the screen here, what were some of the

01:43:51    4   other goals of the Arbor products as you were developing

01:43:55    5   them?

01:43:55    6   A.    So the primary goal was performance.        We needed to be

01:43:58    7   able to keep up with the networks that we were connected

01:44:01    8   to.

01:44:03    9   Q.    Did you have a particular performance goal for the

01:44:06   10   Arbor products?

01:44:07   11   A.    So at that time, common network link was about one

01:44:12   12   gigabit per second, and now those network links are up to

01:44:17   13   100 gigabits per second.      Our fastest product today handles

01:44:22   14   400 -- or 400 gigabits per second of traffic.

01:44:26   15   Q.    Can you give us a sense of how fast 400 gigabits of

01:44:32   16   traffic is?

01:44:32   17   A.    Yes.    So a typical home computer connection or cable or

01:44:39   18   something like that is probably in the range of 40 megabits

01:44:43   19   per second.      400 gigabits per second is 10,000 times faster

01:44:48   20   than that.

01:44:54   21   Q.    What about in terms of packets per second, we've been

01:44:56   22   hearing that.      Can you tell us how many packets per second

01:44:58   23   400 gigabits per second is?

01:45:00   24   A.    Sure.    So it varies based on the packet sizes, but if

01:45:05   25   you use sort of an average packet size, that'd be about 80
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01:45:10    1   million packets per second.

01:45:14    2   Q.   Is speed important to the Arbor products?

01:45:16    3   A.   It is.

01:45:17    4   Q.   Why is that?

01:45:18    5   A.   So the main thing is that any traffic that enters our

01:45:22    6   device, we have to inspect.       And what that means is that if

01:45:27    7   we can't keep up, if we're not fast enough to keep up, then

01:45:32    8   we will not be able to inspect every packet that we see or

01:45:36    9   every connection that we're watching, and we won't be able

01:45:39   10   to determine good from bad.

01:45:42   11   Q.   What does it mean to drop traffic?

01:45:45   12   A.   It simply means that you don't send that traffic on to

01:45:48   13   the intended destination.

01:45:50   14   Q.   What impact does that have on the bank?

01:45:53   15   A.   So the impact on the bank of dropping bad traffic is

01:45:57   16   that the resources of, say, the banking web server, those

01:46:02   17   open connections that you're able to maintain, those will

01:46:05   18   not be occupied by bad traffic.        And what that allows is

01:46:09   19   that the good traffic would get through and be able to do

01:46:12   20   its business.

01:46:14   21   Q.   If you can't keep up with processing, do you

01:46:17   22   inadvertently drop good traffic?

01:46:20   23   A.   That's what would happen, yes.

01:46:21   24   Q.   And what would be the impact on the bank of dropping

01:46:24   25   good traffic?
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01:46:25    1   A.   Well, then their legitimate customers would not be able

01:46:33    2   to access the website.      That would make our product less

01:46:36    3   useful to them.

01:46:37    4   Q.   How did you design the Arbor products to accomplish

01:46:41    5   your speed goals and reach 80 million packets per second?

01:46:44    6   A.   Yeah, so the main thing is being very careful about how

01:46:49    7   we process the traffic.      What we have in terms of

01:46:54    8   mitigating bad traffic or dropping bad traffic is we build

01:46:59    9   something called a countermeasure, and we have a series of

01:47:01   10   these countermeasures in the product that are applied to

01:47:04   11   all the traffic.

01:47:04   12               Some of them are easy and some of them are hard,

01:47:10   13   and so what we do is we order those countermeasures, order

01:47:15   14   of operation, from easy to hard.        And the idea is that, if

01:47:18   15   I can make a determination with some easy code, then I can

01:47:25   16   move on and use that processing to do something else, and

01:47:28   17   I -- I save myself the processing of the harder operation.

01:47:32   18               So the easy stuff happens upfront.        The hard stuff

01:47:36   19   happens at the back, if at all.

01:47:38   20   Q.   When is that order of processing determined?

01:47:44   21   A.   That's done when we code the product before we ship it

01:47:48   22   to customers.

01:47:50   23   Q.   Are there processing paths in the Arbor product?

01:47:56   24   A.   Yes.

01:47:57   25               MR. DAVIS:   Objection, Your Honor.       May we
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01:47:59    1   approach?

01:47:59    2            THE COURT:     Approach the bench.

01:48:07    3            (Bench conference.)

01:48:07    4            THE COURT:     All right.     Mr. Davis, what is it?

01:48:09    5            MR. DAVIS:     He's using claim language now of

01:48:11    6   processing paths.     And I know maybe there were no

01:48:15    7   objections to the other witnesses, but I'm going to object

01:48:17    8   to this witness testifying as an expert, testifying as to

01:48:20    9   whether or not there are processing paths in the accused

01:48:23   10   products.

01:48:23   11            That's a claim term.        If he can show that that

01:48:27   12   word is used in the literature somewhere, that's fine, but

01:48:30   13   it's not.     He's just substituting the claim language.

01:48:35   14            THE COURT:     What's the Defendant's response?

01:48:37   15            MR. BURESH:     The words processing paths do not

01:48:41   16   appear in the claims, and it is, in fact, the only way to

01:48:44   17   describe how you process packets along a software path.

01:48:48   18   I'm not sure what you want me to do with it than use plain

01:48:52   19   and ordinary meaning since that term wasn't construed

01:48:53   20   whatsoever.     We understand it would have a plain and

01:48:56   21   ordinary meaning.

01:48:56   22            MR. DAVIS:     I'd be happy to get the claim language

01:49:00   23   out --

01:49:00   24            THE COURT:     You gentlemen are talking to me,

01:49:02   25   you're not talking to each other.
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01:49:03    1            MR. DAVIS:     The claim uses the word path,

01:49:06    2   Your Honor.    It is one of the two central questions in this

01:49:08    3   case.   It says the -- the element is create a path.

01:49:15    4            MR. BURESH:     And that claim has not been

01:49:18    5   construed, which means it has a plain meaning.

01:49:20    6            THE COURT:     I'm not going to sustain the

01:49:22    7   objection.    He's entitled to testify from his own personal

01:49:25    8   knowledge what the products he's familiar with and that his

01:49:27    9   company sells contain.

01:49:33   10            Now, if it goes beyond that where he starts to

01:49:37   11   explain what language like paths means, that's a different

01:49:40   12   matter, but if he identifies the product that he has

01:49:45   13   personal knowledge of as either having this attribute or

01:49:49   14   that attribute, that falls squarely within his personal

01:49:53   15   knowledge and does not call for an expert opinion.

01:49:55   16            At this point, I'm going to overrule the

01:49:58   17   Plaintiff's objection, but I want to put the Defendant on

01:50:02   18   notice, I do not expect this witness to start giving

01:50:05   19   opinions about the meaning of language that happens to be

01:50:08   20   in the claims.    That, I think, would be improper, and I'm

01:50:11   21   not going to permit that.       All right?

01:50:13   22            MR. BURESH:     Yes, Your Honor.

01:50:14   23            THE COURT:     Let's proceed.

01:50:16   24            (Bench conference concluded.)

01:50:29   25            THE COURT:     All right.     Let's proceed.
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01:50:30    1   Q.   (By Mr. Buresh)    Does the Arbor product include

01:50:32    2   processing paths?

01:50:33    3   A.   It does, yes.

01:50:33    4   Q.   And when are those paths created in the Arbor products?

01:50:36    5   A.   Those are created when we write the software before we

01:50:40    6   ship it to customers.

01:50:41    7   Q.   When is the arrangement of the processing paths set in

01:50:48    8   the Arbor products?

01:50:49    9   A.   It's set when we code the product before we ship it to

01:50:52   10   customers.

01:50:53   11   Q.   How does NetScout define the order of the processing

01:50:57   12   path in the Arbor products?

01:50:59   13   A.   So, again, we're -- we're organizing those processing

01:51:05   14   paths so that we're doing the easy things upfront and the

01:51:10   15   hard things later.

01:51:11   16             MR. BURESH:    If we could go to the next slide,

01:51:16   17   please.

01:51:16   18   Q.   (By Mr. Buresh)    What is this depicting, Dr. Dawson?

01:51:19   19   A.   This shows some processing paths that could be taken

01:51:23   20   through the product.

01:51:24   21   Q.   Can you describe an example?

01:51:28   22   A.   Yeah, an example would be -- I could get an ethernet

01:51:33   23   frame into the product.      I could determine that that was an

01:51:40   24   IP -- contained IP data.      I might further then look into

01:51:44   25   the IP header and determine that that contains TCP data, in
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01:51:50    1   which case it would follow the TCP module.           Then it would

01:51:54    2   drop through a series of countermeasures here that might

01:51:58    3   determine that the traffic is good or bad.

01:52:01    4             If it's bad, it would go in the trash.           We would

01:52:04    5   simply not send it on.

01:52:06    6             If it was good, it could continue through.

01:52:10    7   Depending on the application of -- of this -- that's

01:52:13    8   contained in this packet, we might apply

01:52:16    9   application-specific countermeasures to it, again, which

01:52:20   10   could cause it to be dropped.        Or if it wasn't, it would be

01:52:24   11   transmitted through to the destination.

01:52:26   12   Q.   And what are these countermeasures doing?

01:52:29   13   A.   So that's code that's looking for evidence of good or

01:52:34   14   bad.   In some cases, it's as simple as we know that the

01:52:39   15   source addresses on the network are bad guys, and we can

01:52:42   16   simply drop them.

01:52:44   17             In some cases, it might be rate-based.           If

01:52:48   18   somebody fetches a website 500 times a second, that's not

01:52:52   19   normal.   You know, a normal person would sit in front of a

01:52:56   20   computer and read the website before clicking again.

01:53:00   21             In some cases, it might be more complex, like

01:53:03   22   there's a certain string somewhere in the application that

01:53:08   23   we know means it's bad traffic.

01:53:10   24   Q.   And what is the order of the countermeasures applied in

01:53:14   25   the Arbor products?
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01:53:14    1   A.   Right.   So, again, we're going from things that are

01:53:18    2   easy to test, to things that are harder to test.            So the --

01:53:23    3   the example of the source we just know is a bad source,

01:53:27    4   that's something that's relatively easy.          That would happen

01:53:30    5   very early on up here.      Something like checking specific

01:53:34    6   contents of, say, a web packet might be more hard.             That

01:53:40    7   might happen down here.

01:53:41    8   Q.   What about the second set of countermeasures, are those

01:53:45    9   in an order, as well?

01:53:46   10   A.   They are.

01:53:47   11   Q.   And what is the order there?

01:53:48   12   A.   The order is still from easier things to do, to harder

01:53:53   13   things to do, although these things in general are harder

01:53:55   14   than some of the things further up the chain.

01:53:58   15   Q.   Now, is this depiction simplified?

01:54:00   16   A.   It's simplified, yes, but it's -- it's a pretty

01:54:03   17   accurate depiction of what actually happens in the code.

01:54:05   18   Q.   In the processing paths that are depicted on Slide 3,

01:54:09   19   when are those created?

01:54:11   20   A.   Those are created when we -- when we compile that

01:54:16   21   product together and before we ship it to customers.

01:54:20   22   Q.   When in time would that relate to, in terms of actual

01:54:24   23   packet processing?     Is it before?

01:54:25   24   A.   It would be long before.

01:54:28   25   Q.   When you go from -- as we see this IP module, you see
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01:54:44    1   that?

01:54:45    2   A.   Yes.

01:54:45    3   Q.   Into the UDP and the TCP modules, do you see those?

01:54:50    4   A.   Yes.

01:54:50    5   Q.   Does the software make a choice about which path to

01:54:53    6   follow there?

01:54:54    7   A.   Software doesn't make a choice.        The contents of the

01:54:56    8   packet will walk through a series of if/then/else

01:55:02    9   statements in the code, and it would say something like, if

01:55:04   10   this is UDP, execute the UDP processing code.            If this is

01:55:11   11   TCP, execute the TCP processing code.

01:55:14   12   Q.   And, again, make sure you're speaking up.

01:55:17   13   A.   Yeah, sorry.

01:55:18   14   Q.   It's okay.

01:55:19   15               Are the paths depicted here hard-coded in the

01:55:22   16   Arbor software?

01:55:23   17   A.   They are, yes.

01:55:24   18   Q.   What is the degree of changeability or modifiability of

01:55:29   19   these paths in the Arbor products?

01:55:31   20   A.   Only back at the factory, so to speak.          Users are not

01:55:36   21   able to make modifications.

01:55:38   22   Q.   Is there any run time modifications?

01:55:40   23   A.   There is not.

01:55:41   24   Q.   Now, the connections between these modules, like the

01:55:56   25   ethernet to IP module --
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01:55:57    1   A.   Uh-huh.

01:55:57    2   Q.   -- how are those connected together?

01:56:00    3   A.   So those are connected in code that looks at the

01:56:03    4   contents of the ethernet -- ethernet header on the ethernet

01:56:08    5   packet.

01:56:08    6             And depending on what is contained there, if it

01:56:13    7   was, for example, an IP -- if it contained IP data, then it

01:56:18    8   would execute the code that would process the IP data.

01:56:22    9   Q.   And I believe in a notebook you have source code

01:56:25   10   available to you if you need it.

01:56:26   11   A.   Okay.

01:56:27   12   Q.   But if I -- if I ask you to show me the code that

01:56:30   13   connects the ethernet to IP module, would you be able to do

01:56:34   14   that?

01:56:34   15   A.   I would, yes.

01:56:36   16             MR. BURESH:    Mr. Palisoul, can you please pull up

01:56:39   17   in that split screen format DX-453 at 108 to 109?             Thank

01:56:47   18   you.

01:56:47   19   Q.   (By Mr. Buresh)    Dr. Dawson, can you describe for the

01:57:01   20   jury what's happening in this source code?

01:57:04   21   A.   Right.    So what's happening here is we're looking at

01:57:07   22   the ethernet header, and you can see we're switching on the

01:57:13   23   protocol up near the top here at 316 -- Line 316,

01:57:18   24   highlighted in yellow.      If that's of type IP, then you can

01:57:24   25   see -- drop down a few lines, we're going to call the IP
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01:57:27    1   processing routine with that data.

01:57:32    2   Q.   Are these what's called instructions in the source

01:57:34    3   code?

01:57:34    4   A.   That's right.     This is source code.      These are the

01:57:36    5   instructions.    Case statement is essentially like what I

01:57:40    6   said before, if/then/else, so if either type IP call PCIP

01:57:49    7   process.

01:57:49    8   Q.   What happens in a computer when instructions like this

01:57:53    9   are executed?

01:57:53   10   A.   It's simply calling the next set of code, and it's

01:58:00   11   running the next set of code.

01:58:00   12   Q.   Are instructions flexible?

01:58:01   13   A.   They are not.

01:58:08   14   Q.   In the Arbor products, what degree of flexibility is

01:58:13   15   there in reordering the paths that we're looking at on the

01:58:16   16   left-hand side of the screen?

01:58:17   17   A.   There's no flexibility in reordering those.           We would

01:58:22   18   have to change the source code back at the factory, so to

01:58:25   19   speak, for that to happen.

01:58:27   20   Q.   Between the other modules, are there similar

01:58:34   21   instructions that connect those modules?

01:58:37   22   A.   That's right.

01:58:38   23              MR. BURESH:   If we could advance the slide,

01:58:39   24   please.

01:58:39   25   Q.   (By Mr. Buresh)     I want to do another example between
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01:58:42    1   IP module and TCP module.       Do you see that?

01:58:44    2   A.   I do.

01:58:45    3   Q.   And can you show me the -- similarly show me the source

01:58:49    4   code that we connect those two together?

01:58:50    5   A.   I can.

01:59:03    6              MR. BURESH:   Mr. Palisoul, if you could pull it up

01:59:05    7   in split screen mode to DTX-454 at 730.

01:59:12    8   A.   Right.    So you can see here we're looking at the IP

01:59:16    9   header.      And we're switching on the protocol.        And

01:59:21   10   highlighted on Line 141, if that's a protocol TCP, then

01:59:28   11   we're going to call a function called new_tcp_segment with

01:59:35   12   the packet.

01:59:36   13   Q.   And is that a fixed instruction?

01:59:37   14   A.   It is, yes.

01:59:39   15   Q.   If we walk through each of the various connections

01:59:42   16   depicted on these processing paths, are they all connected

01:59:48   17   by similar instructions?

01:59:49   18   A.   They are, yes.

01:59:49   19   Q.   When are the processing paths in the Arbor product

01:59:56   20   created?

01:59:56   21   A.   Those are created when we write the software before we

02:00:00   22   ever ship it to customers.

02:00:02   23   Q.   How many lines of code does that take?

02:00:04   24   A.   It's a lot.    I would say across all Arbor products, we

02:00:08   25   probably have in the low millions of lines of code.
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02:00:12    1   Q.    What do you have to do if you want to add a new pipe or

02:00:16    2   a new processing routine?

02:00:18    3   A.    So what we would do, typically the -- the new stuff

02:00:22    4   that we add is new countermeasures for a new attack that

02:00:25    5   might show up out there.

02:00:27    6              What we do is we go and we try to understand what

02:00:31    7   the service is or what the application is that could be

02:00:34    8   attacked.     And then we try to figure out how could we tell

02:00:38    9   if we're looking at attack traffic or good traffic.             And we

02:00:43   10   write some new code that would try to determine is this

02:00:46   11   good traffic or bad traffic.

02:00:48   12              Then we would figure out kind of how expensive

02:00:51   13   that is to run that code or how hard it is or how easy it

02:00:55   14   is.     And we would place that at the -- at the sort of

02:00:59   15   appropriate place in our processing path based on that

02:01:03   16   difficulty level of that code.

02:01:05   17              And then we would create a new version of the

02:01:09   18   software, and we would ship it out to customers that have

02:01:11   19   our devices.     They would install it on those devices, and

02:01:14   20   then they would be able to use that code.

02:01:17   21              THE COURT:   All right.     I'm going to interrupt

02:01:18   22   here.

02:01:19   23              Ladies and gentlemen, we're going to take a short

02:01:21   24   recess before we continue.

02:01:22   25              You can simply leave your notebooks in your
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02:01:24    1   chairs.   Be sure to follow all the instructions I've given

02:01:28    2   you regarding your conduct, including, of course, as you

02:01:30    3   would expect me to remind you, not to discuss the case with

02:01:33    4   each other.   And we'll be back shortly to continue.

02:01:36    5             The jury is excused for recess.

02:01:38    6             COURT SECURITY OFFICER:       All rise.

02:01:56    7             (Jury out.)

02:01:56    8             THE COURT:    The Court stands in recess.

02:01:56    9             (Recess.)

02:15:54   10             (Jury out.)

02:15:54   11             COURT SECURITY OFFICER:       All rise.

02:16:02   12             THE COURT:    Be seated, please.

02:16:48   13             All right.    Counsel, are you prepared to continue

02:16:54   14   with your examination of the witness?

02:16:56   15             MR. BURESH:    I am, Your Honor.

02:16:57   16             THE COURT:    You may return to the podium.

02:16:58   17             Let's bring in the jury, Mr. Brooks.

02:17:24   18             COURT SECURITY OFFICER:       All rise.

02:17:24   19             (Jury in.)

02:17:26   20             THE COURT:    Please be seated.

02:17:37   21             We'll continue with the Defendants' direct

02:17:42   22   examination of the witness.

02:17:43   23             You may proceed, counsel.

02:17:44   24             MR. BURESH:    Thank you, Your Honor.

02:17:46   25             Mr. Palisoul, if we could pull the slides up where
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02:17:50    1   we left off.

02:17:51    2   Q.   (By Mr. Buresh)    And, Dr. Dawson, again, looking at the

02:18:07    3   demonstrative in front of you, what ability does the Arbor

02:18:11    4   product have to add a new processing path after receiving a

02:18:17    5   first packet?

02:18:18    6   A.   There is no ability to do -- to do so.

02:18:21    7   Q.   What ability does the Arbor products have to add a new

02:18:29    8   connection between pipes or processing paths after a packet

02:18:32    9   has been received?

02:18:32   10   A.   No ability to do so.

02:18:39   11   Q.   What ability do the Arbor products have to reorder the

02:18:42   12   processing after a packet has been received?

02:18:44   13   A.   That is not possible.

02:18:46   14   Q.   On the demonstrative in front of you now, this is

02:19:00   15   depicting an Arbor in a network receiving packets.             Do you

02:19:05   16   understand that?

02:19:05   17   A.   I do.

02:19:05   18   Q.   Okay.    Looking at the packet on the lower left-hand

02:19:09   19   portion of the screen, in what order will the processing

02:19:15   20   paths be called to process this packet?

02:19:18   21   A.   So, first, we will process the ethernet data in the

02:19:23   22   packet.      Then we'll move on and process the IP data in the

02:19:26   23   packet.      Then we would process the TCP data in the packet.

02:19:30   24   And, finally, moving down, we would process in the

02:19:35   25   application-specific data in the packet.
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                                                                                         62



02:19:37    1   Q.   What ability do the Arbor products have to change that

02:19:39    2   order after receiving this packet?

02:19:41    3   A.   No ability to do so.

02:19:44    4   Q.   When you -- assuming a supported protocol, what happens

02:19:53    5   in the Arbor products in order to execute the processing

02:19:59    6   path?

02:19:59    7   A.   So in a supportive protocol, we would be executing code

02:20:04    8   that would be looking at the data in the -- in these -- in

02:20:10    9   the packet, and it would be calling functions through the

02:20:13   10   path of code based on what the data is in the packet.

02:20:16   11            So, for example, the ethernet determines that it's

02:20:20   12   an IP packet, we process the IP data in the packet, and we

02:20:24   13   move on and process the TCP data in the packet.            And then

02:20:27   14   we do any application-specific processing.

02:20:32   15            MR. BURESH:     Mr. Palisoul, can you advance the

02:20:34   16   animation, please?

02:20:38   17   Q.   (By Mr. Buresh)    Now, in the lower left-hand portion of

02:20:40   18   this, you see the packet depicted there?

02:20:42   19   A.   I do.

02:20:42   20   Q.   If this is an unsupported protocol in the Arbor

02:20:46   21   products, what happens?

02:20:48   22   A.   So for an unsupported protocol, what would happen is we

02:20:53   23   can't do any application-specific processing because we

02:20:56   24   don't understand the application.

02:20:58   25            We will still process the ethernet header, and
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02:21:03    1   then decide to process the IP data in the packet, and

02:21:06    2   decide to process the TCP data in the packet, and some of

02:21:09    3   those countermeasures that are sort of up in this area

02:21:12    4   could still be run on the data in the packet.            But we won't

02:21:16    5   be able to do any application-specific things because -- if

02:21:21    6   we don't understand the application.

02:21:22    7   Q.   What would you have to do with respect to the Arbor

02:21:27    8   products to be able to process this type of packet we have

02:21:29    9   depicted here?

02:21:30   10   A.   So if we -- if we had an application that wasn't

02:21:35   11   understood by the product, what we would have to do is go

02:21:39   12   back to the factory and basically write new code.             We'd

02:21:43   13   have to analyze that protocol or that service.            We'd have

02:21:49   14   to understand and just -- and try to figure out if there

02:21:53   15   was a way to tell good from bad, how do we find the DDoS

02:21:57   16   attack within this protocol.

02:21:58   17            And then what we would do is write some new code.

02:22:02   18   We would insert that code into the series of

02:22:05   19   countermeasures in an order from sort of easy to hard.               If

02:22:09   20   it was one of the harder ones, it would end up near the

02:22:12   21   end.   And then we would create a new version of the

02:22:14   22   software, and we would ship that to customers, and they

02:22:19   23   would deploy that on their machines.

02:22:22   24   Q.   Now, let's assume this packet in front of us here is

02:22:25   25   from a bad actor or the nation's state that's doing the
   Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 65 of 180 PageID #: 12226
                                                                                         64



02:22:29    1   attack.

02:22:29    2   A.   Uh-huh.

02:22:30    3   Q.   What happens in that context?

02:22:34    4   A.   It's from the nation's state, but it's something that

02:22:37    5   we don't understand.

02:22:38    6   Q.   No, in this context -- let's just say it's this

02:22:41    7   ethernet packet with HTTP data.

02:22:43    8   A.   Okay.     In that case, if this was a bad -- a bad

02:22:49    9   connection of HTTP, it's coming from a nation's state and

02:22:52   10   we're able to figure out that this is bad traffic, we would

02:22:56   11   simply not send that traffic to the destination.            So you

02:22:59   12   could see it ends up over here in the trash.           There's no

02:23:05   13   actual trash can.      What happens is we just don't send it

02:23:07   14   on, and that means it's lost to the network.

02:23:10   15   Q.   When the Arbor products throw bad traffic in the trash,

02:23:18   16   does that change the processing path in any way?

02:23:20   17   A.   It does not.

02:23:21   18   Q.   How do you know?

02:23:22   19   A.   Because we coded it.

02:23:26   20   Q.   To what extent are the processing paths in the Arbor

02:23:31   21   products fixed?

02:23:31   22   A.   They're fixed.

02:23:38   23             MR. BURESH:    If you could advance the slides,

02:23:41   24   please.

02:23:41   25   Q.   (By Mr. Buresh)     Here we have an ethernet packet with
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02:23:44    1   XCAP data; do you see that?

02:23:46    2   A.   I do.

02:23:51    3            MR. BURESH:     Your Honor, for the next period of

02:23:53    4   time, I'm going to need to seal the courtroom.

02:23:57    5            THE COURT:     All right.     Based on counsel's

02:23:59    6   request, I'll order the courtroom sealed to protect

02:24:02    7   confidential or proprietary information.

02:24:05    8            Those present not subject to the existing

02:24:07    9   protective order that's been entered by the Court in this

02:24:09   10   case should excuse themselves and remain outside until the

02:24:12   11   courtroom is unsealed.

02:24:12   12            For the record, the courtroom is sealed.

02:24:12   13            (Courtroom sealed.)

02:24:12   14            (This portion of the transcript is sealed and

02:24:12   15                filed under separate cover as Sealed Portion

02:24:17   16                No. 6.)

02:24:17   17            (Courtroom unsealed.)

02:33:54   18            THE COURT:     All right.     Let's proceed.

02:33:57   19   Q.   (By Mr. Buresh)     What type of packets are received in

02:34:07   20   the Arbor products?

02:34:07   21   A.   Ethernet packets.

02:34:13   22   Q.   What ability do the Arbor products have to change the

02:34:16   23   header structure of those packets?

02:34:18   24   A.   They don't change the headers of the packets.

02:34:20   25   Q.   Why not?
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02:34:21    1   A.   Because, again, changing the header is like changing

02:34:24    2   the address on an envelope.       If we were to change the

02:34:26    3   header, then any traffic that we decide to send on to the

02:34:29    4   destination wouldn't make it to the destination.

02:34:34    5             MR. BURESH:    If we could pull up the next slide,

02:34:36    6   please.

02:34:36    7   Q.   (By Mr. Buresh)     Looking at this next demonstrative,

02:34:51    8   Dr. Dawson, could you describe for us what happens when a

02:34:55    9   packet is received in the Arbor products?

02:34:56   10   A.   Right.     So the first thing that happens is the packet

02:35:00   11   is copied off the network and into system memory somewhere.

02:35:04   12   We then create these bookkeeping objects called an abuf and

02:35:09   13   a pbuf that help us to keep track of that packet and where

02:35:12   14   it is in memory.

02:35:14   15   Q.   What part of the packet is placed in memory?

02:35:16   16   A.   The entire ethernet packet is placed in memory.

02:35:20   17   Q.   What happens to the ethernet packet while it's in

02:35:24   18   memory and being processed?

02:35:26   19   A.   Nothing.     It's just simply looked at.

02:35:28   20   Q.   What is the outermost header of the packet depicted on

02:35:35   21   this slide?

02:35:35   22   A.   That is an ethernet header.

02:35:38   23   Q.   How do you know that?

02:35:39   24   A.   Because we receive the full ethernet frame, including

02:35:44   25   the header, and we place that in memory.
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02:35:47    1   Q.   Now, this structure, abuf and pbuf, does it point to

02:35:53    2   the entire packet?

02:35:54    3   A.   So the abuf points to the entire packet.          You can see

02:35:58    4   the head -- head pointer here points to the beginning.              And

02:36:04    5   the tail pointer here points to the very end of the data in

02:36:05    6   the packet.

02:36:06    7   Q.   And what does the pbuf do?

02:36:09    8   A.   The pbuf is a way of quickly indexing into the other

02:36:12    9   layers of the packets, so we have the Layer 3 header

02:36:18   10   pointer and the Layer 4 header pointer, and then finally a

02:36:22   11   pointer to the application payload there.

02:36:22   12   Q.   To what extent do these pointers change the packet?

02:36:26   13   A.   The pointers don't change the packet at all.           They're

02:36:28   14   just a quick way of indexing into the packet, like a

02:36:32   15   bookmark in a book.

02:36:35   16   Q.   Could you show us these structures, the abuf and the

02:36:39   17   pbuf, where they're created in the source code at the Arbor

02:36:42   18   products?

02:36:42   19   A.   I can, yes.

02:36:43   20            MR. BURESH:     Mr. Palisoul, if you could, please,

02:36:47   21   in a split screen format, pull up DX-454 at 726.            Thank

02:36:58   22   you.

02:36:58   23   Q.   (By Mr. Buresh)    And what do we see here, Dr. Dawson?

02:37:00   24   A.   So what we see here is the beginning of the definition

02:37:04   25   of the abuf structure definition.         You can see that there's
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02:37:08    1   an acap reference.     That's the reference to the interface

02:37:14    2   that we receive the packet off of.         And then you have a

02:37:14    3   pointer to the head of the packet, and you have a pointer

02:37:17    4   to the tail of the packet.

02:37:18    5   Q.   Does the abuf enable access to the entire packet?

02:37:22    6   A.   It does.

02:37:25    7            MR. BURESH:     If we advance the slide, please.

02:37:38    8   Q.   (By Mr. Buresh)    What are we seeing here?

02:37:40    9   A.   So here we're seeing the beginning of the pbuf data

02:37:43   10   structure, and -- and there's a little bit of a gap there,

02:37:45   11   but you can see there's a pointer to the Layer 3 header

02:37:50   12   and, again, to the Layer 4 header, again, basically

02:37:54   13   bookmarks into the packet at those places in the packet.

02:37:59   14   Q.   So how do the processing routines along the processing

02:38:02   15   path, how do they use these structures?

02:38:04   16   A.   So what the processing routines do is when they want to

02:38:07   17   look at one portion of the packet or another, they're able

02:38:09   18   to use these pointers to reference into that portion of the

02:38:12   19   packet and analyze that part of the data.

02:38:15   20            So, for example, when I'm processing an IP header,

02:38:18   21   I use that L3 header pointer to look at the IP data and

02:38:23   22   make whatever decisions -- you know, basically inspect that

02:38:27   23   data at that point.

02:38:30   24            MR. BURESH:     And, for the record, this is DX-454

02:38:32   25   at 733 and 734.
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02:38:35    1   Q.   (By Mr. Buresh)     If I ask you to show me an example of

02:38:41    2   a processing -- processing routine being past the abuf or

02:38:48    3   pbuf, could you do that for me?

02:38:50    4   A.   I could, yes.

02:38:51    5              MR. BURESH:   Mr. Palisoul, could you, again, in

02:38:53    6   split screen, pull up DX-453 at 191?

02:39:07    7   Q.   (By Mr. Buresh)     What are we seeing here, Dr. Dawson?

02:39:09    8   A.   So what we're seeing here is a call to a function

02:39:12    9   called new_tcp_segment.      This is called any time when we

02:39:17   10   have a packet that contains some TCP data.           And we call

02:39:21   11   that function, and we give it the entire abuf so that it's

02:39:25   12   able to do whatever processing would be done on that TCP

02:39:29   13   data.

02:39:30   14   Q.   Is new_tcp_segment a TCP -- part of the TCP processing

02:39:37   15   routine?

02:39:37   16   A.   It is.

02:39:37   17   Q.   And why is it past the entire -- or, I'm sorry, why is

02:39:42   18   it past the abuf?

02:39:43   19   A.   So it's past the abuf because we wanted to have access

02:39:47   20   to all of the -- the entire ethernet packet that we

02:39:49   21   received off the network.

02:39:51   22              In fact, in the case of new_tcp_segment, one of

02:39:57   23   the first things it does is it does an IP check zone on a

02:40:01   24   packet which actually has to reference back into the IP

02:40:03   25   header data.    And so by having the full abuf, it's able to
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02:40:06    1   do any of that processing that it needs to do.

02:40:09    2   Q.   To what extent do the Arbor products ever remove or

02:40:12    3   change a header on a packet?

02:40:14    4   A.   They don't ever remove or change headers.          We always

02:40:17    5   leave the entire ethernet frame sitting in memory and --

02:40:21    6   and only look at different portions of it.

02:40:24    7   Q.   To what extent do the Arbor products convert packets in

02:40:27    8   any way?

02:40:28    9   A.   They don't convert anything.       They simply leave the

02:40:31   10   packet there in memory and look across that packet and

02:40:37   11   process what -- what they need to.

02:40:40   12   Q.   Do the Arbor products ever process a packet that has

02:40:43   13   TCP as the outermost header?

02:40:45   14   A.   They do not.

02:40:59   15              MR. BURESH:   If we could bring up Dr. Almeroth's

02:41:01   16   Slide 101, please.

02:41:03   17   Q.   (By Mr. Buresh)     I know you haven't seen this slide

02:41:15   18   before, Dr. Dawson, but just focusing on the source code,

02:41:19   19   do you recognize that?

02:41:20   20   A.   Yes, I do.

02:41:21   21   Q.   What is it?

02:41:22   22   A.   This is the TCP processing, the file that basically

02:41:28   23   defines all the TCP processing in the product.

02:41:33   24   Q.   When this process is being executed --

02:41:38   25   A.   Uh-huh.
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02:41:39    1   Q.   -- does that create a packet that has TCP as an

02:41:44    2   outermost header?

02:41:44    3   A.   It does not.

02:41:45    4   Q.   Does this processing routine that we're looking at here

02:41:57    5   ever create a representation of a packet that has TCP as an

02:42:00    6   outermost header?

02:42:01    7   A.   We don't create any representations of packets.            We

02:42:05    8   always have the full packet, and we're simply indexing into

02:42:09    9   those packets.

02:42:14   10            MR. BURESH:     If we could pull up Slide 164 from

02:42:17   11   Dr. Almeroth's testimony.

02:42:20   12   Q.   (By Mr. Buresh)    Again, I know you haven't seen this

02:42:22   13   slide, but focusing in on source code, can you describe

02:42:25   14   what we're looking at in the code here?

02:42:27   15   A.   Yeah.   So this part of code is part of the code that we

02:42:32   16   use to decode HTTP traffic or web traffic.           And one of the

02:42:38   17   things that we need to do when we're doing that is

02:42:42   18   sometimes the data in an HTTP stream will cross several

02:42:47   19   packets, and when that happens, it's very hard to operate

02:42:50   20   on that fragmented data.

02:42:54   21            And so what we do is aggregate it up into a single

02:42:58   22   buffer that we can then more easily operate on.            And so

02:43:02   23   what's circled here on Line 110 is the HTTP_HEADER buffer

02:43:13   24   that we would be using that area of memory to pull together

02:43:15   25   potentially data from multiple packets into one area so we
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02:43:18    1   could more easily operate on it.

02:43:23    2   Q.   Does this source code create a packet or a

02:43:26    3   representation of a packet that has the application layer

02:43:30    4   as the outermost layer?

02:43:32    5   A.   No.   This is just one of several fields in the HTTP

02:43:37    6   header or in the HTTP stream that we might look at.             You

02:43:41    7   can see there are others like requests or response or

02:43:44    8   things like that.

02:43:45    9   Q.   Does this processing change the packet in any way?

02:43:49   10   A.   It does not.

02:44:00   11              MR. BURESH:    Your Honor, I pass the witness.

02:44:01   12              THE COURT:    Cross-examination by the Plaintiff?

02:44:03   13              MR. DAVIS:    Yes, Your Honor.

02:44:20   14              THE COURT:    Proceed when you're ready, Mr. Davis.

02:44:22   15              MR. DAVIS:    Thank you, Your Honor.

02:44:22   16                            CROSS-EXAMINATION

02:44:23   17   BY MR. DAVIS:

02:44:23   18   Q.   Good afternoon, Dr. Dawson.

02:44:24   19   A.   Good afternoon.

02:44:25   20   Q.   How are you?

02:44:25   21   A.   I'm good.

02:44:26   22   Q.   We're never met before, have we?

02:44:28   23   A.   We have not.

02:44:29   24   Q.   Well, it's good to meet you.       My name is Bo Davis, and

02:44:31   25   I represent the Plaintiff in this case, Implicit.
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02:44:35    1   A.   Okay.

02:44:43    2            MR. DAVIS:     Now, if I could have DX-464, please,

02:44:45    3   Mr. Diaz?

02:44:47    4   Q.   (By Mr. Davis)    You were asked on direct examination,

02:44:49    5   Dr. Dawson --

02:44:50    6            MR. BURESH:     Your Honor, may I approach or just

02:44:55    7   I'm going to request to seal the courtroom.           Any time this

02:44:58    8   document is being used, we need to have it sealed.

02:45:01    9            MR. DAVIS:     Your Honor, may I also request to seal

02:45:03   10   the courtroom?

02:45:03   11            THE COURT:     Then based on that unanimous request,

02:45:05   12   I'll order the courtroom sealed.

02:45:07   13            All present who are not subject to the Court's

02:45:11   14   protective order in this case should excuse themselves and

02:45:13   15   remain outside until the courtroom is unsealed.

02:45:17   16            If you're in the courtroom and you're not subject

02:45:19   17   to the protective order in this case, you need to excuse

02:45:22   18   yourselves at this time.

02:45:36   19            All right.     The courtroom is sealed.

02:45:42   20            (Courtroom sealed.)

02:45:42   21            (This portion of the transcript is sealed and

02:45:42   22                filed under separate cover as Sealed Portion

02:45:42   23                No. 7.)

03:04:26   24            (Courtroom unsealed.)

03:04:27   25            THE COURT:     And if you'll come forward and be
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03:04:31    1   sworn, Dr. Jeffay.

03:04:51    2              (Witness sworn.)

03:04:52    3              THE COURT:    Please come around, sir, have a seat

03:04:54    4   on the witness stand.

03:05:05    5              All right.    Counsel, you may proceed with your

03:05:07    6   direct examination.

03:05:07    7            KEVIN JEFFAY, PH.D., DEFENDANT'S WITNESS, SWORN

03:05:07    8                            DIRECT EXAMINATION

03:05:09    9   BY MR. BURESH:

03:05:09   10   Q.   Good afternoon, Your Honor, Dr. Jeffay.

03:05:12   11   A.   Good afternoon.

03:05:13   12   Q.   Could you please state your full name for the record?

03:05:15   13   A.   My name is just Kevin Jeffay.

03:05:17   14   Q.   And give us a little bit about your background.

03:05:20   15   A.   Sure.   I'm a professor of computer science at the

03:05:25   16   University of North Carolina at Chapel Hill.           I've been in

03:05:29   17   Chapel Hill for now more than half my life, but I'm

03:05:35   18   originally a mid-westerner from Illinois.           I -- as I say,

03:05:39   19   I've been in Chapel Hill for 30 years, married, have two

03:05:42   20   kids, both grown and off getting busy with their lives.

03:05:45   21   Q.   Can you describe for us your educational background?

03:05:51   22   A.   Sure.   I was raised in sort of a science house, I

03:05:57   23   guess.    My father was a biochemist, and my mom was a -- had

03:06:02   24   been a scientist.       By the time I came around, she was just

03:06:04   25   a stay-at-home mom.
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03:06:05    1              I had an interest in mathematics, of all things,

03:06:08    2   as a kid, and I went to school at the University of

03:06:11    3   Illinois to study mathematics.

03:06:14    4              While there, that's where I discovered computing.

03:06:18    5   I worked to go to school, and I worked for the Army Corps

03:06:24    6   of Engineers, which you may know is the -- it's sort of a

03:06:28    7   quasi civilian branch of the military that maintains a lot

03:06:31    8   of the public infrastructure like dams and bridges.

03:06:35    9              But I worked in a -- what was called the

03:06:38   10   construction engineering research lab and helped build a

03:06:41   11   computer system to wash tanks for the Army, and that was a

03:06:44   12   ton of fun as a -- as a late teenager.

03:06:47   13              And that got me really interested in computing.

03:06:50   14   And so when I graduated, I switched to computer science and

03:06:54   15   went to graduate school to get some credentials in computer

03:06:58   16   science.

03:06:59   17   Q.   And where did you go to graduate school?

03:07:01   18   A.   I went to graduate school twice.        But, ultimately, I

03:07:04   19   went to the University of Washington, that we heard about

03:07:07   20   earlier, and received a Ph.D. in computer science.

03:07:09   21   Q.   What did we hear about the University of Washington

03:07:15   22   earlier?

03:07:15   23   A.   We heard that's where Mr. Balassanian went to school.

03:07:20   24   And while I was teaching there, I believe we actually

03:07:23   25   probably overlapped a bit.       So I might have actually had
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03:07:27    1   him in class.     I don't know.

03:07:29    2               And we also heard that it was a great -- I think

03:07:32    3   Dr. -- Mr. Balassanian said it was one of the best computer

03:07:38    4   science schools in the country, and I certainly would agree

03:07:42    5   with him.

03:07:42    6   Q.   Did you have any project work or projects that led into

03:07:46    7   your thesis, or whatever, for your Ph.D.?

03:07:48    8   A.   Yes.    I did an operating systems Ph.D.        And my project

03:07:54    9   was joint with a group at Boeing Aerospace.           Boeing was

03:07:58   10   quite big in Seattle then.        Boeing had a contract to do

03:08:02   11   work on what was -- what eventually became the

03:08:07   12   International Space Station.

03:08:08   13               And part of my research was to help them write an

03:08:11   14   operating system for one of the flight control computers

03:08:14   15   that, as best I know, actually launched.          And so it's kind

03:08:17   16   of neat to think that at least for some amount of time

03:08:20   17   there was code that was orbiting the earth that I helped

03:08:25   18   write.

03:08:25   19   Q.   I'm sorry, what year did you get your Ph.D.?

03:08:28   20   A.   That would be 1989.

03:08:31   21   Q.   Okay.    What did you do after you obtained your Ph.D.?

03:08:38   22   A.   So I wanted to try my hand at being an academic.            I

03:08:42   23   really liked teaching and I liked research, and so I

03:08:42   24   accepted a position at the University of North Carolina

03:08:45   25   and moved all the way from the West Coast to the East
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03:08:48    1   Coast, and I've been in North Carolina ever since -- ever

03:08:53    2   since 1989.

03:08:53    3   Q.   Do you have a title at the University of North

03:08:57    4   Carolina?

03:08:57    5   A.   I do.   I have a bit of a long title.        I am officially

03:09:01    6   the Gillian Cell Distinguished Professor, Computer Science,

03:09:06    7   and I have an administrative position, in that I serve as

03:09:08    8   the chair -- chairman of the Department of Computer

03:09:10    9   Science.

03:09:10   10   Q.   How long have you been the chairman of the Department

03:09:16   11   of Computer Science?

03:09:16   12   A.   This is year number 6.

03:09:17   13   Q.   Now, do you actually still teach classes at the

03:09:25   14   University of North Carolina?

03:09:27   15   A.   I do.   I taught an operating systems class this

03:09:32   16   semester.     And while I'm down here, I'm actually grading

03:09:35   17   final exams.

03:09:36   18   Q.   How do you describe what a packet is to your students?

03:09:41   19   A.   I tell them that a packet is the basic unit of

03:09:46   20   transmission on the network.       And as we've heard here,

03:09:50   21   several witnesses have talked about it, we use the U.S.

03:09:54   22   mail system as an example because it's pretty good, that a

03:09:57   23   packet is like an envelope.       It contains a letter.        The

03:10:01   24   letter is the data.     And there's some addressing

03:10:03   25   information on the outside.       And that's sort of like a --
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03:10:05    1   like the headers of a packet.

03:10:06    2   Q.   How do the -- how does the addressing information

03:10:13    3   relate to the headers of a packet?

03:10:16    4   A.   So it's not a perfect analogy, but it's -- it's pretty

03:10:19    5   good.     We -- we tend not to think about this much, but the

03:10:23    6   lines -- each line on an address on an envelope serves a

03:10:27    7   separate purpose.

03:10:28    8              So, for example, when you first mail a letter, all

03:10:30    9   the post office is looking at is really the zip code

03:10:33   10   because what they want to know is what's the remote -- the

03:10:36   11   destination -- postal station that's going to get the

03:10:39   12   letter.     So they look at the zip code.

03:10:42   13              When it arrives at the destination postal station,

03:10:46   14   they'll look at -- if there's a four-digit extension on the

03:10:50   15   zip code, that specifies the -- what's called the carrier

03:10:56   16   route -- essentially the mail carrier's route.            And so that

03:10:57   17   would sort of be like another level of header, another

03:11:00   18   level of protocol.

03:11:01   19              And then once the carrier is on his route, then

03:11:04   20   they look at the street address.        That's what they need to

03:11:06   21   know to deliver it, so that's sort of like another level of

03:11:10   22   protocol.

03:11:10   23              And we really don't think about this, but it -- it

03:11:12   24   kind of makes sense that if there's a lot of people living

03:11:15   25   in your home when the mail comes into your home, someone
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03:11:18    1   would look at the top line of the address to see who in the

03:11:21    2   home to deliver the actual letter to, whether it's me or my

03:11:25    3   wife or one of the kids.

03:11:26    4               So each one of those lines you can kind of think

03:11:29    5   of as a protocol because they serve a separate purpose in

03:11:32    6   the -- in the overall delivery of the letter.

03:11:34    7   Q.   Do you have any awards or accolades, that sort of

03:11:40    8   thing, that are in the 1990s, the time frame of -- of when

03:11:44    9   Mr. Balassanian was doing his work?

03:11:45   10   A.   Yes.    In the 1990s, starting like literally around

03:11:54   11   1990, I got very interested in problems of transmitting

03:11:58   12   audio and video over the Internet.         It -- it seems kind of

03:12:03   13   quaint today, but -- because it's just so common, but --

03:12:05   14   but it was a cutting-edge problem in 1990.           And I was

03:12:10   15   building operating systems and designing what are called

03:12:12   16   transport protocols for delivering audio and video.

03:12:15   17               And my research group, a bunch of students at the

03:12:20   18   university and I, we did win a number of awards throughout

03:12:22   19   the 1990s for work we did in operating systems and network

03:12:28   20   protocol and development.

03:12:29   21   Q.   Have you won any other awards that are relevant to the

03:12:34   22   technology that's at issue in this case?

03:12:36   23   A.   Yes.    Starting around '97 or so, I got very interested

03:12:41   24   in issues of trying to understand traffic flowing on

03:12:44   25   networks because, as we've heard, you know, the Internet
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03:12:49    1   was exploding and being used for all kinds of things.              And

03:12:54    2   we really did not understand the impact that all these

03:12:56    3   different traffic types had on the Internet.

03:12:58    4                And so to study Internet traffic, my research

03:13:03    5   group, we built devices that sit in the middle of the

03:13:07    6   network and monitor packet traffic.         And in our case, we

03:13:10    7   were monitoring packet traffic on the campus -- the UNC

03:13:15    8   campus network.

03:13:16    9                And in 2001, my group won what's arguably the most

03:13:22   10   prestigious award in computer networking for original

03:13:25   11   research.      It was based on a particular type of monitoring

03:13:27   12   device that we had built.

03:13:29   13   Q.    Have you been awarded any patents for any of your

03:13:36   14   research or projects?

03:13:38   15   A.    Well, I'm a named inventor on patents.         I -- I don't --

03:13:41   16   I don't actually get the patents, so they're not awarded to

03:13:44   17   me.    The university takes them.      And several of my students

03:13:46   18   have wanted to apply for patents just so they can be

03:13:50   19   considered an inventor.      And so we've applied for -- four

03:13:56   20   times, we've applied for patents, and so I'm a named

03:13:58   21   inventor, I believe, on four -- four patents.

03:13:59   22   Q.    So do you have experience with operating systems that

03:14:07   23   process network packets?

03:14:08   24   A.    Yes.    I've developed those operating systems, and I've

03:14:12   25   used commercial operating systems for that purpose.
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03:14:14    1   Q.   For how long?

03:14:15    2   A.   I guess probably going -- yeah, all the way back to

03:14:23    3   when I started at -- as a faculty member, ever since I

03:14:27    4   started UNC, so roughly 30 years.

03:14:30    5   Q.   Are you familiar with the concept of deep packet

03:14:33    6   inspection?

03:14:34    7   A.   I am.

03:14:35    8   Q.   What about application level inspection?

03:14:39    9   A.   I'm familiar with that.

03:14:40   10   Q.   Are those similar concepts?

03:14:42   11   A.   Yes, they're -- they're similar.

03:14:44   12   Q.   And what do they mean?

03:14:45   13   A.   I guess the simplest way to think about it is, if we go

03:14:49   14   back to the letter analogy, you get your letter, and what

03:14:51   15   you want to do is try and understand something about the

03:14:53   16   data in the letter without necessarily having to open up

03:14:57   17   the letter.   So you're sort of like inspecting into -- into

03:15:00   18   the letter -- into the envelope to look at whatever is

03:15:04   19   contained inside that envelope.

03:15:09   20   Q.   When was deep packet inspection or application level

03:15:16   21   inspection first available?

03:15:17   22   A.   I -- I don't know that I can put a precise date on it,

03:15:21   23   but easily 30 -- 30-plus years ago.

03:15:24   24   Q.   What about flow-based processing, what is that?

03:15:30   25   A.   Flow-based processing is -- is related to application
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03:15:37    1   inspection.      The idea is applications can transmit pieces

03:15:40    2   of data that are too big to fit in one envelope, so you

03:15:43    3   have to chop up the data into multiple envelopes, and the

03:15:48    4   transmission of those multiple envelopes, those multiple

03:15:51    5   packets, constitutes what we call flow.          And so flow-based

03:15:55    6   processing essentially is looking at groups of packets that

03:15:58    7   are related to one another, and that's also a fairly old

03:16:02    8   concept.

03:16:02    9   Q.   When did flow-based processing come about?

03:16:05   10   A.   Again, I don't know that I can put an exact date on it,

03:16:09   11   but we've heard about the RMON standard, which I certainly

03:16:14   12   knew of.   It's a flow-based processing standard called

03:16:16   13   remote monitoring.      And that dates from the early '90s,

03:16:21   14   around '91.

03:16:22   15   Q.   Are any of your patents related to flow-based

03:16:28   16   processing?

03:16:28   17   A.   Yes, yes.    I think at least one -- one of them is.           One

03:16:33   18   of them, we have a patent about -- it's not really related

03:16:38   19   to the issues here other than from a mechanism standpoint.

03:16:41   20   It is about processing packet headers to understand

03:16:45   21   properties of traffic.

03:16:46   22   Q.   Is that concept of processing packet headers to

03:16:50   23   understand what's in the traffic, has that been around for

03:16:52   24   a while, as well?

03:16:53   25   A.   Yes, that's the way we always understood -- that's the
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03:16:57    1   means by which we've always tried to understand network

03:17:00    2   traffic.

03:17:01    3   Q.   Is that just the way networks work?

03:17:03    4   A.   Yes.     The -- the data that's actually being transmitted

03:17:07    5   typically makes no sense to a monitor, so the only way you

03:17:09    6   can understand that data is to analyze the headers.

03:17:12    7   Q.   In the period leading up to the patents in this case in

03:17:16    8   1999, how was the Internet evolving?

03:17:20    9   A.   Fast.     It was a wild west.    It was a ton of fun.       There

03:17:29   10   was companies springing up right and left to do all kinds

03:17:32   11   of amazing things with the Internet.         People were

03:17:35   12   contemplating transmitting types of data that, again, today

03:17:39   13   is very common.      But back then, we had never heard of -- of

03:17:42   14   doing such things.      So it was a time of tremendous

03:17:45   15   activity.

03:17:46   16   Q.   And were you developing operating systems in that time

03:17:49   17   frame?

03:17:49   18   A.   I was.

03:17:49   19   Q.   What impact would that type of evolution or did that

03:17:53   20   type of evolution have on developers at that time frame --

03:17:57   21   in that time frame?

03:17:57   22   A.   Well, most of us had to put a stake in the ground and

03:18:01   23   say this is where we think the technology is going to go

03:18:06   24   and try and support that in our operating system.

03:18:08   25               So in my case, I was interested in live audio and
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03:18:12    1   video.   I was very interested in videoconferencing, which

03:18:16    2   was a very challenging application in the mid to late '90s.

03:18:20    3   And so I was banking that that would be a thing and was

03:18:24    4   designing operating systems to support that type of -- of

03:18:28    5   application.    So you had to, as I say, put a stake in the

03:18:32    6   ground and march towards it.

03:18:35    7   Q.   Was that project you were working on that you were

03:18:37    8   describing, was that a successful project?

03:18:40    9   A.   I think it was.    It attracted the attention of -- of

03:18:43   10   industry.   Intel Corporation funded that research, and they

03:18:47   11   ended up taking some of the protocol work that we developed

03:18:51   12   for videoconferencing and putting it into a product -- it

03:18:56   13   was called ProShare -- that they -- that they sold.

03:19:02   14   Q.   Looking back after a period of evolution like that in

03:19:07   15   the late 1990s to early 2000s, how do you tell the -- the

03:19:12   16   wheat from the chaff, if you will?

03:19:14   17            MR. HOSIE:     Your Honor, may we approach?

03:19:16   18            THE COURT:     Approach the bench.

03:19:17   19            (Bench conference.)

03:19:25   20            MR. HOSIE:     Not to be overly procedural, Your

03:19:28   21   Honor, but he's moving into opinion testimony, and hasn't

03:19:32   22   tendered the witness as an expert yet.

03:19:35   23            THE COURT:     I was wondering about that.         Is that

03:19:37   24   your intention?

03:19:37   25            MR. BURESH:     I can certainly do it right now if
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03:19:39    1   that would make the Plaintiff more comfortable.

03:19:41    2            MR. HOSIE:     Thank you.

03:19:41    3            THE COURT:     Well, it needs to be done or else

03:19:44    4   Plaintiff's first question on cross is, has the Court

03:19:49    5   recognized you as an expert witness?

03:19:52    6            MR. BURESH:     I agree with that.

03:19:53    7            MR. HOSIE:     Thank you, Your Honor.

03:19:54    8            THE COURT:     Let's proceed.

03:19:56    9            (Bench conference concluded.)

03:19:58   10            THE COURT:     Let's proceed.

03:20:00   11   Q.   (By Mr. Buresh)    And, Dr. Jeffay, we've talked about

03:20:12   12   your education and your experiences.         How -- how does the

03:20:16   13   education you've had and the experiences you've developed

03:20:19   14   inform your testimony here today?

03:20:21   15   A.   Well, I think the training that I've had, doing a

03:20:26   16   dissertation in operating systems and having done research

03:20:31   17   in the field for -- by the time of these patents, I had

03:20:35   18   been an active researcher for over 10 years, having worked

03:20:38   19   with companies, having taught the material to 10 years of

03:20:45   20   students by then, I think that gives me a good perspective

03:20:48   21   on the technology and qualifies me to offer the opinions

03:20:51   22   that I'm going to offer today.

03:20:52   23            MR. BURESH:     Your Honor, I would now tender

03:20:55   24   Dr. Jeffay as an expert in network monitoring technology

03:20:58   25   and networking environments.
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03:20:59    1            THE COURT:     Is there objection?

03:21:00    2            MR. HOSIE:     There is no objection, Your Honor.

03:21:02    3   Thank you.

03:21:02    4            THE COURT:     All right.     Then without objection,

03:21:04    5   the Court will recognize this witness as an expert in those

03:21:07    6   designated fields.

03:21:08    7            Let's continue.

03:21:09    8   Q.   (By Mr. Buresh)    And, Dr. Jeffay, as a developer that

03:21:13    9   was working in the late '90s into the 2000 time frame and

03:21:17   10   working on projects in that time frame, looking back, how

03:21:20   11   do you tell the -- the wheat from the chaff, as far as

03:21:24   12   ideas go?

03:21:25   13   A.   Well, the ideas are still here today.         That's the

03:21:29   14   wheat.   And the ones that fell by the wayside that weren't

03:21:34   15   adopted for one reason or another, that's unfortunately the

03:21:37   16   chaff.

03:21:38   17   Q.   Looking back, can you think of examples in the

03:21:43   18   technology space, I'm not talking about this case, but just

03:21:45   19   in the technology space of people that have made wrong

03:21:48   20   design choices?

03:21:49   21   A.   Oh, sure, sure.    I mean, in -- in the '90s, I had many

03:21:56   22   colleagues in academia who left academia to do start-ups.

03:22:02   23   Everybody -- a lot of people wanted to do start-ups.             And

03:22:05   24   so I had lots of personal friends that were leaving big

03:22:09   25   companies and doing start-ups and, as I say, colleagues at
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03:22:14    1   other universities who were leaving universities to do

03:22:16    2   start-ups.   And they were tremendously smart people.            They

03:22:20    3   had, from my perspective, great ideas, really exciting

03:22:22    4   stuff.   But the vast majority of them didn't make it for,

03:22:27    5   you know, one -- one reason or another.          Their ideas

03:22:30    6   just -- just didn't -- they're great ideas, they just

03:22:33    7   didn't take off.

03:22:34    8   Q.   What about big companies, do big companies sometimes

03:22:38    9   make the wrong choices?

03:22:40   10   A.   Oh, yeah.

03:22:41   11            MR. HOSIE:     Your Honor, may we approach?

03:22:42   12            THE COURT:     Approach the bench.

03:22:43   13            MR. HOSIE:     Thank you.

03:22:44   14            (Bench conference.)

03:22:54   15            MR. HOSIE:     Your Honor.

03:22:54   16            THE COURT:     What's your issue, counsel?

03:22:56   17            MR. HOSIE:     Thank you.     Your Honor, there's

03:22:56   18   nothing in this expert's expert report about wheat versus

03:23:00   19   chaff or who survives and who not or how or why.

03:23:06   20            THE COURT:     So you're objecting that that kind of

03:23:08   21   questioning is outside the scope of his expert report?

03:23:10   22            MR. HOSIE:     Exactly that, Your Honor.

03:23:11   23            THE COURT:     As long as analogies are used to

03:23:15   24   elicit the substance of the report, that's not a problem.

03:23:17   25            If substantively the inquiry goes beyond the scope
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03:23:22    1   of his report, then that's a legitimate objection.             I take

03:23:25    2   it that that's not your objection.

03:23:27    3              MR. HOSIE:    No, but it's -- it's -- I wanted to

03:23:32    4   flag the issue, Your Honor.       He's getting very close.

03:23:34    5              THE COURT:    I'm going to overrule the objection.

03:23:36    6              MR. HOSIE:    Thank you, Your Honor.

03:23:37    7              (Bench conference concluded.)

03:23:37    8              THE COURT:    Let's proceed.

03:23:48    9   Q.   (By Mr. Buresh)     Do you remember the question, or do

03:23:50   10   you want me to ask it again?

03:23:51   11   A.   Please.

03:23:52   12   Q.   Can you think of a larger company who's made a bad

03:23:55   13   choice?

03:23:58   14   A.   I don't think -- large companies aren't here anymore.

03:24:03   15   I hate to say made a bad choice because I understand the

03:24:03   16   choices they made.       They made a choice that didn't work

03:24:07   17   out.

03:24:08   18              The one that most comes to mind was a company that

03:24:10   19   was called Digital Equipment Corporation, which is

03:24:13   20   shortened as DEC.       And throughout the late '70s and

03:24:17   21   certainly into the '80s and the early '90s, they were a

03:24:23   22   huge company.    They were the No. 2 computer company in the

03:24:25   23   country.    And those of us sort of in the research field

03:24:29   24   were thinking and hoping they might become the No. 1

03:24:33   25   company because I used their technology, I bought their
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03:24:36    1   products, and I thought they were great.

03:24:39    2            They made some bad bets.        They didn't really

03:24:43    3   believe in personal computing, which sounds kind of silly,

03:24:47    4   but, you know, it was a different world back then.             And, as

03:24:49    5   I say, the future just wasn't clear.         And this -- this huge

03:24:53    6   company is no longer -- it was the No. 2 computer

03:24:57    7   company -- is no longer with us today.

03:24:58    8   Q.   Do you know whether Digital Equipment had any patents?

03:25:03    9            MR. HOSIE:     Your Honor, may we approach?

03:25:05   10            MR. BURESH:     I'll withdraw the question.         It's

03:25:07   11   fine, Your Honor.

03:25:07   12            THE COURT:     Then having withdrawn the question,

03:25:09   13   let's move on.

03:25:11   14   Q.   (By Mr. Buresh)    Now, all told, you've been a professor

03:25:14   15   in the computer networking area for how long?

03:25:18   16   A.   Operating system -- in the area of operating systems

03:25:21   17   and networking for over 30 years.

03:25:24   18   Q.   In addition to teaching, you -- you obviously do some

03:25:27   19   consulting work; is that fair?

03:25:30   20   A.   I do.

03:25:30   21   Q.   And how often do you do consulting work of -- of this

03:25:33   22   type?

03:25:33   23   A.   Not terribly often.     It's -- I think it officially

03:25:38   24   consumes about 15 to 20 percent of my time on average.

03:25:42   25   Q.   When was the last time you testified in a setting like
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03:25:49    1   this?

03:25:49    2   A.   In a courtroom like this was 2016.

03:25:54    3   Q.   Why don't you do more of this type of work?

03:25:57    4   A.   Well, you know, it's not my -- I'm a full-time

03:26:03    5   academic.    I mean, I -- I enjoy working on these projects.

03:26:07    6   They're certainly financially rewarding, but I have a

03:26:11    7   full-time job, and I love teaching, I love working at the

03:26:14    8   university, and that's what I want to do full-time.

03:26:18    9   Q.   Before working on this case, had you ever worked with

03:26:23   10   NetScout before?

03:26:23   11   A.   No.

03:26:26   12   Q.   How about me or my firm?

03:26:29   13   A.   No.

03:26:29   14   Q.   How about Mr. Gillam or his firm?

03:26:33   15   A.   No, I have not.

03:26:34   16   Q.   Now, in the late 1990s time frame, were you familiar

03:26:43   17   with companies that were working in the operating system

03:26:46   18   space?

03:26:47   19   A.   Yes.   As I say, there -- I had several classmates from

03:26:51   20   graduate school who went and did start-ups, in particular

03:26:55   21   in the operating system space.

03:26:57   22   Q.   Had you ever heard of Mr. Balassanian before this case?

03:27:00   23   A.   No, I -- I don't believe I have.

03:27:03   24   Q.   How about BeComm or Implicit?

03:27:05   25   A.   I'm sorry, how about?
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03:27:07    1   Q.   How about BeComm or Implicit?

03:27:09    2   A.   No, I don't believe I've heard of them.

03:27:12    3   Q.   Were you familiar with products called Portal or

03:27:18    4   Strings?

03:27:18    5   A.   No.

03:27:19    6   Q.   Now, as a consultant, are you paid for your time?

03:27:21    7   A.   Yes, I am.

03:27:22    8   Q.   Including while you're here today?

03:27:24    9   A.   Correct.

03:27:25   10   Q.   Does that fact impact your approach or the analysis you

03:27:30   11   did in this case?

03:27:31   12   A.   No, I -- I believe I am -- I strive to be an

03:27:35   13   independent expert.

03:27:40   14              MR. BURESH:   If we can go to the next slide,

03:27:42   15   please.

03:27:42   16   Q.   (By Mr. Buresh)     And do you understand that in these

03:27:46   17   cases, the analysis you conduct is from the perspective of

03:27:51   18   a person of ordinary skill in the art?

03:27:52   19   A.   I -- I do understand that.

03:27:54   20   Q.   What is a person of ordinary skill in the art?

03:27:57   21   A.   So it's a con -- as I understand it, it's a concept in

03:28:01   22   patent law.     It's the person to whom a patent is directed.

03:28:04   23   It's the audience of a patent.        And on this slide, I've

03:28:09   24   offered my opinion as to the background of a person of

03:28:13   25   ordinary skill in the art for the patents in this case.
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03:28:19    1               So, my opinion, they would have a Master's degree

03:28:19    2   in computer science or a related field, and that they

03:28:22    3   should have some professional experience working in

03:28:25    4   computer networking.

03:28:26    5   Q.   What time frame do you assess the person of ordinary

03:28:30    6   skill in the art?

03:28:30    7   A.   My understanding is that you assess it at the time the

03:28:33    8   invention was made or conceived, and that, in this case,

03:28:37    9   the date that we're working with is 1999.

03:28:40   10   Q.   Were you a person of ordinary skill in the art in 1999?

03:28:42   11   A.   Yes.    I had at least a Master's degree.        I had a Ph.D.

03:28:47   12   for 10 years by this point.       And I have been working for

03:28:51   13   more than two years in the field of computer networking.

03:28:54   14   Q.   And did you perform your analysis that you conducted in

03:28:57   15   this case from that perspective?

03:28:59   16   A.   Yes, from the perspective of a person of ordinary skill

03:29:02   17   in the art.

03:29:02   18   Q.   Could you explain to the jury at a high level the

03:29:08   19   analysis that you undertook in this case?

03:29:10   20   A.   Sure.    So my job was to determine whether or not there

03:29:18   21   was infringement, and I started with a deep study of the

03:29:21   22   patents.     And we've heard about the proceedings that go on

03:29:25   23   back and forth between the inventor and the Patent Office.

03:29:27   24   I was -- it was called the prosecution history.            I studied

03:29:29   25   that.
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03:29:30    1            I read deposition testimony of all of the

03:29:34    2   witnesses, I believe, that have appeared here, as well as

03:29:39    3   some other individuals.      I reviewed a variety of NetScout

03:29:43    4   documents.   And then the primary thing I did was study the

03:29:48    5   source code for the accused products.

03:29:50    6   Q.   And how do you make a determination as to whether a

03:29:54    7   product infringes a patent?

03:29:55    8   A.   Well, we've heard about the claims.         So the claims of a

03:29:59    9   patent are, as I understand it, are what defines the

03:30:04   10   invention and what you're -- the exercise is to take the

03:30:07   11   claims and try and match them up against the products and

03:30:10   12   see if the products have the claims of the patent.

03:30:12   13   Q.   Do you have -- do you have a notebook in front of you?

03:30:21   14   Behind you, I'm sorry.

03:30:30   15   A.   I have notebooks, but I don't think I'm on them.

03:30:33   16   Q.   Give me just one second.

03:30:53   17            MR. BURESH:     May I approach, Your Honor?

03:30:53   18            THE COURT:     You may.

03:30:54   19            THE WITNESS:     Thank you, sir.

03:30:55   20   Q.   (By Mr. Buresh)    You should find a patent -- one of the

03:31:07   21   asserted patents in your notebook.

03:31:08   22   A.   Yes, I have it here.

03:31:09   23   Q.   Can you pull that out and walk the jury through what

03:31:15   24   the patent looks like and the parts of the patent and where

03:31:17   25   they will find the claims?
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03:31:19    1   A.   Sure.   So I think earlier, you were shown the fancy

03:31:23    2   version that they call the ribbon copy.          This is the style

03:31:29    3   document that I typically work with.

03:31:31    4              The front page is -- has some administrative

03:31:33    5   details about the patent and the dates.          There's some

03:31:40    6   references that are on the next couple of pages.

03:31:44    7              And then we come to the figures.        In this case,

03:31:47    8   there are 16 -- 16 different figures.          And then after the

03:31:51    9   figures, you have text in a set of numbered columns,

03:31:59   10   starting with Column 1, and this is -- I think you've heard

03:32:02   11   the term specification.

03:32:03   12              This is the specification.       This is where the

03:32:06   13   inventor describes the problem they're trying to solve and

03:32:08   14   the background, and they describe their invention.

03:32:12   15              And then at the very back -- in this case, this is

03:32:18   16   starting at Column 14, so I'm looking at the patent whose

03:32:21   17   last three numbers end in '683.        There's a tradition,

03:32:26   18   convention of referring to patents by the last three

03:32:30   19   numbers.

03:32:30   20              So in Column 14 of the '683 patent, there are a

03:32:34   21   bunch of numbered paragraphs, essentially.           And those are

03:32:36   22   the claims.    And so each one of them, I understand, is an

03:32:40   23   invention.    And the invention is as described in the claim.

03:32:45   24   Q.   Dr. Jeffay, could you show the jury where the

03:32:50   25   background section of the patent is?
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03:32:51    1   A.   Sure.   I was just there.     So, as I said, the -- the

03:32:58    2   text is called the specification.         And so in Column 1, the

03:33:04    3   first full section is labeled background.           And, as I say,

03:33:07    4   this is typically where the inventor will describe the

03:33:11    5   state of the art at the time they filed their patent and

03:33:14    6   describe the problem that they're trying to solve.

03:33:16    7   Q.   Okay.

03:33:23    8            MR. BURESH:     Mr. Palisoul, can you bring up the

03:33:25    9   '683 patent at Column 1, Lines 54 to 61, please?

03:33:33   10   Q.   (By Mr. Buresh)    Is this a portion of the background

03:33:35   11   section of the '683 patent?

03:33:35   12   A.   Yes, this is from -- near the bottom of Column 1.

03:33:38   13   Q.   And in the expanded portion here, what is being

03:33:44   14   described in the background of this patent?

03:33:45   15   A.   So this is the inventor starting to describe the

03:33:51   16   problem that they see with the -- with the state of the art

03:33:55   17   as it existed at that time.       And what they're specifically

03:33:58   18   saying -- we can read the text here -- is that at that

03:34:03   19   time, a computer could receive data in many different

03:34:06   20   formats, and the format may not be known until the data is

03:34:10   21   received.

03:34:10   22            And then the next sentence is the interesting one.

03:34:13   23   It says that the overhead of statically providing each

03:34:18   24   possible series of conversion routines is -- is very high.

03:34:21   25   So they're sort of identifying the problem that they're
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03:34:23    1   going to be concerned with.

03:34:26    2   Q.   How common was it at the time of the '683 patent in

03:34:30    3   1999 to statically provide each possible series of

03:34:35    4   conversion routines?

03:34:36    5   A.   Well, generally, statically providing function, be it

03:34:43    6   conversion routines or other things, is -- it's the common

03:34:46    7   way programs are written.       It's -- it's sort of -- sort of

03:34:50    8   a default that you -- you think about all the cases you

03:34:52    9   want to handle in your program, and you statically develop

03:34:57   10   the program to handle those cases.

03:34:59   11   Q.   How common is it today to statically provide each

03:35:05   12   possible series of conversion routines?

03:35:05   13   A.   I'm sorry, what was the first part of the question?             I

03:35:07   14   missed it.

03:35:08   15   Q.   How common is it today to provide -- or statically

03:35:12   16   provide each possible series of conversion routines in a

03:35:16   17   system?

03:35:16   18   A.   In -- in my experience, it's -- it's always been the

03:35:19   19   most common way.     It was -- it was common -- there's

03:35:23   20   certainly issues with it, but it's common.           It was common

03:35:26   21   in the late '90s, and it's common today.

03:35:28   22   Q.   With reference to the patent, what was the patent

03:35:31   23   describing as the proposed solution to this problem?

03:35:35   24   A.   Well, the proposed solution is -- is described a little

03:35:39   25   further -- further down.      But the proposed solution was, in
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03:35:44    1   essence, to dynamically determine the conversion routines

03:35:49    2   that you're going to use to process data -- newly arrived

03:35:52    3   data.

03:35:52    4   Q.   What does it mean here that the overhead of the static

03:35:59    5   approach is very high?

03:36:00    6   A.   Overhead is -- is referring to some measure of cost.

03:36:04    7   And, for example, the cost of providing routines for every

03:36:08    8   possible data format is potentially going to be expensive.

03:36:11    9   You've got to write them all.        They have to all be in

03:36:15   10   memory.   So dealing with all possible combinations and

03:36:20   11   probabilities, it can be expensive.

03:36:22   12   Q.   What is a series of routines, Dr. Jeffay?

03:36:25   13   A.   So that's a phrase I'm sure we've heard a lot.            A

03:36:32   14   routine is -- you can think of it as a function.            It's a

03:36:35   15   processing step that a computer is going to do, typically

03:36:38   16   made up of many instructions, dozens of instructions.              And

03:36:38   17   a series of routines is basically you do Step 1, then you

03:36:43   18   do Step 2, then you do Step 3.        And a routine is

03:36:47   19   responsible for doing each one of those steps.            So the

03:36:50   20   sequence of routines is the routines that you're going to

03:36:52   21   execute to solve some problem.

03:36:57   22             MR. BURESH:    If we could pull up the next slide,

03:36:59   23   please.

03:36:59   24   Q.   (By Mr. Buresh)    What are we seeing here, Dr. Jeffay?

03:37:03   25   A.   So this is now the back of the '683 patent, in
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03:37:08    1   Column 14 that I just showed the jury, and what's

03:37:12    2   highlighted here is the text for Claim 1.

03:37:15    3   Q.   Could you walk us through the -- the basic concepts in

03:37:20    4   this claim?

03:37:21    5   A.   Sure.   So we can see that the -- the claim is an

03:37:28    6   apparatus.     So they're claiming a device, and it's a device

03:37:31    7   that's going to include a processing unit, a processor, and

03:37:36    8   then a memory.     And a memory is going to have instructions

03:37:41    9   that are going to do the following three things:            The

03:37:43   10   create the process, the store, and the process.

03:37:45   11            And what I've highlighted here is the first step

03:37:48   12   that the instructions are going to -- that the executing

03:37:52   13   instructions are going to do.        And they're going to

03:37:54   14   create -- based on information in a received packet,

03:37:58   15   they're going to create a path that includes a data

03:38:02   16   structure that indicates a sequence of routines for

03:38:06   17   processing packets.

03:38:07   18   Q.   Okay.   And focusing in on this sequence of routines --

03:38:14   19   strike that.

03:38:15   20            Where do you see in this claim the concept of

03:38:18   21   creating after receiving a packet?

03:38:21   22   A.   So -- so that's not in this language, per se.           That

03:38:26   23   comes from the Court's so-called claim construction.              It's

03:38:31   24   a definition of terms that the Court has provided for us.

03:38:34   25            MR. BURESH:     If we could advance to the next
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03:38:36    1   slide, please.

03:38:37    2   Q.   (By Mr. Buresh)     And just to provide a little context,

03:38:43    3   what does it mean when the Court defines a term of a claim?

03:38:47    4   A.   Well, I can just tell you how I understand it, that

03:38:50    5   there's often disputes about what terms mean.            And so the

03:38:55    6   Court is asked to define a term.        And in this case the

03:38:59    7   Court has defined for us the phrase "sequence of routines,"

03:39:04    8   and they've told us that a sequence of routines means an

03:39:11    9   ordered arrangement of software routines that was not

03:39:15   10   selected from a set of arrangements created before

03:39:17   11   receiving a first packet of a message.

03:39:21   12   Q.   And, Dr. Jeffay, did you apply the Court's construction

03:39:24   13   in your analysis?

03:39:25   14   A.   Yes, I did.

03:39:29   15              MR. BURESH:   If we could go to the next slide,

03:39:32   16   please.

03:39:32   17   Q.   (By Mr. Buresh)     What is depicted here, Dr. Jeffay?

03:39:36   18   A.   So this is a -- a simple diagram to try and illustrate

03:39:39   19   what I think are some of the core concepts of the asserted

03:39:45   20   patents.    And what I'm showing here is a timeline of

03:39:48   21   processing of a packet.      So time goes to the right here.

03:39:52   22              And there's three basic points on this timeline.

03:39:56   23   The first one is that a packet arrives.          So a packet is

03:39:59   24   going to arrive in the system.        And then what's going to

03:40:02   25   happen, according to the claims, is that we do not process
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03:40:06    1   the packet.     We -- so that's why I have a stop sign.          We

03:40:10    2   sort of stop.     And we create this sequence of routines

03:40:14    3   that's going to be used to process the packet.

03:40:17    4            So we stop, we create the sequence of routines,

03:40:20    5   and then we go ahead and process the packet using the

03:40:23    6   sequence of routines that we just created.

03:40:26    7   Q.   Do you recall the Lego animation from the opening

03:40:31    8   statement and Dr. Almeroth's testimony?

03:40:32    9   A.   I do.

03:40:32   10   Q.   How does that align with this timeline you've depicted

03:40:37   11   here?

03:40:37   12   A.   I think it aligns well.      I thought that was a good --

03:40:41   13   good animation.     As I recall, they showed some bricks, a

03:40:45   14   particular stack, different colors, coming in, stopping,

03:40:48   15   and then while they stopped, they rummaged around in the

03:40:51   16   bucket full of Lego pieces to find Lego pieces that matched

03:40:58   17   the colors on their bricks.       And then they snapped them

03:40:58   18   together.

03:41:01   19            So then that was -- they have their sequence of

03:41:03   20   routines.     And then the packet continued.        And then it was

03:41:05   21   processed by that particular matching stack of Lego bricks.

03:41:09   22            So I think it was a -- a -- it was a good way to

03:41:12   23   represent essentially what I'm trying to represent here.

03:41:15   24   Q.   In the patent, when is the sequence of routines created

03:41:18   25   in relation to when the packet is received?
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03:41:19    1   A.   So -- so this is the important part is that in the

03:41:23    2   patent, the sequence of routines is created after the

03:41:28    3   packet arrives and before the packet is processed.

03:41:32    4   Q.   When does the processing of the packet occur in

03:41:35    5   relation to when the path is created?

03:41:37    6   A.   So the purpose of creating the path is to have a

03:41:42    7   sequence of routines to process the packet.           So you can't

03:41:45    8   process the packet until you have the sequence of routines.

03:41:48    9              So processing of the packet will occur after

03:41:53   10   you've created the sequence of routines.

03:41:54   11   Q.   In the patents, where does the concept of flexibility

03:42:00   12   come in?

03:42:00   13   A.   It's described in the specification because the idea is

03:42:09   14   that you have a set of conversion routines to process, and

03:42:14   15   you can look at a packet and dynamically figure out which

03:42:17   16   routines you need to use to process that packet so you can

03:42:22   17   dynamically go in your Lego bucket and find the right

03:42:25   18   pieces you need and snap them together and make a sequence

03:42:29   19   of routines to process that packet.         So that's -- that's

03:42:32   20   the flexibility.    You didn't have to have those Lego pieces

03:42:35   21   pre-snapped together before the packet arrived.

03:42:38   22   Q.   Now, did you put together a demonstrative that

03:42:44   23   illustrates how Mr. Balassanian's patents describe the

03:42:50   24   operation of a dynamic system?

03:42:51   25   A.   I did.
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03:42:52    1             MR. BURESH:    And, Mr. Palisoul, can you first pull

03:42:55    2   up Figure 3 of the '683 patent?

03:42:57    3   Q.   (By Mr. Buresh)    Can you describe that process starting

03:43:01    4   with this Figure 3?

03:43:02    5   A.   Sure.    So this is Figure 3 from the patent, and

03:43:06    6   remember that Claim 1 of the '683 patent talked about an

03:43:11    7   apparatus that had a processor and memory.           So this is

03:43:15    8   showing the memory of the invention.         And it shows a lot of

03:43:18    9   components in a memory.

03:43:19   10             And one of the ones that I want to highlight here

03:43:23   11   is the one that's outlined in red.         And that's my

03:43:25   12   outlining.      The patent didn't outline that.

03:43:27   13             And so what it is showing is that you have a bunch

03:43:30   14   of conversion routines in the memory.          So these are

03:43:36   15   effectively the Lego -- the Lego bricks.          So you have a

03:43:39   16   collection of these Lego bricks sitting in memory waiting

03:43:41   17   to be used.

03:43:42   18   Q.   And what might that look like inside this conversion

03:43:46   19   routine box?

03:43:46   20             MR. BURESH:    If we can advance the slide.

03:43:49   21   A.   So this is my depiction of what's described in the

03:43:51   22   patent.      But the idea is that you would have routines for a

03:43:57   23   variety of protocols, and all these protocols here that I'm

03:43:59   24   illustrating, these are just totally made-up protocols.

03:44:03   25   There's no such thing called a GG or a PP protocol.
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03:44:03    1              But the idea is that you would have one or more

03:44:11    2   conversion routines to help you process a packet, and each

03:44:11    3   conversion routine takes a particular type of input and

03:44:14    4   generates a particular type of output.          And so I sort of

03:44:17    5   color-coded the inputs, which are on the left of each box,

03:44:22    6   and the outputs which are on the right.          And you sort of

03:44:25    7   try and hook up compatible inputs to compatible outputs,

03:44:31    8   meaning, in this case, they would be compatible colors.

03:44:33    9              So these are -- these are the Lego bricks, and you

03:44:36   10   will -- will search around in here when a packet arrives --

03:44:39   11   will search around in here to find a first routine and a

03:44:43   12   second routine, and then we'll --

03:44:45   13   Q.   Can I stop you there, Dr. Jeffay?

03:44:47   14   A.   Oh, sure, sorry.

03:44:48   15   Q.   Where in here is the processing path?

03:44:50   16   A.   The processing path doesn't exist.         So -- so, as I say,

03:44:53   17   this is the bucket full of Lego bricks.          Just -- these are

03:44:58   18   the building blocks, you know, that are sitting there

03:45:00   19   waiting to be used.

03:45:01   20   Q.   Okay.

03:45:02   21              MR. BURESH:   And Mr. Palisoul, if we could pull up

03:45:04   22   the next demonstrative.

03:45:05   23   Q.   (By Mr. Buresh)     What happens now when a packet is

03:45:08   24   actually received in this -- the system described in the

03:45:11   25   patents?
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03:45:11    1   A.    So the patent describes -- describes the invention as

03:45:16    2   running on end systems, so systems that generate and send

03:45:20    3   and receive packets.

03:45:21    4               And in this case, when a system, the one on the

03:45:24    5   right, receives a packet, what the patent describes is that

03:45:28    6   you'll -- you'll search through the conversion routines to

03:45:33    7   try and identify conversion routines to process the packet

03:45:36    8   according, for example, to the protocols in there.

03:45:38    9               So this is the process of digging around in the

03:45:40   10   Lego bucket to find the right color of bricks.            So we found

03:45:45   11   the first routine for protocol PP, we search some more, we

03:45:49   12   find another conversion routine that is relevant to our

03:45:53   13   packet.     And, in this case, I'm just going to show that

03:45:55   14   there are four conversion routines that are going to be

03:45:58   15   necessary to process the packet.        So we've identified four

03:46:01   16   routines.

03:46:01   17   Q.    And when is this processing happening?

03:46:04   18   A.    So this is after the first -- after the first packet of

03:46:07   19   a message arrives.

03:46:08   20   Q.    Do we have our path at this point?

03:46:10   21   A.    No.   So we can't process the packet at this point

03:46:13   22   because we don't have the sequence of routines to process

03:46:16   23   it.

03:46:16   24   Q.    So what happens next?

03:46:17   25   A.    So now we're going to glue them together.
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03:46:22    1               Mr. Balassanian described this as sort of a --

03:46:24    2   building an assembly line, which I thought was a good

03:46:27    3   example, and so this is sort of the assembly line.             And we

03:46:29    4   are connecting the components of the assembly line

03:46:32    5   together, in this case using these yellow lines.            And you

03:46:35    6   kind of see that -- notice that the colors of the left side

03:46:39    7   of the box match up with the colors of the right side of

03:46:42    8   the box, indicating that these are compatible connections.

03:46:48    9   Q.   At what point then do you have the path?

03:46:48   10   A.   So at this point, we have our sequence of routines, and

03:46:51   11   we encode this in a data structure, and that would be our

03:46:55   12   path.

03:46:56   13   Q.   Is this result that you've depicted here consistent to

03:47:01   14   what is depicted in the patents?

03:47:03   15   A.   Yes.    I just made a -- sort of a more fulsome version

03:47:08   16   of the figure that's in the patent.

03:47:09   17               So Figure 2, I was essentially illustrating what's

03:47:12   18   Figure 2, just doing it in a little more colorful --

03:47:17   19   colorful way.     Figure 2 shows the lines being conversion

03:47:21   20   routines and them being connected together in a path.

03:47:23   21   Q.   And what is happening to the packet while this

03:47:27   22   processing is going on?

03:47:28   23   A.   Effectively, it's just sitting there waiting to be

03:47:31   24   processed.     We can't process it yet because we don't have

03:47:35   25   the sequence of routines to process it.
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03:47:37    1   Q.   Now, are there more detailed steps for how the sequence

03:47:45    2   of routines are created than what you've just described?

03:47:49    3   A.   Oh, yes, there's many more steps.

03:47:52    4   Q.   Can you give the jury just a sense -- and I don't want

03:47:55    5   you to spend a ton of time on this -- but a sense of the

03:48:00    6   process that's actually described in Mr. Balassanian's

03:48:02    7   patents?

03:48:02    8   A.   Sure.   So, as I mentioned, there are 16 pages of

03:48:06    9   figures.     And the bulk of them describe this process of

03:48:10   10   searching for routines, finding the right routines, and

03:48:14   11   connecting them together.       And it's done through a variety

03:48:16   12   of flowcharts.

03:48:18   13              So here's Figure 1.     And if we start at the very

03:48:22   14   top, there's a box labeled 101 that's called driver.             This

03:48:27   15   is described in the patent as representing the receipt of

03:48:30   16   the packet.     It's a network driver, receives the packet.

03:48:35   17              If we could just go back to Figure 1.

03:48:36   18              And then the next -- so we're sort of here.           This

03:48:43   19   is receiving the packet.      And then these remaining boxes

03:48:46   20   here are going to be all involved in the process of trying

03:48:49   21   to understand the protocols, the formats of the arriving

03:48:54   22   packet, and the conversion routines that we're going to

03:48:57   23   need to use to process this packet.

03:49:00   24              So we go off and we find the conversion routines,

03:49:03   25   and then we stick them together.        And that's effectively
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03:49:06    1   what's described through a number of flowcharts.

03:49:11    2            So there was a message send box on the previous

03:49:15    3   slide.   This message send here, and that's described in

03:49:18    4   Figure 7.

03:49:20    5            So here's a set of steps, a flow chart.            It turns

03:49:23    6   out that it doesn't fit on one page, so this connects here.

03:49:28    7   So this little bit of a flowchart sticks on over here.                And

03:49:30    8   this flowchart sticks here.       So it's kind of a big process.

03:49:35    9            And these are the steps in the message send box.

03:49:39   10   Then you have the demux and the label map and our

03:49:43   11   flowcharts describing this.

03:49:45   12            This is the flowchart for the demux, which stands

03:49:48   13   for demultiplex, which is what you do when you receive

03:49:50   14   something.   And it goes through a number of steps, and I

03:49:55   15   won't go in detail --

03:49:55   16   Q.   Slow down just a little bit.

03:49:57   17   A.   Sorry, I'm going too fast.

03:49:59   18   Q.   Thank you.

03:49:59   19   A.   Apologies.

03:50:00   20            Some of the boxes here themselves blow up into

03:50:07   21   additional flowcharts.      So this is the -- the get next

03:50:14   22   binding flowchart that patches into the previous one.

03:50:18   23            And then if we can go forward, this is -- so we

03:50:22   24   were going to look at the get key, the get session, and

03:50:25   25   then the nail binding.
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03:50:27    1            And if we can go to Figure 12 through 14, these

03:50:31    2   are the flowcharts to get the key, get the session.             And

03:50:34    3   nail the bind -- nail the binding means you're sort of

03:50:40    4   snapping the pieces together.

03:50:41    5            So this is -- this is what the patent shows about

03:50:43    6   the process of creating and -- creating the path.

03:50:48    7   Q.   How complicated is the process of creating the path as

03:50:51    8   described in the asserted patents?

03:50:52    9   A.   Well, it's hard to characterize in the abstract.            The

03:50:56   10   point is, it's a process.       I mean, there's lots of steps

03:50:59   11   that spread out over five, six pages of flowcharts.

03:51:03   12   Q.   Do all those steps take time?

03:51:05   13   A.   Yes, every step will take some time to -- to execute.

03:51:10   14   Q.   What is happening to the packet and the packets behind

03:51:16   15   it while that processing is occurring?

03:51:18   16   A.   Nothing can happen because, again, you can't process a

03:51:22   17   packet until you've built this path, this sequence of

03:51:25   18   routines.   So while you're building the sequence of

03:51:28   19   routines, everything is going to be on hold.

03:51:30   20   Q.   If you had a system that was processing 8 million

03:51:33   21   packets per second or 80 million packets per second, would

03:51:37   22   you have time to do the work that's required to create this

03:51:43   23   path that we've just walked through?

03:51:44   24   A.   Well, it's hard to answer in the absolute because it

03:51:48   25   depends on how fulsome you want to do this.
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03:51:51    1              But I think the essential point is, if you're in

03:51:56    2   the 80 -- 8 million packets or 80 million packets per

03:51:59    3   second world, you've got frightfully little time between

03:52:02    4   packets.    You have to patent -- the coin of the realm is

03:52:05    5   you process the packet before the next -- for monitoring

03:52:08    6   systems, you process the packet before you see the next

03:52:11    7   packet.    You just have to do that.

03:52:14    8              And if you're going at a hundred gigabits or 400

03:52:17    9   gigabits -- and these speeds are incredible.           You're

03:52:17   10   literally in the billionths of a second range.            So you

03:52:22   11   really do not have much time to do much of anything.               And

03:52:23   12   you're not going to want to be doing dynamic creation of

03:52:27   13   paths when you're processing network packets at that speed.

03:52:31   14   Q.   So what was your impression of the process described in

03:52:35   15   Mr. Balassanian's patents?

03:52:37   16   A.   I understood the process, and I can understood -- I

03:52:41   17   understood, I think, where he was coming from in 1999 and

03:52:45   18   for the types of end system devices that were described in

03:52:49   19   the patent.    I mean, it made sense as a good -- good thing

03:52:51   20   to do.

03:52:52   21              But that's just not the world that we're in today,

03:52:55   22   and that's not the world where the accused products live.

03:53:02   23              MR. BURESH:   If you can go to the next slide,

03:53:05   24   please?

03:53:05   25   Q.   (By Mr. Buresh)     Dr. Jeffay, how do you design or build
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03:53:08    1   a traditional static packet processing system?

03:53:12    2   A.   So we've heard testimony about this, and I can confirm

03:53:16    3   that what you've heard exactly fits with my understanding.

03:53:21    4            When we built our packet processing systems at

03:53:26    5   UNC, we start with the specification of the protocol that

03:53:28    6   tells us where -- how you find things that you're

03:53:31    7   interested in the packet, so you analyze the spec, and you

03:53:34    8   write routines to process the portions of the packet that

03:53:38    9   you're interested in.

03:53:39   10            So what's shown here on this demonstrative is an

03:53:42   11   example of an ethernet packet that ultimately contains some

03:53:46   12   HTTP data, and if we were going to write software to

03:53:51   13   process this statically, we'd look at the specification for

03:53:55   14   HTTP and TCP and IP and ethernet.         And we'd probably build

03:54:01   15   modules, a module to deal with the ethernet, the first bit;

03:54:05   16   and then a module to deal with IP, the second bit; and then

03:54:10   17   a module to deal with TCP; and then finally a module to

03:54:14   18   deal with HTTP.    So you statically write this code, build

03:54:17   19   these modules, and then you would connect them together at

03:54:21   20   the time that you write the code.

03:54:22   21            And so --

03:54:23   22   Q.   And how do you connect them together in this particular

03:54:25   23   order?

03:54:25   24   A.   So it gets a little technical, but this is traditional

03:54:28   25   programming, and programming is all about hooking pieces of
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03:54:31    1   code together.     So you've seen examples here of this, you

03:54:35    2   know, if/then/else statements and case and switch

03:54:39    3   statements.     But there's programming language statements

03:54:41    4   you use to connect these things together, and you get

03:54:43    5   this -- this hard-wired or, you know, welded together set

03:54:48    6   of pipes.

03:54:48    7   Q.   Can you describe whether in a static system it's

03:54:53    8   possible to change the order?

03:54:54    9   A.   You can change the order.      You just have to reprogram

03:54:58   10   the system manually.     I mean, the programmer who wrote the

03:55:01   11   system originally has to go back, and, you know -- so think

03:55:05   12   of these as literally pieces of PVC pipe that are bonded

03:55:09   13   together.     You have to go in and cut the bonds and stick in

03:55:13   14   a new piece of pipe and reconnect it.

03:55:15   15            And so a programmer -- in a static system, a

03:55:18   16   programmer has to go and write the code and connect it in

03:55:22   17   wherever they want in this path.

03:55:24   18            MR. BURESH:     If you could advance the slide.

03:55:30   19   Q.   (By Mr. Buresh)    Now, depicted on the lower left-hand

03:55:32   20   is a different packet, correct?

03:55:34   21   A.   Correct.

03:55:35   22   Q.   And what would have to be done if you wanted your

03:55:39   23   system to be able to process this type of packet in a

03:55:42   24   static system?

03:55:43   25   A.   So in the static world, we just follow the same process
     Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 113 of 180 PageID #:
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03:55:46    1   again.      So this is an ethernet packet containing what's

03:55:50    2   called SMTP data.      The M in -- in SMTP stands for mail, so

03:55:57    3   this is -- this is a protocol that's used to deliver --

03:55:59    4   deliver your email.

03:56:00    5               So you analyze this packet, and you say, well,

03:56:02    6   it's got ethernet, so I need to process ethernet.             But the

03:56:04    7   good news is I have ethernet.        I need to process IP, but

03:56:09    8   the good news is I have IP.       I need to process TCP.        I have

03:56:13    9   TCP.

03:56:13   10               So all -- in this case, all I have to do is write

03:56:17   11   a new module to do SMTP processing and then connect it in

03:56:21   12   to the TCP module.

03:56:23   13   Q.   And how do you connect it into the SMTP module?

03:56:28   14   A.   Again, you do standard programming techniques.            You

03:56:33   15   have a function, and you will have something that

03:56:34   16   ultimately leads to a function call.

03:56:36   17   Q.   Now, is this order 1, 2, 3, 4, is that fixed in a

03:56:40   18   static system?

03:56:41   19   A.   Yes.    For processing ethernet packets containing SMTP

03:56:46   20   data, they will -- in this static system, they will always

03:56:50   21   be processed in this order:       Ethernet, then IP, then TCP,

03:56:56   22   then SMTP.

03:56:57   23               MR. BURESH:   If you can advance the slide, please.

03:57:02   24   Q.   (By Mr. Buresh)      Depicted on the lower left is a third

03:57:05   25   type of packet.      Do you see that?
     Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 114 of 180 PageID #:
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03:57:07    1   A.   I do.

03:57:07    2   Q.   And, again, one more time, what would you -- what would

03:57:10    3   a developer do in a static system if they wanted to process

03:57:13    4   this type of packet?

03:57:14    5   A.   Okay.   We run through the process again.         We analyze

03:57:17    6   the protocols.     This is an ethernet packet containing

03:57:20    7   what's called RTP.     RTP is a protocol used to transmit

03:57:20    8   voice and video.

03:57:25    9            We recognize that we have ethernet.           And we have

03:57:27   10   an ethernet module.     We have IP.     We have an IP module.         We

03:57:31   11   have a new Layer 4, L4 header.        UDP, we don't have one of

03:57:37   12   those, so we're going to have to write a module for UDP.

03:57:40   13   And then we're going to have to write a module for RTP.

03:57:44   14            And, ultimately, the UDP is going to get hooked in

03:57:48   15   to IP, and then UDP will get hooked into RTP.            And so now

03:57:52   16   we have another path, another -- another set of pipes in

03:57:55   17   our -- in our plumbing here.

03:58:05   18            MR. BURESH:     If we could bring up the next slide.

03:58:07   19   Q.   (By Mr. Buresh)    Now, I'd like to put the -- the

03:58:13   20   system, take it out of the development context and put it

03:58:15   21   into a network, all right?

03:58:17   22   A.   Okay.

03:58:19   23   Q.   In a static system, what will happen when a packet like

03:58:24   24   the one depicted here is received into the system?

03:58:27   25   A.   So for this processing system, if it receives this
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03:58:31    1   packet, this would be an ethernet packet containing HTTP

03:58:34    2   data.   You simply start processing the packet, going from

03:58:41    3   the left to the right, processing ethernet, then IP, then

03:58:44    4   TCP, and then HTTP.

03:58:50    5            And in this case, we specifically have plumbing to

03:58:50    6   deal with this.    We specifically have a path, so it would

03:58:52    7   follow the path that's illustrated in green.

03:58:56    8   Q.   What degree of variability is there in any -- in a

03:59:01    9   static system for processing a packet of this type?

03:59:03   10   A.   Zero.   The downside of static is that it's -- if you

03:59:09   11   need to make changes, you have to re-program it.            You

03:59:13   12   have -- a programmer has to go back, write new code, link

03:59:16   13   in the code, and then ship it back out again.

03:59:20   14   Q.   How does the -- the fact that this path is being used

03:59:27   15   to process this packet and not the other paths, how does

03:59:31   16   that relate to path creation?

03:59:35   17   A.   It doesn't really.    I mean, all these paths -- so here

03:59:39   18   is a static system that has paths that are sufficient for

03:59:42   19   processing three types of data, web data, email data --

03:59:47   20   sorry, web -- ethernet packets with web data, ethernet

03:59:51   21   packets with email, and ethernet packets with video.              So it

03:59:57   22   has three static paths.      And the fact that we're using the

03:59:57   23   one right now for HTTP, the other paths are still there,

04:00:00   24   we're just not using them for this particular packet.

04:00:03   25   Q.   When were these paths created in a static system?
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04:00:07    1   A.   They're all created at the time the system was designed

04:00:09    2   and coded.

04:00:15    3               MR. BURESH:   If we could go to the next

04:00:17    4   demonstrative, please.

04:00:19    5   Q.   (By Mr. Buresh)      Do you recall from the opening

04:00:22    6   demonstrative that Mr. Hosie used and the same Lego

04:00:26    7   demonstrative that Dr. Almeroth used, they had a static

04:00:31    8   system depicted, as well?       Do you recall that?

04:00:33    9   A.   I do.

04:00:33   10   Q.   And in that system, the paths were already there,

04:00:37   11   right?

04:00:37   12   A.   Correct.

04:00:37   13   Q.   Do you recall a yellow/black, yellow/black packet that

04:00:46   14   came in to their system?

04:00:47   15   A.   Yes.    Late, late in their animation, yes.

04:00:50   16   Q.   And then a question mark appeared?

04:00:52   17   A.   Yes.

04:00:52   18   Q.   What happens in a static system when a packet arrives

04:00:56   19   that you don't already have a path created for?

04:00:59   20   A.   So if you don't have the plumbing, you can't process

04:01:02   21   that -- that packet.       And you can only process packets for

04:01:11   22   which you have patents.

04:01:13   23   Q.   And, Dr. Jeffay, depicted on Slide 23 here, we have a

04:01:14   24   packet that has ethernet, IP, TCP, and RTP data.            Do you

04:01:19   25   see that?
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04:01:19    1   A.   I do.

04:01:20    2   Q.   Is there plumbing to process this packet in the example

04:01:24    3   static system you have depicted here?

04:01:26    4   A.   Well, this one is interesting because from a module

04:01:29    5   standpoint or from a routine standpoint, we have all the

04:01:33    6   routines.      We have an ethernet routine.      We have an IP

04:01:36    7   routine.      We have a TCP routine.    And we have an RTP

04:01:40    8   routine.      So it looks like we're good.      We should be able

04:01:42    9   to process this.

04:01:43   10              But, although we have all the routines, we don't

04:01:46   11   have them in the right order, and we don't have them

04:01:49   12   connected together.      There's no connection from the TCP

04:01:51   13   module to the RTP module, so even though we have -- in

04:01:59   14   theory we have the code, we can't process this.

04:02:01   15              THE COURT:   Let me interrupt at this point.

04:02:03   16              Ladies and gentlemen, we're going to take a short

04:02:05   17   recess.

04:02:06   18              If you will simply leave your notebooks in your

04:02:08   19   chairs.      Follow all the instructions I've given you.         Use

04:02:11   20   this opportunity to stretch your legs and get a drink of

04:02:13   21   water, and we'll be back in here shortly to continue.

04:02:17   22              Of course, you'd expect me to remind you not to

04:02:19   23   discuss the case among each other.

04:02:21   24              With that, the jury is excused for recess.

04:02:27   25              COURT SECURITY OFFICER:      All rise.
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04:02:46    1           (Jury out.)

04:02:52    2           THE COURT:     Dr. Jeffay, I want you to slow down as

04:02:55    3   you testify.

04:02:56    4           THE WITNESS:      Thank you, Your Honor.

04:02:56    5           THE COURT:     You are -- you are very fast, and this

04:03:00    6   late in the day, without you slowing down, there's a good

04:03:04    7   chance much of what you say will not register with the jury

04:03:07    8   or the Court.   And without that happening, you're really

04:03:14    9   wasting your time and our time.        So I'm going to expect to

04:03:17   10   you slow down, okay?

04:03:18   11           THE WITNESS:      I appreciate that, Your Honor.          I

04:03:21   12   will do my best.

04:03:22   13           THE COURT:     We stand in recess.

04:17:39   14           (Recess.)

04:17:41   15           (Jury out.)

04:17:43   16           COURT SECURITY OFFICER:         All rise.

04:17:44   17           THE COURT:     Be seated, please.

04:17:44   18           Mr. Buresh, are you prepared to continue with your

04:17:54   19   direct examination?

04:17:54   20           MR. BURESH:      I am, Your Honor.

04:17:55   21           THE COURT:     If you'll return to the podium.

04:17:57   22           While he's doing that, if you will bring in the

04:18:00   23   jury, please.

04:18:01   24           COURT SECURITY OFFICER:         All rise.

04:18:20   25           (Jury in.)
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04:18:22    1            THE COURT:    Please be seated.

04:18:29    2            All right.    Counsel, you may continue with your

04:18:34    3   direct examination.

04:18:36    4            MR. BURESH:     Thank you, Your Honor.

04:18:37    5   Q.   (By Mr. Buresh)    In the static system we were talking

04:18:44    6   about before the break, do you recall that, Dr. Jeffay?

04:18:49    7   A.   I do.

04:18:49    8   Q.   There's processing paths for three types of packets,

04:18:53    9   right?

04:18:53   10   A.   In this example, yes.

04:18:55   11   Q.   Now, what if you wanted to have a static system that

04:18:58   12   could process, let's just say, a thousand different

04:19:02   13   protocols, what would you have to do?

04:19:03   14   A.   You would just extend the plumbing diagram to add in a

04:19:12   15   thousand different paths.       You would explicitly program in

04:19:17   16   the other thousand paths.

04:19:19   17   Q.   Why would a packet inspection system developer want to

04:19:26   18   do it that way?

04:19:27   19   A.   Speed -- hundred percent speed.

04:19:29   20   Q.   What type of products are the NetScout products that

04:19:37   21   are at issue in this case?

04:19:38   22   A.   There are all types of -- the three products are all

04:19:44   23   instances of network monitoring devices for slightly

04:19:48   24   different purposes.

04:19:52   25   Q.   Now, how did you gain your understanding of the
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04:19:55    1   NetScout products?

04:19:57    2   A.   As I think I said, I -- I looked at a variety of

04:20:01    3   NetScout documents.      I read the deposition transcripts of

04:20:07    4   the witnesses who were deposed who were knowledgeable about

04:20:09    5   the products, and then I studied the source code for the

04:20:13    6   products.

04:20:15    7   Q.   Why is it important to study the source code?

04:20:18    8   A.   The source code tells you exactly how the system

04:20:23    9   operates.     It's -- it's the equivalent of a wiring diagram

04:20:27   10   or -- or the schematics.      If you're trying to repair some

04:20:30   11   appliance, it tells you exactly how -- how it's put

04:20:34   12   together and how it operates.

04:20:36   13   Q.   And how do the NetScout products -- let me start that

04:20:42   14   over.

04:20:43   15               Did you review the source code for each of the

04:20:45   16   NetScout products at issue in this case?

04:20:46   17   A.   Yes.

04:20:48   18   Q.   And how do the NetScout products operate with respect

04:20:51   19   to creating a processing path?

04:20:54   20   A.   Well, they don't.    They don't create processing paths.

04:21:01   21   The -- based on my analysis of the code, they're

04:21:04   22   constructed using very traditional conventional programming

04:21:07   23   practices where you create the programming routines when

04:21:13   24   you design the product, and you arrange them however you

04:21:16   25   want to arrange them to perform whatever function you need,
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04:21:20    1   and they're connected together.        And that's all done at the

04:21:23    2   time the product is -- is designed.

04:21:26    3   Q.   How do you know that the processing paths in the

04:21:29    4   NetScout products are all created at the time the system is

04:21:33    5   designed or built?

04:21:35    6   A.   I mean, it's -- it's evidence in the code.           I mean,

04:21:39    7   you've seen the routines, you see how they're called, and

04:21:43    8   there's no code in the NetScout products to do any dynamic

04:21:49    9   creation of -- of processing paths.

04:21:52   10               MR. BURESH:   Okay.   If we could move to the next

04:21:55   11   slide, please.

04:21:56   12   Q.   (By Mr. Buresh)      Does this slide depict an example of

04:22:01   13   InfiniStream processing paths?

04:22:04   14   A.   Yes.    This is simplified -- very simplified version for

04:22:07   15   a couple -- a couple of processing paths within the

04:22:11   16   InfiniStream product.

04:22:13   17   Q.   And how are the paths connected together or created --

04:22:19   18   let me start over.

04:22:20   19               How are the paths connected together as depicted

04:22:24   20   here in the InfiniStream?

04:22:25   21   A.   They're connected together using, as I say,

04:22:29   22   conventional programming practices.         They are programming

04:22:35   23   languages, statements that are used to go from one

04:22:36   24   module -- in this case, they're all called parsers -- to go

04:22:39   25   from one parser to another parser.
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04:22:41    1            And we've already seen examples of these things,

04:22:43    2   like these function calls and the case statements and the

04:22:48    3   if/then statements.

04:22:51    4   Q.   As an example, would you be able to show me in the

04:22:55    5   InfiniStream source code where the TCP parser is connected

04:22:57    6   to the HTTP parser?

04:22:58    7   A.   Sure.

04:23:05    8            MR. BURESH:     Mr. Palisoul, can you go to split

04:23:07    9   screen and show DX-453 at 551?

04:23:14   10   Q.   (By Mr. Buresh)    What is the jury seeing here?

04:23:15   11   A.   So this is code that I believe was presented to the

04:23:18   12   jury previously.    It's a -- it's a snippet of code from a

04:23:24   13   file where about 300 -- almost 400 lines into this file.

04:23:28   14            And this is what's called a switch or a case

04:23:31   15   statement where it's -- it's essentially enumerating the

04:23:36   16   junctions in the plumbing back here.         And this is a

04:23:41   17   particular case where you're going from TCP parsing to HTTP

04:23:49   18   parsing, and the first highlight shows that for the

04:23:52   19   particular case of an application flow-type HTTP/TCP,

04:23:58   20   you're going to use an -- a parser function that's called

04:24:01   21   the URL parser, URL being a -- an HTTP concept.

04:24:05   22   Q.   Are these instructions?

04:24:07   23   A.   Yes, these are instructions.

04:24:08   24   Q.   And what does the InfiniStream do when it receives, for

04:24:13   25   example, a packet that has both TCP and HTTP headers?
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04:24:17    1   A.   This code will be executed.

04:24:19    2   Q.   Every time?

04:24:21    3   A.   Yes.

04:24:22    4   Q.   How much variability is there in the paths in the

04:24:28    5   InfiniStream?

04:24:29    6   A.   Zero.    I mean, the paths are what the paths are, and

04:24:32    7   they're created when the product is designed, and that's

04:24:36    8   all the product can do.

04:24:37    9   Q.   And these instructions that we are seeing here to

04:24:42   10   connect the TCP parser to the HTTP parser, are there

04:24:46   11   similar instructions for all of the connections in the

04:24:50   12   paths in the InfiniStream?

04:24:51   13   A.   So I think you just had that a little bit reversed.

04:24:54   14   But, yes, there are similar functions for all -- similar

04:24:56   15   code to this at all of the junction points in the full

04:25:01   16   version of the plumbing diagram.

04:25:03   17   Q.   Are the paths in the InfiniStream hard-coded?

04:25:06   18   A.   Yes.

04:25:15   19               MR. BURESH:   If we can go to the next

04:25:15   20   demonstrative, please?

04:25:15   21   Q.   (By Mr. Buresh)      What is this depicting, Dr. Jeffay?

04:25:18   22   A.   So this is more interesting looking plumbing, but this

04:25:22   23   is a simplified version of the processing paths that are

04:25:27   24   part of the GeoProbe product.

04:25:32   25   Q.   Did you hear Mr. Curtin's testimony earlier today?
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04:25:35    1   A.   I did.

04:25:36    2   Q.   Was your review of the software in the GeoProbe

04:25:41    3   products consistent with the testimony you heard?

04:25:43    4   A.   Yes.

04:25:44    5   Q.   Where are the processing paths in the GeoProbe created?

04:25:49    6   A.   As we heard from Mr. Curtin, they're created when the

04:25:54    7   software is developed by -- initially developed by

04:25:58    8   NetScout.

04:25:58    9   Q.   How much variability is there in the processing paths

04:26:02   10   that will be utilized to process packets in the GeoProbe

04:26:06   11   software?

04:26:06   12   A.   There's none, and this is the downside of the static

04:26:11   13   processing approach.     You can only process according to the

04:26:17   14   paths that you have.

04:26:18   15   Q.   In the GeoProbe, are there connections between the

04:26:22   16   modules?

04:26:23   17   A.   Yes.

04:26:24   18   Q.   Are those programs similar to the example we saw from

04:26:27   19   the InfiniStream a moment ago?

04:26:28   20   A.   Yes, there's examples here where they use the same

04:26:32   21   exact programming construct, this -- this switch and case

04:26:36   22   statement.

04:26:37   23   Q.   Are the connections in the GeoProbe hard-coded?

04:26:40   24   A.   Yes.

04:26:43   25   Q.   Does the GeoProbe product have the ability to change
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04:26:50    1   the order of processing after a packet is received?

04:26:54    2   A.   No, it can -- it can only process according to the

04:26:57    3   fixed paths that were created when the product was

04:27:02    4   designed.

04:27:02    5   Q.   Now, if the GeoProbe receives a packet that is -- it

04:27:07    6   does not have programming to support, an unsupported

04:27:11    7   protocol, what happens to that packet?

04:27:13    8   A.   Well, essentially, they have the ability to -- to

04:27:18    9   recognize it as an unknown packet, and it will be processed

04:27:22   10   as -- as an unknown packet, which means that it really

04:27:27   11   can't do much processing on.

04:27:31   12   Q.   On the InfiniStream, if the InfiniStream receives a

04:27:34   13   packet that is not supported, doesn't have software to

04:27:38   14   process it, what happens to the -- that packet?

04:27:41   15   A.   It's conceptually the same.       It gets labeled as an

04:27:46   16   unknown packet, and it cannot be processed in much detail.

04:27:50   17              MR. BURESH:   If we can go to the next slide,

04:27:56   18   please.

04:27:56   19   Q.   (By Mr. Buresh)     What are you depicting here,

04:27:58   20   Dr. Jeffay?

04:27:58   21   A.   So -- so this is a slide that we've all seen before,

04:28:01   22   and this is a rendition of the plumbing for the Arbor

04:28:04   23   product.

04:28:05   24   Q.   Did you hear Dr. Dawson's testimony earlier today?

04:28:10   25   A.   I did.
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04:28:10    1   Q.   And did the testimony you heard from him about the

04:28:13    2   Arbor products, was that consistent with what you saw in

04:28:16    3   your review of the Arbor source code?

04:28:19    4   A.   Yes.

04:28:20    5   Q.   When are the processing paths created in the Arbor

04:28:23    6   products?

04:28:26    7   A.   As we -- as we heard from Dr. Dawson and as my review

04:28:30    8   of the code indicates, the paths are static, they're

04:28:33    9   created at the time the software was originally authored.

04:28:39   10   Q.   Now, these connections between routines, like the one

04:28:41   11   I've highlighted here between the IP and TCP module, are

04:28:51   12   those hard-coded?

04:28:52   13   A.   Yes.

04:28:52   14   Q.   And are the instructions to do so similar to what we

04:28:56   15   saw with respect to the InfiniStream?

04:28:58   16   A.   Yes.   I think this example here also relies on the same

04:29:00   17   type of programming language structure, this thing called a

04:29:03   18   switch or a case statement.

04:29:04   19   Q.   Based on your analysis, if the Arbor products receive a

04:29:09   20   packet that is in an unsupported protocol -- or an

04:29:13   21   unsupported protocol, what happens to that packet?

04:29:15   22   A.   They're not -- the Arbor product will not be able to do

04:29:21   23   much processing.    We won't be able, for example, to do any

04:29:24   24   of the applications, specific countermeasures, and that

04:29:28   25   packet is just going to be forwarded to its destination.
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04:29:31    1   Q.   What degree of flexibility or variability is there in

04:29:37    2   the processing paths in the Arbor products after a packet

04:29:40    3   is received?

04:29:42    4   A.   There's none.

04:29:44    5   Q.   From an engineering standpoint, were the NetScout

04:29:50    6   Systems implemented as you would have expected?

04:29:55    7   A.   Yes.    Given that they're monitoring products and given

04:29:58    8   the speeds of networks today, you optimize for speed, and

04:30:03    9   flexibility is great, but flexibility frequently comes at

04:30:10   10   the cost of speed.

04:30:11   11               And, today, the vast majority of protocols are

04:30:14   12   known.      We've -- we've heard that these devices cover

04:30:18   13   thousands of protocols, so it makes sense to program

04:30:22   14   patents or hard-code them in.        And this way at run time

04:30:26   15   when the system is out in the field, it will process

04:30:28   16   packets as fast as it possibly can.

04:30:30   17   Q.   In your view of the source code for these three

04:30:35   18   products, the Arbor, the InfiniStream, and the GeoProbe,

04:30:38   19   did you find any evidence of a processing path being

04:30:41   20   created after receiving a first packet of the message?

04:30:45   21   A.   I did not.

04:30:46   22   Q.   What type of paths does NetScout use?

04:30:52   23   A.   Again, they're static paths.       They're -- they're

04:30:56   24   hard-coded, pre-created, and they all are existing prior to

04:31:01   25   the receipt of any -- of any packet.
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04:31:04    1               MR. BURESH:   Mr. Palisoul, could you bring up

04:31:08    2   Claims 1 and 10 of the '683 patent, Claim 1 of the '790

04:31:14    3   patent, and Claim 1 of the '104 patent on the same screen,

04:31:24    4   please?      Thank you.

04:31:24    5   Q.   (By Mr. Buresh)      Now, Dr. Jeffay, are you familiar with

04:31:27    6   the claim term sequence of routines?

04:31:28    7   A.   I am.

04:31:29    8   Q.   And does that appear in every claim asserted in this

04:31:31    9   case?

04:31:31   10   A.   It does.    For Claim 10 of the '683 patent, the language

04:31:37   11   is a little different.       Instead, a sequence, it's a list,

04:31:42   12   so it's a list of conversion routines.

04:31:44   13   Q.   And were the phrases sequence of routines and list of

04:31:49   14   conversion routines construed by the Court?

04:31:51   15   A.   Yes, they were.

04:31:53   16               MR. BURESH:   If we could bring up the next slide,

04:31:56   17   please.

04:31:56   18   Q.   (By Mr. Buresh)      And are these the claim constructions

04:31:59   19   for those phrases that we just saw in the claims?

04:32:02   20   A.   Yes.

04:32:03   21   Q.   Did you apply the Court's claim constructions in your

04:32:07   22   analysis?

04:32:08   23   A.   I did.

04:32:11   24   Q.   In light of your analysis that you conducted with the

04:32:15   25   InfiniStream, Arbor, and GeoProbe source code, do you have
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04:32:18    1   an opinion as to whether NetScout infringes any of the

04:32:21    2   asserted claims in this case?

04:32:22    3   A.   I do.    And my opinion is that they do not infringe, for

04:32:30    4   at least the reason that they do not contain the sequence

04:32:32    5   of routines or the list of conversion routines that's

04:32:35    6   required by all of the claims because they do not satisfy

04:32:39    7   the Court's definition of those phrases.

04:32:44    8   Q.   Were you here for Dr. Almeroth's testimony?

04:32:47    9   A.   I was.

04:32:49   10   Q.   Did you hear him testify that the NetScout products do

04:32:54   11   infringe?

04:32:54   12   A.   I did.

04:32:55   13   Q.   What do you think of his analysis?

04:32:59   14   A.   Well, obviously, I disagree.       I guess what I would say

04:33:05   15   is it strikes me as he's combining the create -- what he

04:33:12   16   calls the creation of the paths with what is really the

04:33:15   17   processing of the packet.

04:33:18   18               MR. BURESH:   If we could go to the next slide,

04:33:21   19   please.

04:33:21   20   Q.   (By Mr. Buresh)      Is this your timeline of the dynamic

04:33:24   21   system of Mr. Balassanian's patents?

04:33:25   22   A.   Yes.

04:33:27   23   Q.   And where on this timeline is Dr. Almeroth focusing?

04:33:33   24   A.   I believe, given the code that Dr. Almeroth has

04:33:37   25   referenced, what he's really referring to is the actual
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04:33:40    1   processing of the packet.       He's -- he's pointing to

04:33:43    2   activities that are occurring while the packet is actually

04:33:46    3   being processed.    So he's -- he's -- he's over here.

04:33:56    4   Q.   And in -- in comparison to this dynamic system, what

04:34:01    5   would a timeline look like in NetScout's system?

04:34:06    6   A.   Well, it would be a very expanded timeline because it

04:34:10    7   would have to represent a longer period of time.            This

04:34:13    8   timeline, all things considered, is a very short period of

04:34:16    9   time.   You have a packet arriving, creating routines, and

04:34:19   10   processing the packet.

04:34:20   11            The -- the NetScout products are, as I've

04:34:24   12   illustrated here, they were done to the left which

04:34:29   13   represents longer ago in history, years ago.           So over here

04:34:35   14   we have fractions of a second, but the arrangements, the

04:34:38   15   paths were created months, years ago when the software was

04:34:42   16   actually developed.

04:34:43   17   Q.   Do you recall testimony about the creation of an entry

04:34:55   18   in a flow table?

04:34:57   19   A.   I do.

04:34:58   20   Q.   And what does creating a flow entry in a flow table

04:35:03   21   have to do with creating a path for processing packets?

04:35:12   22   A.   Nothing.

04:35:12   23   Q.   What is a flow table?

04:35:14   24   A.   So we talked about flows.      Flows, remember, are a

04:35:20   25   series of packets that are related because an application
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04:35:23    1   will send a piece of data that is too big to fit in one

04:35:27    2   packet, so it gets chopped up into other packets.             And that

04:35:32    3   collection of packets becomes a flow, and a flow table is

04:35:37    4   used in the -- the accused products to just maintain

04:35:37    5   statistics about that flow.       And we heard testimony about

04:35:41    6   this.     They count the number of packets, they count the

04:35:44    7   number of bytes represented by those packets.

04:35:47    8              And these sort of data are useful for network

04:35:51    9   managers to understand the traffic in their network.

04:35:56   10   Q.   Now, when along -- when, during processing of a packet,

04:36:11   11   is the flow entry for that packet created?

04:36:17   12   A.   It's certainly created during the processing of that

04:36:24   13   packet.     As I view it, it's created -- the processing is

04:36:30   14   done well into the processing of -- of that packet.             Yeah,

04:36:35   15   so you've already done significant processing of the packet

04:36:38   16   by the time you've -- you're ready to update the flow

04:36:41   17   table.

04:36:42   18   Q.   How far along -- let's take the Arbor product.

04:36:47   19              How far along the processing path are you before

04:36:52   20   you even access the flow table?

04:36:54   21   A.   You're pretty far along.      In some of their figures,

04:36:59   22   diagrammatically it looks like, you know, you're on the

04:37:01   23   order of half to two-thirds of the way through their

04:37:05   24   flowchart.

04:37:06   25   Q.   What does that tell you?
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04:37:07    1   A.   Well, it confirms to me that the operations on the flow

04:37:11    2   table are really related to the processing of the packet.

04:37:15    3   I mean, the purpose of the flow table is to -- it's the --

04:37:22    4   it's the memory that you're using to record statistics

04:37:26    5   about the packet, and you get those statistics by

04:37:30    6   processing the packet.

04:37:31    7   Q.   Do you recall any testimony from Dr. Almeroth that

04:37:35    8   would speak to this issue?

04:37:36    9   A.   I do.

04:37:40   10               MR. BURESH:   If we can pull up yesterday

04:37:43   11   afternoon's trial transcript, Page 21, Lines -- around 15

04:37:52   12   to 17.

04:37:56   13   Q.   (By Mr. Buresh)      Do you recall this testimony,

04:37:59   14   Dr. Jeffay, from Dr. Almeroth?

04:38:03   15   A.   Yes.

04:38:06   16   Q.   And what is he saying here?

04:38:08   17   A.   Well, this was in some Q&A that the two of you had

04:38:14   18   where you were asking him questions about a system that was

04:38:19   19   static -- a statically configured system.           So it -- it

04:38:24   20   didn't -- all the paths were created ahead of time before

04:38:28   21   the first packet in the system.

04:38:29   22               And you were asking him, if you took such a system

04:38:32   23   and you were putting data in a flow table, if you're

04:38:37   24   manipulating flow entries, that that system wouldn't

04:38:41   25   infringe.     And he agreed with you.      And -- and I would
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04:38:43    1   agree with him.

04:38:44    2   Q.   What does putting a flow entry in the flow table have

04:38:51    3   to do with whether or not you've created a path before or

04:38:57    4   after receiving a packet?

04:38:59    5   A.   So I think what this testimony shows is that that's not

04:39:04    6   the question to ask.     It doesn't -- the issue is not the

04:39:06    7   flow table and the flow entries.        I mean, Dr. Almeroth has

04:39:09    8   admitted you can have flow entries in a static system, and

04:39:16    9   they don't infringe.     And he's also alleged you can have

04:39:16   10   flow entries in a dynamic -- what he believes is a dynamic

04:39:19   11   system, and that infringes.

04:39:20   12            So the flow entries aren't the issue.           The issue

04:39:22   13   is, is the sequence of routines that's processing the

04:39:26   14   packet, is it created before or after you receive the first

04:39:31   15   packet of a message.

04:39:41   16   Q.   Which of those options fall within the scope of

04:39:44   17   Mr. Balassanian's patents?

04:39:46   18   A.   So Mr. Balassanian's patents require that the sequence

04:39:49   19   of routines is created after you receive the first packet

04:39:54   20   of the message.

04:39:54   21   Q.   And when are the sequence of routines created in the

04:40:00   22   NetScout products?

04:40:01   23   A.   They're created, as shown on the slide, long before

04:40:07   24   packets arrive.    They're -- they're created when the system

04:40:09   25   is designed.
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04:40:10    1   Q.   Do the NetScout products create any sequence of

04:40:15    2   routines after a packet of a message has arrived?

04:40:18    3   A.   No.

04:40:18    4   Q.   And have you reached a conclusion as to whether the

04:40:21    5   NetScout products infringe the asserted claims?

04:40:23    6   A.   Again, I have reached a conclusion.         And it's my

04:40:26    7   conclusion that they do not infringe the asserted claims

04:40:36    8   for at least the reason that they don't have the required

04:40:36    9   sequence of routines.

04:40:39   10              MR. BURESH:   If we can go to Claim 1 of the '683

04:40:43   11   patent again.

04:40:43   12   Q.   (By Mr. Buresh)     And, Dr. Jeffay, if you could look at

04:40:46   13   the last limitation of the claim.

04:40:47   14   A.   Sure.

04:40:48   15   Q.   What is that limitation about?

04:40:49   16   A.   So just to reorient with Claim 1, so we have our

04:40:54   17   processing unit, our memory that's storing instructions,

04:40:57   18   and instructions.      We execute them to create the path,

04:41:02   19   store the path, and then now process additional packets in

04:41:06   20   the message.

04:41:07   21              And as part of that processing, the sequence of

04:41:11   22   routines that was created have to use a Transmission

04:41:16   23   Control Protocol to convert packets having a TCP format

04:41:20   24   into a different format.

04:41:21   25   Q.   Do the NetScout products do that?
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04:41:26    1   A.   They do not.

04:41:27    2   Q.   Now, at a high level, why not?

04:41:29    3   A.   Well, there's a couple reasons.        The first one is

04:41:36    4   that --

04:41:36    5             MR. BURESH:    If we could advance the slide,

04:41:39    6   please.

04:41:39    7   A.   -- there are specific constructions for these terms.

04:41:43    8   The Court has told us what it means to execute a

04:41:48    9   Transmission Control Protocol.        And it specifically means

04:41:50   10   that you operate on packets whose outermost header is a TCP

04:41:56   11   header.

04:41:56   12             And so based on my analysis, and I'm sure we'll go

04:41:59   13   into this, I believe the accused products never operate on

04:42:03   14   a packet whose outermost header is a TCP header.

04:42:07   15             And then, in addition, they also don't do the

04:42:10   16   required converting from a TCP format into a different

04:42:13   17   format because they don't convert the outermost header from

04:42:16   18   TCP to another header structure.

04:42:18   19   Q.   Do the NetScout products ever operate on a packet whose

04:42:31   20   outermost header is a TCP header?

04:42:32   21   A.   No, they do not.

04:42:33   22   Q.   Now, we've seen a number of TCP routines, even in the

04:42:39   23   depictions you've used today, right?

04:42:42   24   A.   That is -- that is true.      There's lots of -- lots of

04:42:46   25   TCP routines.
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04:42:47    1   Q.   Why don't those routines satisfy this execute a

04:42:53    2   Transmission Control Protocol claim limitation?

04:42:56    3   A.   Because the issue isn't the existence of a TCP routine.

04:43:00    4   The issue is, whatever routine you're looking at, what is

04:43:05    5   that routine operating on?

04:43:07    6               So the Court's construction says:       Operate on one

04:43:10    7   or more packets whose outermost header is a TCP header.

04:43:15    8               So you can call a routine anything you want, but

04:43:18    9   the fundamental issue is, is that routine operating on a

04:43:21   10   packet whose outer header is a TC -- outermost header is a

04:43:29   11   TCP header.

04:43:31   12   Q.   When you were reviewing the source code for the

04:43:36   13   InfiniStream, the GeoProbe, and the Arbor products, did you

04:43:40   14   see any indication of something called a representation of

04:43:43   15   a packet?

04:43:46   16   A.   No.    All you see in the products are just packets, and,

04:43:52   17   specifically, ethernet packets.

04:43:53   18   Q.   Now, you've been teaching in this area for 30-plus

04:44:04   19   years, correct?

04:44:04   20   A.   Yes.

04:44:05   21   Q.   Prior to Dr. Almeroth's testimony, have you ever heard

04:44:10   22   anyone saying a pointer in a packet creates a

04:44:12   23   representation of a packet?

04:44:13   24   A.   No.    No.   A pointer in a packet is just -- we heard the

04:44:23   25   book and bookmark example, which I think is a great
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04:44:26    1   example.     A pointer is just like a bookmark in a book.

04:44:29    2   It's just a way to get to some part of the book very

04:44:32    3   quickly.

04:44:34    4   Q.   Does a bookmark change the book?

04:44:36    5   A.   It does not.    And a pointer does not change a packet.

04:44:41    6   Q.   Are you aware of any routines in the three accused

04:44:46    7   products that operate on representations of packets?

04:44:53    8   A.   No.    All the routines I've seen operate on packets, and

04:44:58    9   specifically ethernet packets.

04:45:08   10               MR. BURESH:   If we go to the next -- if we could

04:45:11   11   go to the next slide, please.        Thank you.

04:45:15   12   Q.   (By Mr. Buresh)      What do we have depicted here,

04:45:18   13   Dr. Jeffay?

04:45:18   14   A.   This is a diagram that we've now seen many, many times.

04:45:23   15   It's our graphical representation of an ethernet packet.

04:45:27   16   And, in this case, it's an ethernet packet containing some

04:45:32   17   generic application data.

04:45:34   18   Q.   Is a packet an identifiable thing?

04:45:39   19   A.   Yes.

04:45:39   20   Q.   Does it have a start and an end?

04:45:43   21   A.   Yes, it absolutely has a start and an end.

04:45:46   22   Q.   Is a packet a real thing?

04:45:53   23   A.   Yes.    I mean, as I say, it is the unit of transmission

04:45:58   24   on a network.     And to show you that it's real -- I mean,

04:46:02   25   this is -- this is how you get your web pages and your
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04:46:05    1   emails and your videos.       I mean, they come to you in

04:46:08    2   packets.      They are real things.

04:46:11    3   Q.   How do you identify the outermost header of a packet?

04:46:18    4   A.   Well, this is easy.      The way we've been drawing them

04:46:22    5   here, you just look at what's the -- the header on the

04:46:24    6   left.

04:46:25    7   Q.   Does it depend?

04:46:28    8   A.   I'm sorry?

04:46:29    9   Q.   Does it depend?

04:46:30   10   A.   Depend on what?

04:46:31   11   Q.   I mean, can you just see the outermost header?

04:46:37   12   A.   Yes, yes.    No, it doesn't depend on -- it just depends

04:46:41   13   on what's the outermost header.        I mean, it's -- it's

04:46:44   14   whatever the header on the left is.

04:46:48   15               MR. BURESH:   I'd like to go, Mr. Palisoul, now to

04:46:50   16   the '683 patent, Column 1, and let's go to Lines 22 -- 24

04:46:58   17   to 44.      Thank you.

04:46:59   18   Q.   (By Mr. Buresh)      Now, does the asserted patent describe

04:47:01   19   the process of converting packets?

04:47:03   20   A.   It does.

04:47:09   21   Q.   And is that depicted on the screen, that process?

04:47:12   22   A.   Yes.

04:47:12   23   Q.   And where would the jury find this description in the

04:47:15   24   patent -- in the patent?

04:47:17   25   A.   Well, I think we don't have the -- the line numbers.
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04:47:27    1   So this is Column 1, so it's the first page of the

04:47:29    2   specification.    It's the first paragraph in the Background

04:47:32    3   section.

04:47:34    4   Q.   Could you describe for us what this -- this section of

04:47:39    5   the patent in the Background section -- how does it

04:47:41    6   describe the converting process?

04:47:43    7   A.   Okay.   So the invention is described in the patent in

04:47:50    8   terms of end systems, so systems that are sending data and

04:47:54    9   systems that are -- two systems that are communicating

04:47:57   10   directly with one another.

04:47:58   11              And the highlighted text here is describing the

04:48:01   12   conversions that are required to send data from one

04:48:03   13   computer to the other.

04:48:04   14              And in this case, they're trying to send what they

04:48:10   15   call bitmap data.    And as Dr. Almeroth said, you can think

04:48:13   16   of that as like an image.       So you encrypt -- in this case,

04:48:17   17   they compress the data, they encrypt it, and then they

04:48:22   18   perform a series of conversions to transmit the data.

04:48:27   19              And the conversions consist of putting these

04:48:29   20   headers onto -- to build a packet.         You place a TCP header

04:48:34   21   to get in a TCP format and then an IP header for an IP

04:48:38   22   format, and so on.

04:48:42   23   Q.   What would this process look like?

04:48:44   24              MR. BURESH:   If we go to the next slide, please.

04:48:46   25   A.   Okay.   Well, this is a slide that I sort of adapted
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04:48:50    1   from my lecture notes.      So we have two computers at the

04:48:53    2   bottom.     The one on the right is going to send data to the

04:48:56    3   one on the left.     And you start with an application that

04:48:59    4   has this bitmap data that it wants to transmit.

04:49:02    5               And as the application passes the data through the

04:49:07    6   operating system, the date -- we have the series of

04:49:12    7   conversions that are listed here by the downward arrows.

04:49:15    8   You convert into a TCP format by adding a TCP header, then

04:49:20    9   an IP format by adding an IP header, and then, finally, an

04:49:24   10   ethernet format by adding an ethernet header.

04:49:28   11               And then at this point, we have an ethernet

04:49:31   12   packet, and we can transmit it to the receiver.

04:49:34   13   Q.   (By Mr. Buresh)    And in each of these circumstances

04:49:35   14   that you had just had underlined there, is it the outermost

04:49:39   15   header that defines the format of the packet?

04:49:40   16   A.   Yes.

04:49:44   17   Q.   Is that why outermost header is important?

04:49:46   18   A.   Yes.

04:49:47   19   Q.   Now, what happens after this patent -- packet is sent

04:49:59   20   across the network?

04:49:59   21   A.   Essentially, the process will reverse itself.           The

04:50:03   22   figure will stay the same.       I'm just going to flip the

04:50:08   23   arrows from going down to up.

04:50:09   24   Q.   And is this described in the patent?

04:50:11   25   A.   It is.
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04:50:11    1            MR. BURESH:     If we could go back to the '683

04:50:13    2   patent, Mr. -- you're there.       Thank you.

04:50:16    3   Q.   (By Mr. Buresh)     What does the '683 patent say about

04:50:23    4   converting on the receiving side?

04:50:24    5   A.   It says essentially what I just said, which is that the

04:50:30    6   conversions that happen at the sender will happen at the

04:50:33    7   receiver, just in the reverse order.

04:50:36    8   Q.   On the sending side, you're adding one after the other;

04:50:42    9   is that correct?

04:50:42   10   A.   That's correct.

04:50:42   11   Q.   And what is the reverse of adding headers?

04:50:45   12   A.   Removing headers.

04:50:51   13            MR. BURESH:     Now if we could go back to your

04:50:53   14   demonstrative and look at the receiving side.

04:50:54   15   Q.   (By Mr. Buresh)     What's happening here?

04:50:56   16   A.   So these are the conversions required to ultimately get

04:51:00   17   the bitmap data to the application.         It comes in as a full

04:51:05   18   ethernet packet.    It gets converted by deleting the

04:51:08   19   ethernet header to an IP packet.        Delete the IP header, you

04:51:14   20   get your TCP packet.      Delete the TCP header, you now just

04:51:19   21   have bitmap data for the application.

04:51:21   22   Q.   And why are these computers, depicted on Slide 43, why

04:51:27   23   are they doing this conversion process?

04:51:29   24   A.   They're doing this conversion process because, again,

04:51:33   25   as described in the specification of the patents, this is
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04:51:38    1   technology that's targeted towards end systems where you

04:51:42    2   start with bitmap data generated by an application, and you

04:51:47    3   want to end up with bitmap data and a receiving

04:51:50    4   application.    And the sender doesn't want to deal with

04:51:54    5   headers, and the receiving application doesn't want

04:51:57    6   headers.

04:51:57    7              So we need the headers to get it across the

04:52:00    8   network.    That's a necessity.      But we do these conversions

04:52:04    9   because that's what's required to transmit it.             And we

04:52:08   10   deconvert at the receiver because the receiving application

04:52:13   11   doesn't want the headers.

04:52:14   12   Q.   Now, do the NetScout products do this conversion

04:52:18   13   process?

04:52:18   14   A.   No.

04:52:18   15   Q.   Why not?

04:52:19   16   A.   So the NetScout products, remember they're -- they're

04:52:22   17   not senders and receivers, they're in the middle of the

04:52:25   18   network.    And, in particular, what they're doing is trying

04:52:31   19   to provide, I think they call it awareness of what's going

04:52:37   20   on in the network.

04:52:38   21              And one of the things that they will all do is

04:52:41   22   they all process full ethernet packets.          And the

04:52:44   23   InfiniStream and the GeoProbe products, for example, will

04:52:46   24   store packets exactly as received because you need to do

04:52:49   25   that in order to do troubleshoot and debug problems.
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04:52:55    1             So you do not want to be taking off headers

04:52:57    2   because the headers are going to have valuable information

04:52:59    3   for your statistics and for future troubleshooting.

04:53:04    4   Q.   Now, did you analyze the NetScout products to determine

04:53:13    5   whether they operated on or converted packets that had an

04:53:16    6   outermost header TCP?

04:53:16    7   A.   I did.

04:53:17    8   Q.   What type of information did you consider?

04:53:19    9   A.   The same information that I referenced previously; the

04:53:23   10   NetScout documents, the deposition testimony of persons

04:53:28   11   knowledgeable about the systems, and then, of course, the

04:53:31   12   source code.

04:53:32   13   Q.   After reviewing that information, what did you

04:53:38   14   conclude?

04:53:39   15   A.   I concluded that the accused products do not operate on

04:53:45   16   packets whose outermost header is a TCP header, and they do

04:53:48   17   not convert packets from a TCP format into another format.

04:53:54   18   Q.   Starting with the InfiniStream --

04:53:56   19             MR. BURESH:    If we can go to the next slide,

04:53:59   20   please.

04:53:59   21   Q.   (By Mr. Buresh)    What happens to a packet during

04:54:01   22   processing in the InfiniStream?

04:54:03   23   A.   During the processing, the InfiniStream will create

04:54:12   24   this data structure that's called an F -- XMIB that's

04:54:18   25   illustrated here.      And the XMIB will contain a series of
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04:54:22    1   pointers to interesting locations in the packet.

04:54:26    2               So you get an ethernet packet in this case with

04:54:29    3   generic application data, and this is our book and bookmark

04:54:33    4   analogy.      The -- the packet here -- the ethernet packet is

04:54:36    5   the book.      And, in this case, we're just putting four

04:54:40    6   bookmarks into the book so we can find places in the book

04:54:43    7   quickly when we do the actual processing of the packet.

04:54:46    8   Q.   What parts of this packet are stored in memory?

04:54:51    9   A.   The whole packet, the whole ethernet packet is stored

04:54:54   10   in memory.

04:54:56   11   Q.   And how do the processing routines have access to this

04:55:00   12   whole packet that's stored in memory?

04:55:01   13   A.   Through this XMIB structure.       With this XMIB structure,

04:55:06   14   you can -- you can quickly access any part of the packet

04:55:10   15   that you like.

04:55:10   16   Q.   In what way, if any, do pointers change the packet?

04:55:14   17   A.   Pointers do not change the packet at all.          If you put a

04:55:19   18   bookmark in a book, you're not changing the book.

04:55:22   19   Q.   Did you hear Mr. Barrett's testimony with respect to

04:55:27   20   the InfiniStream?

04:55:27   21   A.   I did.

04:55:27   22   Q.   And was your review of the source code consistent with

04:55:32   23   all of his testimony?

04:55:32   24   A.   Yes.

04:55:33   25   Q.   What happens to the -- the packet that we have depicted
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04:55:42    1   here at the end of processing in the InfiniStream?

04:55:45    2   A.   Ultimately, their goal is to generate statistics.            And

04:55:50    3   then, as Mr. Barrett said, they will store the packet onto

04:55:54    4   disks so that if a problem -- if they become aware of a

04:55:59    5   problem, they can go back retrospectively, look at these

04:56:05    6   packets to try and debug that problem.

04:56:07    7   Q.   Now, at any point in the process within the

04:56:12    8   processing -- at any point within the processing in the

04:56:16    9   InfiniStream, does the outermost header of a received

04:56:23   10   packet ever change?

04:56:23   11   A.   No, it's always -- it's always stored as an ethernet

04:56:26   12   packet.    It's always processed as an ethernet packet.               And

04:56:28   13   the outermost header is always an ethernet header.

04:56:32   14   Q.   In the InfiniStream, is there ever a packet that has an

04:56:37   15   outermost header of TCP?

04:56:40   16   A.   No.

04:56:46   17              MR. BURESH:   If we can go to the next slide,

04:56:49   18   please.

04:56:49   19   Q.   (By Mr. Buresh)     What's depicted here, Mr. --

04:56:53   20   Dr. Jeffay?

04:56:54   21   A.   This is our same friendly ethernet packet now within

04:57:01   22   the context of the GeoProbe system.         And here we're showing

04:57:04   23   the structure that the GeoProbe system uses to implement

04:57:07   24   its bookmarks.    It does it using a slightly different

04:57:10   25   method.
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04:57:11    1   Q.   When a packet is received into the GeoProbe product,

04:57:15    2   what part of the packet is stored in memory?

04:57:20    3   A.   The entire -- the entire ethernet packet is stored in

04:57:24    4   memory.

04:57:27    5   Q.   Now, these offsets that come out of the packet

04:57:30    6   descriptor, where are they measured from?

04:57:33    7   A.   They're all offsets from the start of the ethernet

04:57:37    8   packet.

04:57:38    9   Q.   So how would a processing routine use the offsets to

04:57:44   10   locate information in the packet?

04:57:45   11   A.   They use an operation that's called indexing, memory

04:57:51   12   indexing where you take a starting address, the start of

04:57:53   13   the ethernet packet, and you add the offset to it.             And

04:57:57   14   then that gives you effectively the address of, for

04:58:00   15   example, the IP header or the TCP header or the start of

04:58:04   16   the application data.

04:58:08   17   Q.   If the GeoProbe products were to change the header

04:58:13   18   structure of the packets it was receiving, what would that

04:58:16   19   do to the ability of the processing routines to find

04:58:19   20   information in these packets?

04:58:20   21   A.   It would potentially break that ability because all of

04:58:27   22   these offsets are relative to the start of the ethernet

04:58:30   23   header.   If the location of the header changes or the size

04:58:34   24   of the header changes, or if you take it off, all of those

04:58:37   25   offsets are going to break.
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04:58:39    1   Q.   When a system is using offsets like depicted here on

04:58:46    2   Slide 52 as in the GeoProbe products, does it change the

04:58:49    3   packet in any way?

04:58:49    4   A.   No, the packet never changes.       And, again, these are

04:58:53    5   offsets because it's just a different way of implementing a

04:58:56    6   bookmark.   And, as I say, you can put 10 bookmarks in a

04:59:00    7   book, but it doesn't change the book.

04:59:06    8   Q.   Now, did you hear Mr. Curtin's testimony from earlier

04:59:09    9   today with respect to the GeoProbe?

04:59:11   10   A.   Yes.

04:59:11   11   Q.   And was your review of the GeoProbe source code

04:59:14   12   consistent with Mr. Curtin's testimony?

04:59:15   13   A.   Yes, it was.

04:59:17   14   Q.   What happens to a packet in the GeoProbe after the

04:59:23   15   processing is complete?

04:59:24   16   A.   The GeoProbe, again, is a product that's trying to give

04:59:29   17   network administrators some visibility in other networks,

04:59:33   18   so it will be stored in the unlikely event that there's --

04:59:37   19   they discover a problem later.        They can effectively go

04:59:40   20   back in time, look at the packets that were received, and

04:59:43   21   try and understand the nature and the cause of that

04:59:45   22   problem.

04:59:49   23   Q.   At any point during processing in the GeoProbe

04:59:52   24   products, Dr. Jeffay, does the outermost header of a packet

04:59:55   25   ever change?
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04:59:56    1   A.   No, it stays ethernet.     And it has to stay ethernet

05:00:00    2   because, as I say, in both in InfiniStream and GeoProbe,

05:00:04    3   when they're saving the packets, they need to save all the

05:00:07    4   information in the packets because all of that information

05:00:10    5   is going to potentially be needed to debug a problem.

05:00:19    6   Q.   In the GeoProbe products, is the outermost header of

05:00:21    7   any packet ever TCP?

05:00:23    8   A.   No, it's always ethernet.

05:00:28    9              MR. BURESH:   If we can go to the next slide,

05:00:30   10   please.

05:00:30   11   Q.   (By Mr. Buresh)     Now, this is the abuf and the pbuf

05:00:35   12   from the Arbor product; is that correct?

05:00:36   13   A.   Correct.   This slide unfortunately lost its title, but

05:00:39   14   this -- this is -- this is for the Arbor -- Arbor systems.

05:00:42   15   Q.   Now, when a packet comes into the Arbor systems, is it

05:00:47   16   stored to memory?

05:00:47   17   A.   It is.

05:00:48   18   Q.   How much of it?

05:00:51   19   A.   The entire packet, start to finish, the entire ethernet

05:00:55   20   packet is stored in memory.

05:00:56   21   Q.   And what happens to the packet at that point?

05:00:58   22   A.   Well, again, these products are sort of similar at some

05:01:04   23   level.     They build a structure.     We've heard about this

05:01:06   24   one.     This is -- it's actually two -- two structures,

05:01:09   25   what's called an abuf and a pbuf.         And, again, these
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05:01:13    1   structures just simply are pointers to interesting parts of

05:01:14    2   the ethernet packet that's in memory.

05:01:17    3   Q.   Do pointers change the packet in any way?

05:01:22    4   A.   No, the bookmarks in the book do not change the book.

05:01:26    5   Q.   What is the impact of a pointer on the outermost header

05:01:29    6   of a packet?

05:01:30    7   A.   There is no impact on it.      The pointer does not impact

05:01:37    8   the outermost header.

05:01:38    9   Q.   Did you review the Arbor source code?

05:01:46   10   A.   I did.

05:01:46   11   Q.   And did you listen to Dr. Dawson's testimony from

05:01:49   12   earlier today?

05:01:50   13   A.   I did.

05:01:50   14   Q.   Are those two consistent, the source code and his

05:01:52   15   testimony?

05:01:53   16   A.   Yes, I looked at the exact same source code that

05:01:56   17   he's -- that he was talking about.

05:01:57   18   Q.   In the Arbor products, what happens to a packet after

05:02:01   19   it's done being processed?

05:02:03   20   A.   So let's remember, the Arbor products, they're

05:02:07   21   different.     They're the security products, so they're

05:02:10   22   looking at traffic as it's flowing from sender to the

05:02:13   23   receiver, just trying to understand whether or not they

05:02:16   24   should drop it because it's potentially malicious or let it

05:02:20   25   go through because it's -- it's good traffic.
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05:02:23    1               So after the processing is done, assuming it's a

05:02:26    2   good ethernet packet, it just simply is sent on its way

05:02:30    3   toward its intended destination.

05:02:36    4   Q.   In what way -- let me ask you this:         Was the fact that

05:02:43    5   you saw pointers and offsets in the source code in the

05:02:46    6   NetScout products, was that relevant to your analysis?

05:02:48    7   A.   Well, given that I had understood that these pointers

05:02:55    8   were the basis for an infringement theory, yes.            It was --

05:02:58    9   it was relevant for my analysis.

05:03:00   10   Q.   What is the fact that the NetScout products used

05:03:03   11   pointers and offsets, what does that tell you about the

05:03:07   12   converting requirements with respect to the claims in this

05:03:10   13   case?

05:03:11   14   A.   It precisely tells me there is no converting.           If there

05:03:18   15   were converting, there would be something different in

05:03:21   16   memory other than the original packet as it was received.

05:03:25   17   Q.   Now, did you hear Dr. Almeroth's testimony from

05:03:28   18   yesterday?

05:03:29   19   A.   Yes.

05:03:31   20   Q.   And he concluded the opposite, that the NetScout

05:03:36   21   products do convert.     Did you hear that?

05:03:38   22   A.   I did.

05:03:39   23   Q.   What did you think about his analysis?

05:03:45   24   A.   Well, obviously, I disagree.       It's -- it strikes me as

05:03:52   25   a little not non-standard.       He spoke a lot about
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05:03:56    1   representations of packets.

05:04:01    2               And at the end of the day, all that's in the

05:04:03    3   accused systems are just the packets.          Yes, they have

05:04:06    4   pointers to them.      But they just have the ethernet packets

05:04:10    5   as they were received off the wire.

05:04:13    6   Q.   Before we leave the Arbor products, in the Arbor

05:04:27    7   products is there ever a packet whose outermost header is

05:04:35    8   TCP?

05:04:35    9   A.   No.

05:04:36   10   Q.   Okay.    Before moving forward, I need to go back a step

05:04:39   11   to the sequence of routines analysis.          Do you recall

05:04:43   12   discussing that a little while ago?

05:04:44   13   A.   Yes.

05:04:45   14               MR. BURESH:   Can you pull up the Court's claim

05:04:50   15   construction of sequence of routines, please?

05:05:27   16   Q.   (By Mr. Buresh)      Now, earlier, we were discussing the

05:05:30   17   sequence of routines; do you recall that?

05:05:31   18   A.   I do.

05:05:31   19   Q.   And you testified a number of times that in the

05:05:36   20   NetScout products, the sequence of routines were created

05:05:38   21   before a first packet of a message?

05:05:41   22   A.   That's -- that's correct.

05:05:43   23   Q.   Okay.    And when you were making that statement, were

05:05:46   24   you applying the Court's claim construction?

05:05:48   25   A.   Yes, I was.
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05:05:49    1   Q.   Is it equally true that an ordered arrangement of

05:05:54    2   routines is not created in the NetScout products prior to

05:05:57    3   receiving a first packet of the message?

05:05:59    4   A.   I'm sorry, the cough through me off.         Could you maybe

05:06:03    5   just repeat your question?

05:06:05    6   Q.   Yeah.    I said, is it equally true that an ordered

05:06:07    7   arrangement of software routines is not created before

05:06:10    8   receiving a first packet of the message in the NetScout

05:06:16    9   products?

05:06:16   10   A.   They -- they are created --

05:06:19   11   Q.   I said that backwards.      My bad.

05:06:22   12               THE COURT:    Why don't you withdraw that question

05:06:23   13   and re-ask it.

05:06:24   14               MR. BURESH:    I'm going to go ahead and withdraw

05:06:27   15   that one, Your Honor.       Thank you.

05:06:28   16   Q.   (By Mr. Buresh)      Dr. Jeffay, is it equally true that

05:06:32   17   the ordered arrangement of routines in the NetScout

05:06:34   18   products is created before receiving a first packet of a

05:06:37   19   message?

05:06:37   20   A.   That I can agree with.

05:06:38   21   Q.   Thank you.

05:06:43   22               Is it equally true that the processing paths in

05:06:47   23   the NetScout products are created before receiving a first

05:06:50   24   packet of a message?

05:06:50   25   A.   Yes.    They're -- they're statically created when the
     Case 2:18-cv-00053-JRG Document 267-1 Filed 02/17/20 Page 153 of 180 PageID #:
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05:06:55    1   code was designed and written.

05:06:56    2   Q.   And that is true with respect to all three NetScout

05:06:59    3   products; the Arbor, the InfiniStream, and the GeoProbe?

05:07:02    4   A.   That is correct.

05:07:07    5               MR. BURESH:   Mr. Palisoul, can you pull up the

05:07:09    6   next demonstrative, please?       Thank you.     This is fine.

05:07:26    7   Q.   (By Mr. Buresh)      And, Dr. Jeffay, we've looked at the

05:07:29    8   executed Transmission Control Protocol requirement and the

05:07:33    9   convert one or more packets having a TCP format into a

05:07:36   10   different format requirement.        Are those concepts present

05:07:39   11   in each asserted claim?

05:07:41   12   A.   Yes.     They are illustrated here for the -- what are

05:07:47   13   called the independent claims, the claims that do not

05:07:49   14   reference another claim.       And the highlighting shows that

05:07:53   15   one of those two claimed phrases is in each of the

05:07:57   16   independent claims.

05:08:01   17   Q.   Have you heard some testimony about reassembly in this

05:08:07   18   case?

05:08:08   19   A.   I did.

05:08:10   20   Q.   Does reassembly in the NetScout products satisfy the

05:08:17   21   execute a Transmission Control Protocol or convert one or

05:08:21   22   more packets having a TCP format into a different format?

05:08:26   23   Does reassembly satisfy either of those limitations?

05:08:29   24   A.   No.

05:08:31   25   Q.   I want to look at the Arbor product first.           Do the
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05:08:42    1   Arbor products do any reassembly?

05:08:44    2   A.   No, they do not.

05:08:45    3   Q.   How do the Arbor products process packets that arrive

05:08:51    4   out of order?

05:08:52    5   A.   So packets can arrive out of order because they can

05:08:58    6   take different routes between the sender and the time they

05:09:01    7   hit the Arbor box.      And the Arbor box will simply hold on

05:09:04    8   to packets until they have arrived -- until it has enough

05:09:09    9   that they can be transmitted in order.

05:09:15   10   Q.   And how do they accomplish that?

05:09:17   11   A.   They have a data structure, a list -- they do it

05:09:21   12   exactly like you and I would do it.         If I receive Packet

05:09:25   13   No. 3 and I was expecting Packet No. 1, I would just make a

05:09:30   14   list.      Say, I have 3, looking for 1.

05:09:32   15               Then if they receive 2, they -- No. 2 on the list,

05:09:35   16   still waiting for No. 1.      And then, finally, when No. 1

05:09:39   17   comes in, you'd recognize, okay, now I have them in order.

05:09:42   18   Now I can send them to the destination.          And then you send

05:09:46   19   them in order.

05:09:47   20   Q.   And I'm just signalling to slow down a little bit.

05:09:53   21   A.   Yes.    I apologize to everyone.

05:09:55   22   Q.   In the Arbor products, does that re-ordering list that

05:09:58   23   you've just described, does that change the headers on the

05:10:01   24   received packets in any way?

05:10:03   25   A.   No.    And it -- and it can't change the headers because,
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05:10:08    1   remember, the packets are ultimately going to be sent to

05:10:12    2   the intended destination.       And if you change the headers,

05:10:15    3   they're potentially not going to get to the destination.

05:10:18    4   Q.   How do the GeoProbe products process packets that

05:10:22    5   arrive out of order?

05:10:23    6   A.   It uses a similar technique, essentially buffering the

05:10:31    7   packets, holding on to the ones that are out of order,

05:10:34    8   waiting until the in order ones arrive.

05:10:38    9   Q.   Does that process result in any change in the packets

05:10:43   10   in the GeoProbe system?

05:10:43   11   A.   No.     You're just -- you're just storing them

05:10:47   12   temporarily.      And, again, ultimately they're going to be

05:10:49   13   all written to disk.      As we've talked about, you want to

05:10:51   14   write them -- every piece of -- every byte of data in a

05:10:54   15   header, you want to write to disk so that you can

05:10:58   16   troubleshoot later problems.       So -- so you don't change --

05:11:04   17   you can't change the headers.

05:11:05   18   Q.   Did you hear Mr. Curtin explain reassembly in the

05:11:10   19   GeoProbe products?

05:11:11   20   A.   I did.

05:11:11   21   Q.   And can you briefly describe that process?

05:11:15   22   A.   Sure.     So reassembly results in -- in making this --

05:11:23   23   what he calls synthetic ethernet packet.          So you take

05:11:27   24   headers from the first packet, unmodified, and then you

05:11:32   25   concatenate onto them the payloads from the packets that
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05:11:36    1   you're trying to reassemble.       And you concatenate the

05:11:39    2   payloads in the right order.

05:11:41    3   Q.   Are any headers changed on any packets in that process?

05:11:45    4   A.   No.     The headers on the synthetic packet are exactly

05:11:49    5   the headers on the first packet.

05:11:53    6   Q.   What about the InfiniStream, does it do reassembly?

05:11:56    7   A.   Yes, it does a form of -- of reassembly.

05:12:00    8   Q.   And there was some discussion earlier in the case about

05:12:03    9   an errata sheet.      Do you remember that?

05:12:05   10   A.   Yes.     Deposition errata, yes.

05:12:12   11   Q.   Yes.

05:12:13   12   A.   Yes.

05:12:13   13   Q.   Did you look into that -- the source code for the

05:12:15   14   InfiniStream?      Does it show you one way or another whether

05:12:18   15   there is reassembly on HTTP traffic?

05:12:20   16   A.   Yes.     I found no code for reassembly of HTTP traffic.

05:12:26   17   So I believe that the product does not do HTTP reassembly.

05:12:32   18   Q.   For the protocols that it does provide reassembly for,

05:12:36   19   can you briefly describe how the InfiniStream does

05:12:38   20   reassembly?

05:12:40   21   A.   Sure.     So it's -- it's a little different because there

05:12:44   22   are no headers involved.      You're simply taking the -- the

05:12:50   23   individual payloads and concatenating them together in the

05:12:53   24   correct order so that you effectively have, you know,

05:12:56   25   the -- the application data object that the application
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05:13:00    1   transmitted.    You have the full -- the full letter that was

05:13:02    2   in the envelope.

05:13:05    3   Q.   Now, the packets that are involved in that process, are

05:13:09    4   the headers changed at all?

05:13:10    5   A.   No, the original headers -- sorry, the original

05:13:14    6   ethernet packets that contain the data that was being

05:13:18    7   reassembled, those original packets never changed.             They

05:13:22    8   stayed as ethernet packets, and they're ultimately flushed

05:13:25    9   to disk as ethernet packets.

05:13:32   10   Q.   At any point during the reassembly process in the

05:13:36   11   InfiniStream, is there a packet that has TCP as its

05:13:38   12   outermost header?

05:13:39   13   A.   No.   InfiniStream, you only ever have -- for structures

05:13:46   14   that have headers, you only have ethernet as the outermost

05:13:49   15   header.

05:13:49   16   Q.   Does the reassembly process in the InfiniStream result

05:13:52   17   in any conversion of the packets?

05:13:54   18   A.   No, not in the required sense of the claims where

05:14:00   19   you're converting from a TCP format to another format.

05:14:05   20   There's -- there's no such conversion.

05:14:21   21              MR. BURESH:   If we could pull up the claims again

05:14:21   22   with the execute convert limitations.          Thank you.

05:14:25   23   Q.   (By Mr. Buresh)     Now, Dr. Jeffay, did the NetScout

05:14:28   24   products -- products -- I'm going to speak in a group now

05:14:31   25   to include the InfiniStream, the GeoProbe, and the Arbor
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05:14:33    1   products -- do they operate on any packet whose outermost

05:14:38    2   header is TCP?

05:14:39    3   A.   They do not.

05:14:44    4               MR. BURESH:   Is it possible to overlay the Court's

05:14:46    5   claim construction on this one?        I just need from "convert

05:15:19    6   limitations" down to the "execute limitations."            Thank you.

05:15:34    7   Q.   (By Mr. Buresh)      And, Dr. Jeffay, starting over, you

05:15:36    8   see the execute a Transmission Control Protocol limitation?

05:15:40    9   A.   Yeah.     In the claims, yes.

05:15:41   10   Q.   In the chart?

05:15:42   11   A.   Oh, in the chart, yes, I see it in the chart, as well.

05:15:45   12   Q.   And the Court's construction off to the right?

05:15:48   13   A.   Yes.

05:15:48   14   Q.   And do the NetScout products operate on any packets

05:15:52   15   whose outermost header is a TCP header?

05:15:54   16   A.   No.     The outermost header in the accused products is

05:15:58   17   always an ethernet header.

05:16:00   18   Q.   In this highlighted claim construction here, do the

05:16:04   19   NetScout products ever convert packets from an outermost

05:16:08   20   header structure of TCP to another type of header

05:16:12   21   structure?

05:16:12   22   A.   No.     And the easiest way to see this is there never is

05:16:18   23   a packet with an outermost header structure that's TCP.

05:16:21   24   Q.   And these limitations are in each of the asserted

05:16:27   25   claims?
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05:16:27    1   A.   Correct.

05:16:27    2   Q.   In light of all your analysis of the NetScout source

05:16:33    3   code and the other documents and deposition testimony

05:16:36    4   you've seen and then heard, have you reached a conclusion

05:16:41    5   as to whether the NetScout products infringe any asserted

05:16:45    6   claim in this case?

05:16:45    7   A.   Yes.    My opinion is they do not infringe any asserted

05:16:50    8   claim, for at least the reason that they do not contain

05:16:54    9   either the converting or the execute -- either the

05:16:57   10   converting one or more packets limitations or the execute a

05:17:03   11   Transmission Control Protocol limitation.

05:17:06   12   Q.   Okay.

05:17:07   13               MR. BURESH:   If we could go to the next

05:17:09   14   demonstrative, please.

05:17:14   15   Q.   And, Dr. Jeffay, looking at Claim 1 of the '683 patent,

05:17:19   16   can you explain which limitations are not satisfied by the

05:17:22   17   NetScout products?

05:17:23   18   A.   Yes.    If we look at Claim 1, what we're going to do is

05:17:31   19   look for the -- the elements, the -- the bits between the

05:17:36   20   green lines that either have the language sequence of

05:17:41   21   routines, execute a Transmission Control Protocol or

05:17:46   22   convert one or more packets.       So we can start with the

05:17:50   23   convert -- sorry, the create limitation.

05:17:55   24               MR. BURESH:   Advance the slide, please.        Thank

05:17:56   25   you.
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05:17:56    1   A.   So this -- this claim element has the sequence of

05:18:01    2   routines limitation in it.       And, in my opinion, the accused

05:18:06    3   products do not satisfy this limitation because they do not

05:18:09    4   meet the Court's definition for sequence of routines.

05:18:15    5   Q.   (By Mr. Buresh)    And which limitations of Claim 1 does

05:18:17    6   this impact?

05:18:18    7   A.   This impacts the -- the limitation we're talking about,

05:18:24    8   the create limitation, as well as the next one, the store

05:18:30    9   the created path.

05:18:31   10            The -- the path is going to include the data

05:18:33   11   structure that indicates the sequence of routines.             If

05:18:37   12   there's no sequence of routines, there's no data structure,

05:18:40   13   there's no path.    So you can't store the created path.

05:18:42   14   Q.   What about the next limitation to the bottom there?

05:18:48   15   A.   The next limitation also references sequence of

05:18:52   16   routines, so that's one reason why we won't have that

05:18:55   17   limitation.    But, in addition, it also references the

05:18:58   18   execute a transmission control.        And it also references the

05:19:04   19   convert one or more packets element.

05:19:06   20            So according to the definitions the Court has

05:19:10   21   provided, in my opinion, the accused products do not

05:19:13   22   infringe -- do not contain this element because they

05:19:16   23   don't -- they don't satisfy the definitions that were just

05:19:19   24   on the screen.

05:19:19   25   Q.   So, in your opinion, Dr. Jeffay, does NetScout infringe
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05:19:28    1   Claim 1 of the '683 patent?

05:19:29    2   A.   In my opinion, they do not.

05:19:32    3            MR. BURESH:     Let's go to the next claim, please.

05:19:35    4   Q.   (By Mr. Buresh)    This is Claim 10 of the '683 patent.

05:19:37    5            And can you explain to the jury which limitations

05:19:39    6   are not satisfied by the NetScout products?

05:19:43    7   A.   So, again, we're going to look through the text here to

05:19:51    8   find things related to the sequence of routines.            And

05:19:52    9   remember, there were two forms of the sequence of routines

05:19:55   10   limitation.     There was sequence of routines and also a list

05:19:59   11   of conversion routines.

05:20:01   12            So Claim 10 uses a different language, list of

05:20:04   13   conversion routines, but it has a very similar

05:20:07   14   construction.     And the construction is not met, for the

05:20:11   15   reasons that we didn't have sequence of routines

05:20:19   16   limitation.

05:20:19   17            So this will knock out these four limitations

05:20:21   18   because the accused products do not have the list of

05:20:24   19   conversion routines.

05:20:25   20   Q.   What about the bottom limitation?

05:20:29   21            MR. BURESH:     If we can advance the slide.

05:20:32   22   Q.   (By Mr. Buresh)    Oh, the next limitation?

05:20:33   23   A.   These ones reference the conversion element that we

05:20:37   24   talked about for Claim 1.       And so this limitation is also

05:20:40   25   not going to be present because the accused products do not
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05:20:43    1   satisfy the Court's definition of conversion because they

05:20:47    2   don't convert the outermost header structure from a

05:20:53    3   transport layer protocol header to another type of header

05:20:55    4   structure.

05:20:55    5   Q.   So, in your opinion, Dr. Jeffay, does NetScout

05:21:02    6   infringe -- utilize the technology in Claim 10 of the '683

05:21:07    7   patent?

05:21:07    8   A.   No.   And maybe by way of explanation I could just

05:21:10    9   simply say -- to remind us all that to infringe, you have

05:21:13   10   to have -- as I understand it, you have to have each and

05:21:16   11   every element.    So if you're missing one element, you do

05:21:19   12   not infringe.    And, in this case, I'm saying that they're

05:21:21   13   missing five elements.

05:21:26   14              MR. BURESH:   Let's go now to the '790 patent,

05:21:29   15   please.

05:21:29   16   Q.   (By Mr. Buresh)     This is Claim 1 from the '790 patent.

05:21:33   17   Which limitations of this claim are not present in

05:21:40   18   NetScout's products?

05:21:41   19   A.   We're going to have -- the identifying process

05:21:44   20   limitations are not going to be present.          The identify a

05:21:48   21   path limitation is not going to be present because it

05:21:50   22   references a sequence of two or more routines.            And as I've

05:21:56   23   said, the accused products do not satisfy the Court's

05:21:58   24   construction of sequence of routines.

05:22:01   25   Q.   What about the next limitation, Dr. Jeffay?
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05:22:03    1   A.   This one has both sequence of routines, the execute a

05:22:08    2   Transmission Control Protocol phrase, and the convert one

05:22:10    3   or more packets.    And for the reasons that I've described

05:22:14    4   throughout my testimony, the accused products do not have

05:22:17    5   the sequence of routines, as defined by the Court; they do

05:22:20    6   not execute a Transmission Control Protocol, as defined by

05:22:24    7   the Court; and they do not convert the one or more packets,

05:22:32    8   as defined by the Court.

05:22:33    9   Q.   Dr. Jeffay, what is your opinion with respect to

05:22:36   10   whether the NetScout products infringe Claim 1 of the '790

05:22:40   11   patent?

05:22:40   12   A.   It's my opinion that they don't infringe because they

05:22:43   13   do not contain each and every element of Claim 1 of the

05:22:50   14   '790 patent.

05:22:50   15             MR. BURESH:    If we could go to the '104 patent,

05:22:53   16   please.

05:22:53   17   Q.   (By Mr. Buresh)    Now, looking at Claim 1, first,

05:22:59   18   Dr. Jeffay, which limitations in Claim 1 are not present in

05:23:04   19   NetScout's products?

05:23:04   20   A.   These would be all of the limitations that reference

05:23:07   21   sequence of two or more routines and executing the

05:23:11   22   Transmission Control Protocol.        So the first one in Claim 1

05:23:14   23   would be this identifying using the key value limitation.

05:23:25   24   Q.   What other limitations are not present from Claim 1?

05:23:28   25   A.   The next create a path limitation is not present
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05:23:33    1   because it, again, references the sequence of two or more

05:23:36    2   routines.    And, as I've said, the accused products do not

05:23:39    3   contain the sequence of two or more routines, as that

05:23:43    4   phrase has been defined by the Court.

05:23:50    5   Q.   Okay.   Now, with respect to Claim 3 -- stop there.

05:23:55    6            With respect to Claim 1, before we move on, what

05:23:59    7   is your opinion with respect to whether NetScout's products

05:24:03    8   infringe Claim 1 of the '104 patent?

05:24:05    9   A.   It's my opinion that the accused NetScout products do

05:24:09   10   not infringe Claim 1 because to infringe, you must have

05:24:13   11   each and every element of the claims present.            And as I've

05:24:19   12   argued, the accused products do not contain at least the

05:24:23   13   three limitations that I've X'd out.

05:24:30   14   Q.   With respect to Claim 3, do the NetScout products

05:24:30   15   infringe Claim 3 of the '104 patent?

05:24:33   16   A.   They do not.

05:24:35   17   Q.   Why not?

05:24:35   18   A.   So this gets a little more detailed in the way that

05:24:41   19   patents work.    But these are dependent claims.          And you can

05:24:44   20   see that by the fact that they -- each one of them

05:24:47   21   references a prior claim.       So Claim 3 references Claim 1,

05:24:52   22   and Claim 4 references Claim 3.

05:24:55   23            And, as I understand it, what this means is that

05:24:58   24   to understand infringement of Claim 3, you have to bring in

05:25:02   25   all of the elements of Claim 1.        So if elements of Claim 1
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05:25:07    1   are missing, you cannot infringe Claim 3.

05:25:10    2              And it's a similar story for Claim 4.         Claim 4

05:25:18    3   depends, as we say, from Claim 3 which depends from

05:25:18    4   Claim 1.    So to infringe Claim 4, you would have to have

05:25:22    5   all of the elements shown on this slide.          And because we're

05:25:27    6   missing, for example, at least the three elements from

05:25:30    7   Claim 1, you can't infringe Claim -- the accused products

05:25:33    8   cannot infringe Claim 4.

05:25:35    9   Q.   Now, Dr. Jeffay, do any of the three NetScout products,

05:25:39   10   the InfiniStream, the Arbor, or the GeoProbe, infringe any

05:25:44   11   asserted claim of Mr. Balassanian's patents that he's

05:25:47   12   asserted here in this case?

05:25:48   13   A.   In my expert opinion, they do not.

05:25:53   14              MR. BURESH:    Nothing further, Your Honor.

05:25:54   15              THE COURT:    You pass the witness?

05:25:55   16              MR. BURESH:    I do.

05:25:56   17              THE COURT:    All right.   Counsel, approach the

05:26:01   18   bench, please.

05:26:02   19              (Bench conference.)

05:26:10   20              THE COURT:    Do you have an estimate on your time

05:26:18   21   for cross, Mr. Hosie?

05:26:19   22              MR. HOSIE:    I think it will be about an hour and

05:26:22   23   15 minutes.

05:26:23   24              THE COURT:    Well, we'll get as far as we can.            We

05:26:26   25   won't finish it today, but we're going to have to get into
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05:26:28    1   it.

05:26:29    2             MR. HOSIE:    I appreciate that, Your Honor.

05:26:30    3             THE COURT:    Let's proceed.

05:26:32    4             (Bench conference concluded.)

05:26:35    5             THE COURT:    All right.    Let's proceed with

05:26:36    6   Plaintiff's cross-examination of the witness.

05:26:50    7             MR. HOSIE:    Thank you, Your Honor.

05:26:50    8                           CROSS-EXAMINATION

05:26:50    9   BY MR. HOSIE:

05:26:50   10   Q.    Dr. Jeffay, you testified, I think, four times that

05:26:58   11   Implicit's patents were restricted to end systems, e-n-d.

05:27:03   12   Do you recall saying that?

05:27:04   13   A.    I -- I don't believe I ever said the word restricted.

05:27:08   14   I believe what I said is that's what's described in the

05:27:13   15   specification.

05:27:13   16   Q.    All right, sir.   For the jury, what is an end system?

05:27:15   17   A.    Good, good question.    End systems refer to the

05:27:18   18   computers that generate the data and the computers that

05:27:21   19   ultimately consume the data.       So client server, your web

05:27:27   20   browser, that's one end system; a web server, that's

05:27:31   21   another end system.

05:27:32   22   Q.    Is it your testimony here today, sir, that the Implicit

05:27:35   23   claims would not apply to a server sitting between two

05:27:39   24   other computers?

05:27:40   25   A.    I haven't offered that testimony.
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05:27:43    1   Q.   You do not believe that yourself, do you?

05:27:45    2   A.   No, I don't believe that.

05:27:47    3   Q.   All right, sir.      So it really doesn't matter from the

05:27:50    4   purposes of the claims and infringement whether -- I'm

05:28:00    5   sorry, strike that.

05:28:04    6               MR. HOSIE:   May we have the Claim 1 of the '683

05:28:07    7   up, please.

05:28:09    8   Q.   (By Mr. Hosie)      Sir, this is Claim 1 of the '683.        Do

05:28:15    9   you see anywhere in this claim the words end systems, e-n-d

05:28:19   10   systems?

05:28:20   11   A.   No.

05:28:20   12   Q.   All right.

05:28:21   13               MR. HOSIE:   Thank you.

05:28:22   14   Q.   (By Mr. Hosie)      Now, you were in court for

05:28:30   15   Dr. Almeroth's testimony, I believe you said?

05:28:31   16   A.   Yes, I was.

05:28:31   17   Q.   And you know Professor Almeroth?

05:28:34   18   A.   I do.

05:28:34   19   Q.   You personally know him?

05:28:36   20   A.   I do.

05:28:36   21   Q.   And you respect him as a computer scientist?

05:28:38   22   A.   Yes.

05:28:39   23   Q.   And you respect him as a professor?

05:28:41   24   A.   I -- I respect him as a computer scientist.           We don't

05:28:46   25   really interact as faculty peers.
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05:28:49    1   Q.   Fair enough.   You believe he does good and honorable

05:28:52    2   computer science work?

05:28:53    3   A.   He has done some fine research in the past.

05:28:55    4   Q.   You believe he's a person of integrity?

05:28:58    5   A.   As best I can tell.

05:28:59    6   Q.   All right, sir.    And you've read some of his research

05:29:02    7   papers, I'm sure?

05:29:03    8   A.   I have.

05:29:03    9   Q.   And you found them good, I'm sure?

05:29:05   10   A.   Yeah.

05:29:06   11   Q.   All right, sir.    And you heard Dr. Almeroth describe

05:29:13   12   various things he was asked to do in this case?

05:29:15   13   A.   I did.

05:29:16   14   Q.   And one of the things, of course, was to analyze

05:29:18   15   infringement?

05:29:18   16   A.   Yes, absolutely.

05:29:19   17   Q.   Which you, too, have done?

05:29:21   18   A.   Correct.

05:29:21   19   Q.   Fair to say that you land on different sides of that

05:29:25   20   line?

05:29:25   21   A.   Well, I think that's quite fair.

05:29:26   22   Q.   I think that's quite fair.       But Dr. Almeroth also was

05:29:32   23   asked to assess acceptable non-infringing alternatives,

05:29:38   24   correct?

05:29:38   25   A.   I don't recall if that was part of his task.           I know he
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05:29:41    1   certainly testified about that.

05:29:42    2   Q.   And is that something you have assessed, sir,

05:29:46    3   non-infringing alternatives?

05:29:46    4   A.   I have not.

05:29:47    5   Q.   So you have no basis to agree or disagree with

05:29:51    6   Dr. Almeroth's analysis on that score?

05:29:53    7   A.   Well, I believe Dr. Analysis's analysis --

05:29:59    8   Dr. Almeroth -- excuse me, Dr. Almeroth's analysis was

05:30:01    9   simply that NetScout didn't offer any non-infringing

05:30:06   10   alternatives.

05:30:06   11   Q.   Have -- and do you have any reason to disagree with

05:30:08   12   that?

05:30:09   13   A.   I -- I do not.

05:30:12   14   Q.   And you also heard Dr. Almeroth analyze licenses for

05:30:23   15   technical comparability -- comparability?

05:30:24   16   A.   Yes, yes, I did hear that.

05:30:26   17   Q.   And is that something you looked at, sir?

05:30:28   18   A.   I did not.

05:30:29   19   Q.   So --

05:30:30   20   A.   I was not asked to do that, sorry.

05:30:32   21   Q.   You have no basis to disagree with his conclusions on

05:30:36   22   that score, do you?

05:30:36   23   A.   Correct.     I'm not addressing his conclusions.

05:30:39   24   Q.   All right.

05:30:52   25            MR. HOSIE:     If we could have Figure 15 of the '683
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05:30:58    1   patent up, sir.

05:30:59    2   Q.   (By Mr. Hosie)    Do you recognize this, sir?

05:31:05    3   A.   I do.

05:31:06    4   Q.   This is a flow chart, is it not, sir?

05:31:08    5   A.   It is.

05:31:10    6   Q.   This is Figure 15 from the '683 patent, correct?

05:31:14    7   A.   Yes, that's correct.

05:31:16    8   Q.   You said, as I recall, it takes time to go through the

05:31:21    9   steps of a flowchart.      Do you recall saying that?

05:31:23   10   A.   I did.

05:31:24   11   Q.   That's your testimony and opinion, correct?

05:31:27   12   A.   Yes, absolutely true.

05:31:29   13            MR. HOSIE:     All right.    Your Honor, may we seal

05:31:30   14   the courtroom.      I'm about to move into a confidential

05:31:33   15   document.

05:31:34   16            THE COURT:     All right.    Based on counsel's

05:31:37   17   request, I'll order the courtroom sealed at this time.

05:31:40   18            Anyone present who is not subject to the existing

05:31:43   19   protective order that's been entered in this case should

05:31:46   20   excuse themselves and remain outside the courtroom until

05:31:49   21   it's reopened and unsealed.

05:31:50   22            We're sealed, for the record, counsel.

05:31:50   23            (Courtroom sealed.)

05:31:50   24            (This portion of the transcript is sealed and

05:31:50   25                filed under separate cover as Sealed Portion
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05:32:41    1                No. 8.)

05:32:41    2               (Courtroom unsealed.)

05:32:42    3               THE COURT:   We're back on the record and unsealed.

05:32:46    4               Let's proceed.

05:33:06    5               MR. HOSIE:   If we may have '683 claim up, Claim 1.

05:33:06    6   Q.   (By Mr. Hosie)      Line 25 starts with the word create.

05:33:09    7   Do you see that, sir?

05:33:09    8   A.   I do.

05:33:10    9   Q.   And then it goes on to say, a sequence of routines,

05:33:13   10   correct?

05:33:13   11   A.   Yes.

05:33:21   12   Q.   And you're creating a path here, correct?

05:33:23   13   A.   Yes.

05:33:24   14   Q.   Because it says create, da, da, da, da, a path?

05:33:30   15               MR. HOSIE:   Can we have "a path" highlighted?

05:33:32   16   A.   I'm sorry, what's the question?

05:33:34   17   Q.   (By Mr. Hosie)      It says create a path?

05:33:35   18   A.   Yes, absolutely.

05:33:37   19   Q.   And then you store that created path?

05:33:39   20   A.   Correct.

05:33:39   21   Q.   And creating a path, in your mind, does that include a

05:33:44   22   system that just has programming logic linking modules but

05:33:50   23   no ability to actually process anything as a path?

05:33:53   24   A.   I'm sorry, but I don't understand that -- that

05:33:57   25   question.
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05:33:57    1   Q.   Let me put it again.     Assume a system that has program

05:34:01    2   code that links modules together but has no ability to

05:34:07    3   actually process traffic, does that system have a path

05:34:12    4   within the meaning of this claim as you read it, sir?

05:34:15    5   A.   I can't -- I can't envision the system that you're -- a

05:34:20    6   system that links things together but cannot process

05:34:24    7   anything?

05:34:26    8   Q.   Correct.

05:34:27    9   A.   And then you're asking me what -- what exactly?

05:34:29   10   Q.   Is that -- is that linked system that can process

05:34:32   11   nothing in the real world as it created a path, sir, within

05:34:36   12   the meaning of this claim?

05:34:37   13   A.   I don't know that there's enough information in your

05:34:44   14   question for me to really tell.

05:34:44   15   Q.   So you can't answer it as I've phrased it?

05:34:47   16   A.   No, I'm sorry, I don't think I can.

05:34:52   17   Q.   Now, in the NetScout systems, a path is built

05:34:59   18   incrementally as the process runs, correct?

05:35:05   19   A.   A path is built incrementally as the -- no, I would --

05:35:10   20   I would disagree.

05:35:11   21   Q.   Well, let's go back to the pair of green --

05:35:18   22   Exhibit 3 -- oh, I'm going to have to seal the courtroom

05:35:21   23   again.

05:35:22   24            Let me -- let me walk you through it at a higher

05:35:25   25   level.
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05:35:25    1            So a packet comes into NetScout's system, correct?

05:35:28    2   A.   Sure.

05:35:28    3   Q.   The system looks at the packet?

05:35:30    4   A.   Okay.

05:35:31    5   Q.   And it has to look at the packet to see what's inside

05:35:34    6   the packet?

05:35:38    7   A.   Sure.    As -- as part of the processing of the packet,

05:35:40    8   it will certainly look into the packet.

05:35:42    9   Q.   And then it processes the various layers of the

05:35:46   10   processing stack?

05:35:49   11   A.   For, yes, some of the products, yes, that will happen.

05:35:54   12   Q.   And it goes through various branching decision trees,

05:36:01   13   if/then/else statements?

05:36:04   14   A.   Sure.    Those are the analogs of the junctures and the

05:36:08   15   plumbing diagrams that --

05:36:08   16   Q.   Right.    So --

05:36:09   17   A.   -- we had.

05:36:09   18   Q.   Thank you.    I didn't mean to interrupt, sir.

05:36:11   19            So the system first looks at the packet, and it

05:36:14   20   says, okay, I've got to make a decision, what do I do?

05:36:18   21   A.   Okay.

05:36:20   22   Q.   And then it makes that decision and it goes on and

05:36:23   23   says, okay, I've got to make another decision of what I

05:36:27   24   would do?

05:36:27   25   A.   Well, I wouldn't -- I wouldn't characterize it that
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05:36:30    1   way.

05:36:30    2   Q.   Well, is that inaccurate, sir?

05:36:32    3   A.   I think it is.

05:36:32    4   Q.   Well, doesn't the system do that kind of what do I do?

05:36:39    5   What do I do?     What I do I do step-by-step-by-step?

05:36:44    6   A.   As I say, I wouldn't characterize it that way, and I'm

05:36:49    7   happy to explain if you like.

05:36:51    8              MR. HOSIE:   Perhaps I better go back to PTX-381,

05:36:51    9   Your Honor.     I'll need to close the courtroom again if the

05:36:58   10   Court --

05:36:58   11              THE COURT:   Based on counsel's request, I'll order

05:36:58   12   the courtroom sealed at this time.         Those present not

05:37:00   13   subject to the protective order should excuse themselves

05:37:03   14   until the courtroom is unsealed.

05:37:08   15              (Courtroom sealed.)

05:37:08   16              (This portion of the transcript is sealed and

05:37:08   17              filed under separate cover as Sealed Portion

05:37:08   18              No. 9.)

05:37:08   19              (Courtroom unsealed.)

05:48:16   20              MR. HOSIE:   Thank you, Your Honor.

05:48:17   21              THE COURT:   Let's continue.

05:48:19   22   Q.   (By Mr. Davis)     Earlier in your testimony, about six or

05:48:20   23   seven minutes ago, you said, and I think I can quote:

05:48:21   24   These systems don't think for themselves.           Do you recall

05:48:23   25   saying that, or words to that effect?
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05:48:25    1   A.   I think I was making a comment that -- that you were

05:48:30    2   using anthropomorphic language, I think.          But, roughly,

05:48:35    3   that's fair.

05:48:35    4   Q.   Okay.   And what did you mean by these computers don't

05:48:40    5   think for themselves?

05:48:41    6   A.   Well, I don't recall the context of the individual

05:48:44    7   question, but I believe you were describing the processing

05:48:48    8   in the Arbor system in terms of what people do as opposed

05:48:51    9   to what computers do.

05:48:53   10   Q.   All right, sir.    You agree with me that a computer is

05:48:55   11   just a machine?

05:48:56   12   A.   It is indeed a machine.

05:48:57   13   Q.   Have you heard the phrase deterministic conduct in

05:49:02   14   connection with computers?

05:49:03   15   A.   Deterministic, yes.     Conduct, no.

05:49:06   16   Q.   Fair point.   What does the phrase deterministic mean to

05:49:10   17   you when used in the context of a computing system?

05:49:14   18   A.   Deterministic means it's known what's going to happen,

05:49:18   19   and it's in contrast to probabilistic, which means there's

05:49:22   20   some chance.

05:49:23   21   Q.   And aren't all computer systems, sir, deterministic?

05:49:28   22   A.   They're supposed to be -- the computer systems that

05:49:32   23   we're talking about here, yes, they're -- they

05:49:34   24   deterministically execute instructions.

05:49:37   25   Q.   All computer systems are deterministic?
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05:49:40    1   A.   All the computer systems we're talking about here.

05:49:42    2   There are some that are not deterministic.

05:49:44    3   Q.   And those would be things like artificial intelligence?

05:49:48    4   A.   No, something else.

05:49:50    5   Q.   On that score, you don't think these patents claim some

05:49:54    6   sort of thinking computer, do you?

05:49:55    7   A.   No, they just claim a computer that creates paths

05:49:59    8   dynamically.

05:50:00    9   Q.   You don't think these patents claim some sort of a

05:50:03   10   computer that has the ability to think for itself, do you?

05:50:06   11   A.   I do not.

05:50:06   12   Q.   And all computers are programmed, correct?

05:50:09   13   A.   Yes, they are.

05:50:10   14   Q.   And do you think that any computer that's programmed

05:50:15   15   cannot infringe these claims because it is programmed?

05:50:18   16   A.   I do not believe that at all.

05:50:19   17   Q.   That would be a ridiculous position, correct?

05:50:23   18   A.   I wouldn't want to characterize it.         I just don't

05:50:26   19   believe it.

05:50:26   20   Q.   Do you recall I took your deposition, sir?

05:50:28   21   A.   Yes, I do recall.

05:50:29   22   Q.   And do you recall I asked you that very question?

05:50:31   23   A.   I know you asked a lot of questions like that, yes.

05:50:35   24   Q.   Do you recall that one?

05:50:36   25   A.   I'm sorry?
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05:50:36    1   Q.   Do you recall that one?

05:50:37    2   A.   Honestly, not specifically, but I'm happy to believe

05:50:42    3   that you asked me exactly that question.

05:50:44    4              MR. HOSIE:   If we may have Page 59 of Dr. Jeffay's

05:50:48    5   testimony up.     This is not the right one.        I'll have to

05:51:01    6   find it.    I am tired.

05:51:01    7              Your Honor, this would be a good time for a break.

05:51:01    8   I'm about to move into some other material, if it suits the

05:51:03    9   Court's convenience.

05:51:03   10              THE COURT:   Approach the bench, counsel.

05:51:05   11              (Bench conference.)

05:51:14   12              THE COURT:   Are you trying to tell me that you're

05:51:16   13   going to go back into confidential information?            What are

05:51:19   14   you indicating?

05:51:20   15              MR. HOSIE:   I'm just moving on to various other

05:51:21   16   subjects.

05:51:22   17              THE COURT:   Well, I do agree this is probably as

05:51:27   18   good a time to break as any, especially given the length of

05:51:31   19   time this entire cross is going to take.

05:51:33   20              We'll recess for the evening, and we'll reconvene

05:51:38   21   in the morning.

05:51:40   22              I'm going to want to see you gentlemen in chambers

05:51:44   23   briefly after we recess.

05:51:46   24              MR. HOSIE:   Thank you, Your Honor.

05:51:51   25              (Bench conference concluded.)
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05:51:52    1           THE COURT:     Ladies and gentlemen, this

05:51:54    2   cross-examination has some considerable length to go.

05:51:57    3   We're very close to 6:00 o'clock, and so I'm not going to

05:52:02    4   continue at this point any longer for today.           We're going

05:52:05    5   to recess for the evening.

05:52:06    6           I'm going to ask you to be back tomorrow morning

05:52:10    7   prepared to go by 8:30, assembled in advance of that time,

05:52:14    8   as you were this morning.

05:52:15    9           I'll ask you to take your juror notebooks as you

05:52:18   10   leave the courtroom and leave them closed on the table in

05:52:20   11   the jury room.

05:52:22   12           I'll remind you follow all my instructions about

05:52:25   13   your conduct, including, of course, not to discuss the case

05:52:28   14   or anything about it with anyone.         Please travel safely to

05:52:31   15   your homes.   And we will see you tomorrow morning at or

05:52:35   16   about 8:30.

05:52:36   17           With that, the jury's excused for the evening.

05:52:39   18           COURT SECURITY OFFICER:         All rise.

05:53:10   19           (Jury out.)

05:53:10   20           THE COURT:     All right.     Please be seated.

05:53:11   21           Counsel, for your purposes, let me update you.                At

05:53:17   22   this point, the Plaintiff has remaining a total of 2 hours

05:53:21   23   and 31 minutes.

05:53:22   24           And the Defendant has remaining a total of 3 hours

05:53:26   25   and 3 minutes.
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05:53:27    1              I'd like to see lead and local counsel in chambers

05:53:33    2   after we recess.

05:53:35    3              Be prepared in the morning before I bring the jury

05:53:37    4   in to read into the record the items from the list of

05:53:42    5   pre-admitted exhibits used during today's portion of the

05:53:46    6   trial.

05:53:47    7              Continue your commendable meet-and-confer efforts

05:53:49    8   overnight.    The last few days you've not brought me any

05:53:54    9   disputes in the morning, and I commend you for that.

05:53:57   10   Continue that process this evening, as well, hopefully to

05:54:00   11   the same result.       But, if not, I'll be available not later

05:54:02   12   than 7:30 in the morning in chambers.

05:54:06   13              With that, is there anything further from either

05:54:08   14   side that needs to be taken up before we recess for the

05:54:11   15   evening?

05:54:12   16              Anything further from Plaintiff?

05:54:14   17              MR. DAVIS:    No, Your Honor.

05:54:15   18              THE COURT:    From Defendant?

05:54:16   19              MR. GILLAM:    No, Your Honor.

05:54:16   20              THE COURT:    All right.   We stand in recess until

05:54:24   21   tomorrow morning.

05:54:24   22              COURT SECURITY OFFICER:      All rise.

           23              (Recess.)

           24

           25
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     1                           CERTIFICATION

     2

     3              I HEREBY CERTIFY that the foregoing is a true and

     4   correct transcript from the stenographic notes of the

     5   proceedings in the above-entitled matter to the best of my

     6   ability.

     7

     8

     9    /S/ Shelly Holmes                               12/11/19
         SHELLY HOLMES, CSR, TCRR                         Date
    10   OFFICIAL REPORTER
         State of Texas No.: 7804
    11   Expiration Date: 12/31/20

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